UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA, ex rel.
[UNDER SEAL],                       Civil Action No. _______________

     Plaintiff,                              COMPLAINT
     v.                                  FILED UNDER SEAL
                                           PURSUANT TO
[UNDER SEAL],
                                         31 U.S.C. § 3730(b)(2)
     Defendants.
                                     DEMAND FOR JURY TRIAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA, ex rel.
JANE DOE,                           Civil Action No. _______________

     Plaintiffs,

     v.                                      COMPLAINT
HORIZON THERAPEUTICS, PLC.,
HORIZON THERAPEUTICS, INC.,
HORIZON THERAPEUTICS USA, INC.,
                                         FILED UNDER SEAL
HORIZON THERAPEUTICS LLC, JOHN
                                           PURSUANT TO
BOTSON, MD, ORTHOPEDIC PHYSICIANS
                                         31 U.S.C. §3730(b)(2)
ANCHORAGE D/B/A ORTHOPEDIC
PHYSICIANS ALASKA, JEFF PETERSON,
MD, WESTERN WASHINGTON MEDICAL
GROUP, INC., P.S., AND
JOHN AND JANE DOES,
                                     DEMAND FOR JURY TRIAL
     Defendants.
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                    RELATOR JANE DOE’S ORIGINAL COMPLAINT


       On behalf of the United States of America, Plaintiff-Relator Jane Doe, (“Relator”), by

and through the undersigned counsel, files this qui tam Complaint against Defendants Horizon

Therapeutics Public Limited Company and its subsidiaries operating in the United States

(“Horizon”), Dr. John Botson, MD (“Dr. Botson”) and Orthopedic Physicians Anchorage d/b/a

Orthopedic Physicians Alaska (“OPA”), and Dr. Jeff Peterson, MD (“Dr. Peterson”) and Western

Washington Medical Group, Inc., P.S. (“WWM”) (collectively, “Defendants”) alleging as

follows:

       I.      INTRODUCTION

       1.      In 2010, the FDA approved KRYSTEXXA® (pegloticase) (“Krystexxa”) –

administered intravenously every two weeks – for the treatment of chronic gout, a severe form of

inflammatory arthritis caused by the accumulation of uric acid, in patients refractory to

conventional therapy,. Historically, Krystexxa did not sell well due to concerns about safety

risks outweighing its benefits, and because of the costs, infrastructure and risks from the need for

administration by infusion. The high cost of the drug itself was also a concern, with a small

market of patients who are both insured and treated by doctors willing to offer on-site

intravenous infusions of the drug. In 2011, during its first year on the market following FDA-

approval, Krystexxa generated approximately $3.1 million in sales. Savient Pharmaceuticals, the

company which first commercialized the drug, could not find a sufficient market for Krystexxa,

and went bankrupt three years after launching the drug. Crealta Holdings LLC acquired the

rights to Krystexxa at that time.

       2.      In 2016, Horizon acquired the rights to manufacture and sell Krystexxa when it

completed its acquisition of Crealta Holdings LLC. After the acquisition, Horizon raised the


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price of Krystexxa dramatically and began an illegal marketing campaign to expand the sales of

Krystexxa. After the FDA refused to approve changes to the drug’s warning label, Horizon

misbranded and marketed the drug off-label by falsely misrepresenting the serious risks posed by

the drug, including infusion reactions and anaphylaxis, and by paying kickbacks to physicians

who were the leading prescribers of the drug.

       3.      Horizon’s schemes involved manipulating clinical trial data to support fraudulent

claims of Krystexxa’s safety and efficacy; fraudulently downplaying and misrepresenting the

specific and known health risks of Krystexxa; ghostwriting a “scientific” medical article

published in a medical journal to give the false impression that promotional literature for

Krystexxa was backed by independent science and research; the use of misleading promotional

material that misrepresented the efficacy and health risks of Krystexxa and cited to the

ghostwritten “scientific” medical article; the use of sham “safety board” meetings with

physicians to mislead them about the safety profile of the drug, and feed them false information

that contradicted and undercut the FDA-approved label and warnings; and finally, paying

hundreds of thousands of dollars in kickbacks to the two doctors who were the biggest

prescribers of Krystexxa to reward them for past prescription sales, incentivize them to maintain

or increase their volume of prescriptions, and bolster their research credentials to make them

appear more credible when speaking on behalf of Horizon to increase sales of Krystexxa.

       4.      Horizon’s campaign to sell Krystexxa through misbranding and off-label

promotion constitutes a fraud upon Medicare, Medicaid, Tricare and other government health

programs, which have paid significant funds for Krystexxa for their members. According to

reports to its investors, Horizon has managed to double and even quadruple annual sales of

Krystexxa to over $250 million and is currently targeting $1 billion in projected annual sales – a




                                                2
remarkable goal given that Savient Pharmaceuticals had only $3.1 million in sales less than 10

years ago in Krystexxa’s first year on the market and Horizon only acquired the drug four (4)

years ago. These sales resulted from millions in false claims Horizon caused to be filed.

       5.      After the FDA refused to allow Horizon to modify the black-box warning on the

Krystexxa label, kickbacks to doctors have played a central role in disseminating Horizon’s off-

label messages and swiftly growing prescriptions through false claims. Horizon’s false and

misleading claims about Krystexxa have already led to misconceptions by physicians and

patients about the safety profile of the drug. These misconceptions resulted in doctors filing

millions in false claims annually. As a result of this nationwide scheme, Horizon has violated

and continues to violate the False Claims Acts and reap profits far beyond those it could achieve

from legitimate promotion, in addition to putting patient safety at risk.

       6.      This is an action to recover treble damages and civil penalties on behalf of the

United States of America (the “Government”) from Defendants for knowingly and/or recklessly

presenting or causing to be presented false claims to the Government in violation of the federal

False Claims Act, 31 U.S.C. §§ 3729, et seq. (“FCA”) and applicable regulatory guidance in

order to illegally increase the sales of Krystexxa. The illegal acts alleged herein were personally

witnessed by Relator when she worked at Horizon and began at least as early as 2016, and

continue through the present (“Covered Period”).

       7.      Defendants have committed various types of fraud against Medicare, Medicaid,

and other government payors (collectively, “Government Programs”). These types of fraud

include off-label promotion of a prescription medication to downplay risks and boost sales, after

the FDA refused to allow Horizon to modify the drug’s warnings, and submitting claims tainted

by kickback violations.




                                                 3
         8.    As a result of these improper practices, numerous false claims were submitted to

Government Programs during the Covered Period. Defendants’ schemes caused Government

Programs to pay reimbursements for Krystexxa that would not have been paid but for

Defendants’ illegal conduct, which is specifically prohibited by federal and state law,

regulations, and policies.

         9.    Defendants have actual knowledge that they are engaging in illegal conduct,

including knowledge that the off-label promotion that falsely and unsafely downplayed the risks

of the medication to drive prescriptions; such prescriptions are not entitled to payment and such

improperly obtained payments must be refunded to the Government, particularly, because

concerns were raised by and among various employees of Horizon such as the Relator and the

regulatory staff assigned to review promotional materials, but any concerns were overruled by

senior Horizon leadership, and Horizon continued its scheme to defraud the Government Payors.

Defendants have chosen to profit from fraudulently billing Government Programs instead of

disclosing the true nature and extent of the risks of Krystexxa or the kickbacks paid to drive

sales.

         II.   PARTIES

               A.      Relator’s Background

         10.   Plaintiff-Relator Jane Doe is a citizen of the United States. Relator personally

witnessed and gained direct and independent knowledge of the information on which the below

allegations are based, and Relator has voluntarily disclosed such information to the Government

pursuant to 31 U.S.C. §3730(e)(4)(B)(i). To the extent any of Relator’s allegations have been

publicly disclosed as contemplated by 31 U.S.C. §3730(e)(4)(A), Relator is an original source

and Relator’s knowledge is independent of and materially adds to those allegations pursuant to

31 U.S.C. §3730(e)(4)(B)(ii).


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                 B.      Background on Defendants

        11.      Defendant Horizon Therapeutics PLC is a listed, public limited company,

organized in Ireland and founded in 2008 (a public company since 2011). Its principal place of

business is Connaught House, 1st Floor, Burlington Road, Dublin 4, D04 C5Y6, Ireland.

Horizon operates through a number of international and U.S. subsidiaries as a pharmaceutical

company; it conducts extensive business in the United States through a number of subsidiaries

organized in the State of Delaware, namely, Horizon Medicines LLC; Horizon Ophthalmology,

Inc.; Horizon Orphan Holdings LLC; Horizon Orphan LLC; Horizon Pharma Rheumatology

LLC; Horizon Therapeutics, LLC; Horizon Therapeutics Services LLC; Horizon Therapeutics

USA, Inc.; Horizon Therapeutics, Inc.; and HZNP USA LLC (collectively, “Horizon”).

        12.      Horizon develops, acquires, and commercializes late-stage biopharmaceutical

therapies for the treatment of pain and inflammation as well as specialty and orphan diseases. Its

global headquarters are located in Dublin, Ireland and its U.S. operations are headquartered in

Lake Forest, Illinois (a suburb of Chicago). The company employs over 1300 people with

locations in Illinois (Lake Forest and Chicago), California (Brisbane and Novato), Washington,

DC, Ireland (Dublin) and Germany (Mannheim). In the U.S., in 2018 Horizon boasted a sales

force of approximately 420 sales representatives consisting of approximately 25 orphan disease

sales representatives, 140 rheumatology sales specialists and 255 primary care sales

representatives.1 As of December 31, 2019, Horizon now has 480 sales representatives and 170




1
 See 2018 Horizon Form 10-K, filed with the U.S. Securities and Exchange Commission, for the fiscal year ended
December 31, 2018 (“2018 Horizon Form 10-K”) at 13.




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rheumatology sales specialists.2 Horizon recently announced an expansion of U.S. activities

with the purchase of a 70-acre campus in Deerfield, Illinois.3

        13.      Horizon manufactures Krystexxa and other “orphan drugs” – these are medicines

intended to treat a rare disease or condition affecting fewer than 200,000 individuals in the

United States, or less than 0.0006% of the population. In addition to Krystexxa, Horizon’s

medicine portfolio includes: Ravicti (for urea cycle disorders), Procysbi (for nephropathic

cystinosis), Actimmune (for chronic granulomatous disease and severe, malignant osteopetrosis),

Rayos (for rheumatoid arthritis, polymyalgia rheumatic, systemic lupus erythematosus and

multiple other indications), Buphenyl (for urea cycle disorders), and Quinsair (for treatment of

chronic pulmonary infections due to Pseudomonas aeruginosa in cystic fibrosis patients).

Horizon also produces primary care medicines: Pennsaid (for pain of osteoarthritis of the knee),

Duexis (for signs and symptoms of osteoarthritis and rheumatoid arthritis), Vimovo (for signs

and symptoms of osteoarthritis, rheumatoid arthritis, and ankylosing spondylitis) and Migergot

(therapy to abort or prevent vascular headaches, such as migraines).                        In 2020, the FDA

preliminarily approved Horizon’s Teprotumumab (for treatment of thyroid eye disease).

        14.      Horizon had $1.2 billion in total company net sales in 2018, including $355

million in the Fourth Quarter of 2018 when net sales increased by 30%. In 2019 Horizon had

$1.3 billion in total company net sales, with net sales of Krystexxa totaling approximately $370

million. Shares have traded as high as $38.56 per share in the past six months. Horizon

currently projects annual U.S. sales of $1 billion for Krystexxa alone. U.S. and foreign licenses


2
 See 2019 Horizon Form 10-K, filed with the U.S. Securities and Exchange Commission, for the fiscal year ended
December 31, 2019 (“2019 Horizon Form 10-K”) at 14.
3
  See Horizon Press Release at https://ir.horizontherapeutics.com/news-releases/news-release-details/horizon-
therapeutics-announces-significant-expansion-and.




                                                         6
and patents covering Krystexxa expire between 2019 and 2030, but in the United States,

Krystexxa has received twelve years of biologic exclusivity, expiring in 2022.4

         15.      Horizon licenses the patents and technology for Krystexxa from Duke University,

and Mountain View Pharmaceuticals, Inc.; Duke University developed the recombinant uricase

enzyme used in Krystexxa and Mountain View Pharmaceuticals developed the PEGylation

technology used in the manufacture of Krystexxa.5

         16.      Defendant Dr. John Botson is a doctor of internal medicine in Anchorage, Alaska

specializing in rheumatology. He has been a resident of Alaska throughout the Covered Period.

Dr. Botson attended Ohio State College of Medicine, in Columbus, Ohio. He completed his

residency in internal medicine at Dartmouth-Hitchcock Medical Center, in Lebanon, New

Hampshire. He completed a rheumatology fellowship at the National Institutes of Health, in

Bethesda, Maryland and is a member of Orthopedic Physicians Alaska, located in Anchorage.

Dr. Botson has written fraudulent Krystexxa prescriptions as a result of kickbacks paid to him by

Horizon.

         17.      Defendant Orthopedic Physicians Anchorage d/b/a Orthopedic Physicians Alaska

(“OPA”), is a group of orthopedic surgeons and other providers based in Anchorage and Wasilla,

specializing in orthopedics, rheumatology, physical therapy, massage therapy and athletic

training. OPA’s principal place of business is 3801 Lake Otis Parkway, Suite 300, Anchorage,

AK, 99508. Dr. Botson funneled significant volumes of fraudulent Krystexxa prescriptions to

Government Programs through OPA. OPA holds NPI 1265848295.
4
 See 2018 Horizon Form 10-K at 19. “While KRYSTEXXA faces limited direct competition, a number of
competitors have drugs in Phase 1, or Phase 2 trials, including Selecta Biosciences Inc. who has presented clinical
data from their Phase 2 study and has indicated that it plans to initiate a six-month head-to-head trial comparing their
candidate to KRYSTEXXA in 2019.” Id. at 48.
5
  See 2018 Horizon Form 10-K at p. 14. Duke University and Mountain View Pharmaceuticals, Inc. may terminate
the agreement if Horizon commits fraud, willful misconduct or illegal conduct. Id.




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       18.     Defendant Dr. Jeff Peterson is doctor of internal medicine in the State of

Washington specializing in rheumatology. He has been a resident of the State of Washington

throughout the Covered Period.      He is board certified by the American Board of Internal

Medicine with a sub-specialty in rheumatology.        Dr. Peterson attended the University of

Washington, in Seattle, Washington. He completed his residency in internal medicine at Internal

Medicine Spokane, in Spokane, Washington. He is president of the Washington Rheumatology

Alliance and director of the Northwest Rheumatism Society. Dr. Peterson is also a member of

Western Washington Medical Group.            Dr. Peterson has written fraudulent Krystexxa

prescriptions as a result of kickbacks paid to him by Horizon.

       19.     Defendant Western Washington Medical Group, Inc., P.S. (“WWM”) is a group

of more than 100 medical providers based in the North Puget Sound Region, focusing on over

20+ specialty areas at 20 facilities in the state. WWM’s principal place of business is 1728 W.

Marine View Drive, Suite 110, Everett, WA 98201. Dr. Peterson funneled significant volumes

of fraudulent Krystexxa prescriptions to Government Programs through WWM.              WWM’s

internal medicine rheumatology group holds NPI 1093933491.

       III.    JURISDICTION AND VENUE

       20.     This Court has subject matter jurisdiction over Relator’s FCA and AKS claims.

The United States District Courts have exclusive jurisdiction over actions brought under the FCA

pursuant to 31 U.S.C. § 3732, and otherwise have jurisdiction over federal statutory causes of

action under 28 U.S.C. § 1331 and 1345. This Court has jurisdiction over Relator’s state and

common law claims pursuant to 28 U.S.C. § 1367.

       21.     Jurisdiction and venue are proper in this Court pursuant to the False Claims Act,

31 U.S.C. § 3732(a), because Relator’s claims seek remedies on behalf of the United States for




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multiple violations of 31 U.S.C. § 3729, et seq. in the United States by all or any one of

Defendants, some of which occurred in the Southern District of New York, and because all or

any one of Defendants transact other business within the Southern District of New York.

       22.      All Defendants are subject to the general and specific jurisdiction of this Court.

       23.      As a result of Horizon’s organizational structure, Horizon Therapeutics PLC has

continuous and systematic contacts with the United States through its contacts with its American

subsidiaries.

       24.      This Court also has jurisdiction over actions brought under the laws of the various

states since this action arises from the same transactions or occurrences. 31 U.S.C. § 3732 (b).

       25.      Under the FCA, this Complaint is to be filed in camera and remain under seal for

at least 60 days unless the Court orders otherwise.

       IV.      RESPONDEAT SUPERIOR AND VICARIOUS LIABILITY

       26.      Any and all acts alleged herein to have been committed by any or all of the

Defendants were committed by said Defendants’ officers, directors, employees, representatives

or agents who at all times acted on behalf of their respective Defendant(s) and within the course

and scope of their employment.

       27.      The Horizon Defendants are related entities sharing common employees, offices

and business names such that they are joint and severally liable under legal theories of

respondeat superior. Further, the past, present and continuing relations and dealings by and

between these related entities are so inextricably intertwined that for purposes of this suit, some

or all of them can and should be considered as a single entity at law and equity.

       28.      Horizon Therapeutics PLC wholly owns and controls Horizon Therapeutics USA,

Inc. – Relator’s employer – and Horizon Medicines LLC; Horizon Ophthalmology, Inc.; Horizon




                                                  9
Orphan Holdings LLC; Horizon Orphan LLC; Horizon Pharma Rheumatology LLC; Horizon

Therapeutics, LLC; Horizon Therapeutics Services LLC; Horizon Therapeutics, Inc.; and HZNP

USA LLC, all of which are based in the United States.

          29.   Horizon, founded in 2008 and public since 2011, is a large multinational group of

companies that engage or have engaged in a variety of business activities, including developing,

marketing, and selling pharmaceutical products, all of which is, or was, accomplished through

Horizon’s operating groups, subsidiaries, officers, directors, employees, and agents. Horizon’s

subsidiaries include holding companies, operating groups and regional companies, for the most

part generally organized by location, including companies operating throughout the United

States. The functions of these operating groups and regional companies overlap.

          30.   Horizon Therapeutics USA, Inc., is an American, wholly-owned subsidiary of

Horizon Therapeutics Plc which oversees and coordinates the activities of Horizon’s business in

the United States.    For example, on January 21, 2020 a press release issued on Horizon

Therapeutic’s website announcing the FDA’s approval of Tepezza for the treatment of thyroid

eye disease, states that the media and investors may contact persons in Ireland and in the United

States.    Thus, Horizon Therapeutics PLC approves and directs the marketing activities of

Horizon Therapeutics USA, Inc. and other American subsidiaries. Horizon Therapeutics PLC

also paid the kickbacks alleged in this Complaint.

          V.    RELEVANT STATUTORY SCHEMES

                A.     The FDA’s Role in the Regulation of Prescription Drugs

                       i.     FDA Approval of Prescription Drugs

          31.   The FDA regulates use of pharmaceutical drugs such as Krystexxa. Companies

seeking to introduce new drugs for human use into interstate commerce must comply with FDA

statutes and regulations, such as the Federal Food, Drug, and Cosmetic Act (“FDCA”), 21


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U.S.C. § 301, et seq. The FDCA prohibits companies from distributing in interstate commerce

any drugs that the FDA has not approved as safe and effective. 21 U.S.C. § 355(a) and (b).

      32.    In order for a company to gain approval of a drug by the FDA, the company must

first submit and receive approval of a New Drug Application (“NDA”) pursuant to 21 U.S.C. §

355. The company is required to include in its NDA all intended uses proposed for a new

drug’s labeling and to prove the new drug is safe and effective for those uses. 21 U.S.C. §

355(b). To prove that the drug is safe and effective, the company must provide the FDA with

data from scientifically sound clinical trials. The FDA will refuse approval of a new drug

unless, on the basis of all information reviewed, it is demonstrated that a drug can safely

accomplish its purported effect under the conditions proposed, and that the method of

manufacture and distribution will properly preserve the drug for this purpose. 21 U.S.C. §

355(d).

                     ii.   FDA Regulation of Manufacturer’s Marketing of Prescription
                     Drugs

      33.    When the FDA reviews an NDA and approves a drug for interstate distribution,

the approval is only effective for the intended uses that were proposed in the NDA and

described on the drug's approved label. Any use for a drug that was not proposed in the NDA,

and approved for the label by the FDA, is referred to as “unapproved” or “off-label.” 65 Fed.

Reg. 14286, 14286 (Mar. 16, 2000). Although physicians may prescribe a drug for an off-label

use so long as the drug has been FDA-approved for some use, pharmaceutical companies are

strictly prohibited from bypassing the FDA's approval process and marketing a drug off-label.

      34.    When a company markets a drug off-label, the drug becomes a new drug for that

purpose and is considered "misbranded." See 21 U.S.C. § 331, 21 U.S.C. § 352(f), 21 C.F.R. §

310.3 (h)(4) and (5); see also 65 Fed. Reg. 14286, 14286 (Mar. 16, 2000) ("[A]n approved new



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drug that is marketed for a 'new use' is also 'misbranded' under the FDCA, because the labeling

of such a drug would not include 'adequate directions for use."'). Section 352 of title 21 of the

United States Code lists situations in which a drug is illegally misbranded, including but not

limited to situations where: (1) the drug’s labeling is “false or misleading in any particular”; (2)

the drug’s labeling does not bear adequate direction for use; or (3) the drug’s labeling does not

bear “adequate warnings against use in those pathological conditions or by children where its

use may be dangerous to health, or against unsafe dosage or methods or duration of

administration or application, in such manner and form, as are necessary for the protection of

users.” See 21 U.S.C. § 352(a) and (t).

      35.     The term “labeling” encompasses the actual label attached to the drug’s

immediate container, as well as all “other written, printed, or graphic matter (1) upon any article

or any of its containers or wrappers, or (2) accompanying such article.” 21 C.F.R. § 321(m).

The term has been construed to include a variety of drug company promotional materials,

including booklets, pamphlets, and literature that is textually related to the product, even when

disseminated without the presence of the drug. See Kordel v. United States, 335 U.S. 345, 349

(1948); VE. Irons, Inc. v. United States, 244 F.2d 34, 39 (1st Cir. 1957). In determining if a

drug’s labeling or advertising is misleading and thus misbranded, one must examine “(among

other things) not only representations made or suggested by statement, word, design, device, or

any combination thereof, but also the extent to which the labeling or advertising fails to reveal

facts material in the light of such representations or material with respect to consequences

which may result from the use of the article” as described by the labeling or advertising or the

customary or usual use of the article. 21 U.S.C. § 32l(n).




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         36.   In order for a drug’s labeling (both the actual label and the promotional materials

shown and given to medical professionals) to include “adequate directions for use,” the

directions must allow a layman to use the drug safely and for its “intended use.” See 21 C.F.R.

§ 201.5. The “intended use” of a drug refers to “the objective intent of the person legally

responsible for the labeling of drugs.” See 21 C.F.R. § 201.128. “The intent is determined by

such persons’ expressions or may be shown by the circumstances surrounding the distribution

of the article,” and “may, for example, be shown by labeling claims, advertising matter, or oral

or written statements by such persons or their representatives.” Id. Thus, if a manufacturer

promotes a drug for a use for which the label does not provide adequate directions for use or is

otherwise false and misleading, misbranding has occurred. This is so regardless of whether the

drug is otherwise eligible for reimbursement by Government Payors.

         37.   Pharmaceutical manufacturers may not use reprints, reference texts or Continuing

Medical Education (“CME”) programs or any other devices as tools to “promote” off-label uses.

Over the years, the FDA has issued regulatory guidance to aid manufacturers in distinguishing

between illegal promotional strategies and the legitimate non-promotional dissemination under

very specific circumstances of off-label information where it consists of genuinely scientific

article reprints unedited by the manufacturer. See, e.g., Guidance for the Industry: Good

Reprint Practices for the Distribution of Medical Journal Articles and Medical or Scientific

Reference Publications on Unapproved New Uses of Approved Drugs and Approved or Cleared

Medical Devices, 74 Fed. Reg. 1694-01 (Jan. 13, 2009). These FDA guidance documents have

never altered the FDA’s long-standing prohibition against marketing and promoting approved

drugs with misleading off-label information, or information that contradicts the approved FDA

label.




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               B.      Reimbursement of Prescription Drugs under Medicaid, Medicare
                       Part B and Part D, CHAMPUS/TRICARE, CHAMPVA, FEHBP, and
                       Other Federal Healthcare Programs

                       i.      Medicaid

       38.     As a general rule, to be reimbursable under a state’s Medicaid program, a drug

must be included on the state’s formulary. Each state has its own means of deciding coverage,

but federal law sets forth requirements states must meet in excluding or restricting coverage.

See 42 U.S.C. § 1396r--8. A state may exclude or restrict coverage of a drug in four instances:

       (1) the prescribed use is not for a medically accepted indication;

       (2) the drug is on the list of drugs excluded by the state from Medicaid coverage;

       (3) the drug manufacturer agreed to the restrictions on the drug in its rebate agreement
           with Medicaid;

       (4) the drug was excluded from state’s drug formulary.

31 U.S.C. § 1396r-8(d)(1). In addition, states may use prior authorization programs or preferred

drug lists to control potential abuses of drugs, such as prescriptions for an indication that is not a

medically accepted indication.

       39.     A “medically accepted indication” is a use that is listed in the labeling approved

by the FDA or “the use of which is supported by one or more citations included or approved for

inclusion in” one of the drug compendia identified by the Medicaid statute. 42 U.S.C. § 1396r-

8(k)(6) (emphasis added). These compendia are the American Hospital Formulary Service Drug

Information, the United States Pharmacopeia-Drug Information (or its successor publications),

and the DRUGDEX Information System. 42 U.S.C. § 1396r-8(g)(l)(B)(i). The United States

Government and the states interpret “supported by” to require “some form of corroboration or

validation.” United States’ Statement of Interest in Response to Defendant’s Motion to Dismiss

Plaintiffs First Amended Complaint, United States ex rel. Rost v. Pfizer, Inc., 03-CV-11084, at p.



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5 (D. Mass. May 16, 2008); see also Centers for Medicare and Medicaid Release No. 141 (May

4, 2006) (“The statute requires coverage of off-label uses of FDA-approved drugs for indications

that are supported (as opposed to listed) in the compendia specified in section

1927(g)(l)(B)(II).”) (emphasis added).

       40.     States may establish drug formularies if they meet the following requirements.

See 42 U.S.C. § 1396r-8(d)(4). The formulary must be developed by a committee consisting of

pharmacists, physicians and other qualified individuals appointed by the governor or by the

state’s Drug Use Review (“DUR”) board consisting of healthcare professionals who have

recognized knowledge and expertise in the prescription, dispensing and monitoring of outpatient

drugs, drug use review, and medical quality assurance. 42 U.S.C. § 1396r-8(d)(4)(A) and §

1396r-8(g)(3).

       41.     The formulary must include every drug for which a manufacturer has entered into

a Medicaid rebate agreement. 42 U.S.C. § 1396r-8(d)(4)(B). The state may, however, exclude a

drug from the formulary if: (1) the drug is used for an on-label use -- or an off-label use that is a

medically accepted indication based on compendia -- but the drug does not have a significant,

clinically meaningful therapeutic advantage over other drugs on the formulary; and (2) the state

provides a written explanation, which is available to the public, of why the drug is excluded. 42

U.S.C. § 1396r-8(d)(4)(C). Finally, any drugs excluded from the formulary must nevertheless be

available to Medicaid enrollees under a prior authorization program. 42 U.S.C. § 1396r-

8(d)(4)(D).

       42.     States generally have some method for drug manufacturers to request that its drug

be added to the states’ “preferred drug lists.” In the majority of states, the Pharmaceutical and

Therapeutics committee or the DUR board make the decision on whether to add drugs to the




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state Medicaid program’s preferred drug list. Generally, these committees announce that they

will conduct a review of a class of drugs. At that time, a drug manufacturer may submit

information to the committees to be considered for the drug list. A minority of states, such as

Indiana, Montana, Nevada and Texas, require drug manufacturers to submit an application to be

placed on the drug list. As part of the Texas application, drug manufacturers are required to

expressly certify compliance with all laws, regulations and rules applicable to the Medicaid

program, including the federal and state Anti-Kickback statutes.        The Standard Medicaid

Provider Agreement, the Standard Medicare Provider Agreement and Health Insurance Claim

Form 1500, used for submission of Medicaid, Medicare, and TRICARE/CHAMPUS claims also

requires compliance with “all applicable Medicare and/or Medicaid laws, regulations and

program instructions for payment including but not limited to the Federal anti-kickback statute.”

See https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/Downloads/CMS1500.pdf

       43.    Pharmaceutical Therapeutics Committees and DUR boards are required to

continually “assess data on drug use against predetermined standards,” using the compendia as

the source for these standards. 42 U.S.C. § 1396r-8(g)(l) and (2). These standards include but

are not limited to monitoring for therapeutic appropriateness, overutilization and

underutilization, appropriate use of generic products, drug-drug interactions. Id. The States’

continual assessment of drug data permits them the flexibility to determine the appropriate

scope, duration, and limitations on coverage of drugs on their formularies.

                     ii.     Medicare Part B and Medicare Part D

       44.    Medicare Part B is a federal program meant to subsidize the costs of medically

necessary services such as doctors’ services, some preventative services, ambulance services,

durable medical equipment and outpatient care. Part B also provides supplemental benefits to




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participants to cover, among other things, prescription drugs. See generally id. §§ 1395j-l 395w-

6.

       45.     Medicare Part B statutes can be found at 42 U.S.C. §§ 1395j–1395w-6 and the

regulations are located at 42 C.F.R. Part 414.       The policy manuals can also be found at

https://www.cms.gov/regulations-and-guidance/guidance/manuals/internet-only-manuals-ioms-

items/cms018912.html

       46.     Medicare Part B was designed to create supplementary medical insurance for

aged and disabled individuals who elect to enroll under this voluntary program, to be financed

from premium payments by enrollees together with contributions from funds appropriated by the

Federal Government. 42 U.S.C. § 1395j and § 1395l.

       47.     Every individual who is entitled to hospital insurance benefits under Medicare

Part A, 42 U.S.C. §§ 1395c, et seq., or has attained age 65 and is a resident of the United States,

and is either a citizen or an alien lawfully admitted for permanent residence who has resided in

the United States continuously during the 5 years immediately preceding the month in which he

applies for enrollment under this part, 42 U.S.C. §§ 1395j, et seq., is eligible to enroll in

Medicare Part B.

       48.     Administration of Medicare Part B is conducted through contracts with Medicare

administrative contractors. 42 U.S.C. § 1395u. Additionally, the Federal Government may enter

into an agreement with a State pursuant to which all eligible individuals in either of the coverage

groups will be enrolled under Medicare Part B. 42 U.S.C. § 1395v.

       49.     Under Medicare Part B, reimbursement is prohibited if the item or service is not

“reasonable and necessary for the diagnosis and treatment of illness or injury or to improve the

functioning of a malformed body member.” 42 U.S.C. § 1395y(a)(1)(A).




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        50.      Pursuant to 42 C.F.R. § 414.36, payment for drugs incident to a physician’s

service under Medicare Part B are made in accordance 42 C.F.R. § 405.517.

        51.      Medicare Part B covers physician administered drugs in an outpatient setting, and

covered Krystexxa at issue in this matter for all relevant times.6

        52.      Medicare Part D is a federal program meant to subsidize the costs of prescription

drugs for Medicare beneficiaries. It was enacted as part of the Medicare Prescription Drug,

Improvement, and Modernization Act of 2003 and went into effect on January 1, 2006. Part D

only covers prescription drugs and will not assist with any other medical procedure. Among

those individuals eligible for Medicare Part D are individuals with dual-eligibility, i.e.,

beneficiaries enrolled in both Medicare and Medicaid, who prior to 2006 had received outpatient

drug benefits though Medicaid. Although Medicare Part D is a component of Medicare, each of

the fifty states and the District of Columbia are required to make a contribution to the United

States government to defray a portion of the cost of Medicare Part D for beneficiaries whose

Medicaid drug coverage has been assumed by Medicare Part D. 42 C.F.R. § 423.910(a) (2008).

        53.      A Medicare beneficiary enrolled in Medicare Part D chooses a Prescription Drug

Plan (“PDP”), which is administered by a private insurance company, or “sponsor,” based upon

the beneficiary’s specific drug requirements. Part D sponsors are required by the Medicare

Prescription Drug, Improvement, and Modernization Act of 2003 to offer, at a minimum, a basic

prescription drug benefit that is either the standard prescription drug benefit or is actuarially

equivalent to the standard benefit. The standard costs structure makes beneficiaries responsible

6
 Medicare Part B generally does not cover prescription drugs used at home. It does, however, cover a limited
number of outpatient prescription drugs under limited conditions. Generally, drugs covered under Part B are drugs a
patient would not administer himself. These include drugs administered by a physician in an office or hospital
outpatient setting.




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for certain costs, which may include a monthly premium, an annual deductible, and coinsurance.

       54.     In 2018, for example, the standard drug benefit had a beneficiary deductible of

$405. In the initial phase of the Part D benefit, after beneficiaries paid the deductible, they

contributed twenty-five percent coinsurance toward their drug costs and the plan paid the

remaining seventy-five percent until combined beneficiary and plan payments reached $3,750.

After combined payments reached $3,750, beneficiaries entered the coverage gap phase of the

benefit, or “donut-hole,” in which they were responsible for 100 percent of their drug costs. The

catastrophic coverage phase began when a beneficiary's out-of-pocket costs reaches $5,000. This

amount included a beneficiary's deductible and coinsurance payments. Once beneficiaries

reached $5,000 in out-of-pocket costs, they contributed approximately five percent in

coinsurance toward their drug costs. Of the remaining ninety-five percent of drug costs, the Part

D sponsors are responsible for approximately fifteen percent while Medicare pays eighty

percent.

       55.     Before the beginning of the plan year, sponsors are required to submit a bid for

each plan that they intend to offer. The bid is an estimate of the average costs to provide the

basic benefit per beneficiary. Throughout the year, the Centers for Medicare & Medicaid

Services (“CMS”) makes prospective payments to sponsors for three subsidies based on

sponsors’ approved bids. These subsidies are: (1) the direct subsidy, (2) the reinsurance subsidy,

and (3) the low-income cost-sharing subsidy. The direct subsidy, together with beneficiary

premiums, is designed to cover the sponsor’s cost of providing the benefit to each beneficiary.

The reinsurance subsidy covers the Federal Government’s share of drug costs for beneficiaries

who have reached catastrophic coverage. The low-income cost-sharing subsidy covers the




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Federal Government’s portion of the cost-sharing payments for certain low-income beneficiaries.

At the end of the plan year, CMS reconciles these prospective payments with the actual costs

incurred by the plan sponsors.

       56.     All Part D plan sponsors submit data and information necessary for CMS to

determine and make payment. Every time a beneficiary fills a prescription covered under Part D,

plan sponsors must submit a summary called the prescription drug event (“PDE”) record. The

PDE record contains drug cost and payment data that enable CMS to administer the Part D

benefit. Part D plan sponsors submit one PDE record each time a Part D covered drug is

dispensed to its enrollees, even for those events in which enrollees have 100 percent cost sharing

(i.e., they are in the coverage gap or deductible phase).

       57.     CMS uses the National Council for Prescription Drug Programs industry standard

for collecting PDE data. The PDE data contain information on the beneficiary, plan, pharmacy,

and prescribing physician, as well as information about the event, including the date, quantity

dispensed, number of days supplied, national drug code, control number, and the amount

reimbursed to the pharmacy by the plan.

       58.     Part D covered drugs are defined as drugs available only by prescription, which

are used and sold in the United States and used for a medically accepted indication, biological

products, insulin and vaccines. See 42 C.F.R. § 423.100. Medicare Part D’s definition of a

“medically accepted indication” is the same as Medicaid's. See 42 C.F.R. § 423.100, 42 U.S.C.

§§ 1396r-8 (g)(l )(B)(i) and (k)(6). Part D sponsors are responsible for ensuring that covered

Part D drugs are prescribed for “medically accepted indications.” Some Part D sponsors use prior

authorization programs to ensure such compliance. Krystexxa is listed on PDP formularies for




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Medicare Part D and is reimbursable under Medicare Part D plans across the country.

       59.     Before participating in government-funded healthcare programs, Defendants and

other such providers are required to certify compliance with Medicare’s rules and regulations,

including but not limited to, the Federal Anti-Kickback Statute. Thereafter, each time

Defendants or any other such provider submits a claim for payment, it is required to recertify its

continued compliance.

       60.     When enrolling with Medicare, a provider must sign an initial enrollment

application and periodically submit new applications as part of the revalidation process.

Certification Statement, Sec. 5, CMS Form 855, Medicare Enrollment Application, Institutional

Providers, available at https://www.cms.gov/Medicare/CMS-Forms/CMS-

Forms/downloads/cms855a.pdf. As part of its agreement with Medicare, a provider certifies the

following:

               I have read and understand the Penalties for Falsifying Information, as printed in
               this application. I understand that any deliberate omission, misrepresentation, or
               falsification of any information contained in this application or contained in any
               communication supplying information to Medicare, or any deliberate alteration of
               any text on this application, may be punishable by criminal, civil, or
               administrative penalties including, but not limited to, the denial or revocation of
               Medicare billing privileges, and/or the imposition of fines, civil damages, and/or
               imprisonment.
                                      *   *   *

               I understand that payment of a claim by Medicare is conditioned upon the
               claim and the underlying transaction complying with such laws,
               regulations, and program instructions . . . , and on the provider’s
               compliance with all applicable conditions of participation in Medicare.

                                              *    *   *

               I will not knowingly present or cause to be presented a false or fraudulent
               claim for payment by Medicare, and I will not submit claims with
               deliberate ignorance or reckless disregard of their truth or falsity.



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Id.

       61.     After its initial certification, a provider has an ongoing duty to notify Medicare if

anything on the form becomes untrue or inaccurate:

               If I become aware that any information in this application is not true,
               correct, or complete, I agree to notify the Medicare fee-for-service
               contractor of this fact in accordance with the time frames established in 42
               C.F.R. § 424.516(e).

                                               *    *   *

               I agree to notify the Medicare contractor of any future changes to the
               information contained in this application in accordance with the time
               frames established in 42 C.F.R. § 424.516(e).

Id.

       62.     In addition to the initial and ongoing certifications, each time a provider submits a

claim, electronically or otherwise, the submission must state, in boldface type, immediately

preceding the claimant’s signature:

               “This is to certify that the foregoing information is true, accurate,
               and complete.”

               “I understand that payment of this claim will be from Federal and State
               funds, and that any falsification, or concealment of a material fact, may be
               prosecuted under Federal and State laws.”

               42 C.F.R. § 455.18(a) (emphasis added). Medicare Claims Processing Manual,
               Ch. 24 § 30.2 A, available at https://www.cms.gov/Regulations-and-
               Guidance/Guidance/Manuals/downloads/clm104c24.pdf

       63.     For each individual claim for payment, Defendants and other such healthcare

providers must submit a CMS Form 1450, which reflects the name of the patient, the type of

service provided, the total charges, and the date of the service. CMS Form 1450 requires the

provider to certify its understanding “that misrepresentation or falsification of essential

information . . . requested by [the form] may serve as the basis for civil monetary penalties and



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assessments and may upon conviction include fines and/or imprisonment under federal and/or

state law(s)” and that the provider “did not knowingly or recklessly disregard or misrepresent or

conceal material facts.” UB-04 Uniform Bill, CMS Form 1450 (03/01/2007), available at

https://www.cms.gov/Regulations-and-Guidance/Guidance/Transmittals/Downloads/R1104CP.

pdf.

                      iii.    CHAMPUS/TRICARE, CHAMPVA, and FEHBP

       64.     In addition to Medicaid, Medicare Part B, and Medicare Part D, the federal and

state governments reimburse a portion of the cost of prescription drugs under several other

federal and state health care programs, including but not limited to CHAMPUS/TRICARE,

CHAMPVA, and Federal Employees Health Benefit Program (“FEHBP”).

       65.     The Civilian Health and Medical Program of the Uniformed Services

("CHAMPUS") and TRICARE, a continuation of CHAMPUS, are federally funded uniformed

services health care programs for active duty and retired service members, members of the

National Guard and Reserve, service members’ families, survivors of service members, and

certain former spouses of service members. The Civilian Health and Medical Program of the

Department of Veterans Affairs (“CHAMPVA”), is a federally funded healthcare program for

the families and survivors of veterans who have been rated permanently and totally disabled for

a service-connected disability and for the survivors of a military member who died in the line of

duty, not due to misconduct. FEHBP is administered by the Office of Personnel Management

and provides health insurance for federal employees, retirees, and survivors. Coverage of

prescription drugs under these programs is similar to coverage under the Medicaid program.

See, e.g., 32 C.F.R. §§ 199.2 and 199.4(g)(15)(i); TRICARE Policy Manual 6010.54-M,




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Chapter 8, Section 9.1(8)(2) (August 2002); CHAMPVA Policy Manual, Chapter 2, Section

22.1, Art. II.

                 C. Prohibition of Kickbacks Associated with Medicaid, Medicare,
                    CHAMPUS/TRICARE, CHAMPVA, and FEHBP

                        i.      Federal Anti-Kickback Statute

       66.       The Medicare-Medicaid Anti-Fraud and Abuse Amendments, known as the

Medicare Anti-Kickback Statute ("Anti-Kickback Statute"), 42 U.S.C. § 1320a-7b(b), make it

illegal for an individual knowingly and willfully to offer or pay remuneration in cash or in kind

to induce a physician to order a good or service that is reimbursed by a federal healthcare

program. See 42 U.S.C. § 1320a-7b(b)(2). “Remuneration” is broadly defined to include

anything of value offered or paid in return for purchasing, ordering, or recommending the

purchase or order of any item reimbursable by a federal healthcare program. See Department of

Health and Human Services, Office of Inspector General Compliance Program Guidance for

Pharmaceutical Manufacturers, 68 Fed. Reg. 23731, 23734, 23737 (May 5, 2003).

       67.       Specifically, in pertinent part, the Anti-Kickback Statute provides:

                 (b) Illegal remuneration

                 1. whoever knowingly and willfully solicits or receives any
                 remuneration (including any kickback, bribe, or rebate) directly or
                 indirectly, overtly or covertly, in cash or in kind-

                 (A) in return for referring an individual to a person for the
                     furnishing or arranging for the furnishing of any item or service
                     for which payment may be made in whole or in part under a
                     Federal health care program, or

                 (B) in return for purchasing, leasing, ordering, or arranging for or
                     recommending purchasing, leasing, or ordering any good,
                     facility, service, or item for which payment may be made in
                     whole or in part under a Federal health care program,




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               shall be guilty of a felony and upon conviction thereof, shall be
               fined not more than $25,000 or imprisoned for not more than five
               years, or both.

42 U.S.C. § 1320a-7b(b). Those who violate the statute also are subject to exclusion from

participation in federal health care programs, and civil monetary penalties of up to $50,000 per

violation and up to three times the amount of remuneration paid. 42 U.S.C. § 1320a-7(b)(7) and

42 U.S.C. § 1320a-7a(a)(7).

       68.     The purpose of the Anti-Kickback Statute is to prohibit such remuneration in

order to secure proper medical treatment and referrals and to limit unnecessary treatment,

services, or goods that are based not on the needs of the patient but on improper incentives

given to others, thereby limiting the patient’s right to choose proper medical care and services.

See Medicare and Medicaid Programs; Fraud and Abuse OIG Anti-Kickback Provisions, 54

Fed. Reg. 3088, 3089 (proposed Jan. 23, 1989) (to be codified 42 C.F.R. pt. 1001) (“[I]t is

necessary for the fiscal integrity of the Medicare and Medicaid programs to assure that

physicians exercise sound, objective medical judgment when controlling admittance [of new

drugs and medical devices] to ... the medical marketplace.”).

       69.     In accordance with the Anti-Kickback Statute, Medicare and Medicaid regulations

directly prohibit any provider from receiving remuneration paid with the intent to induce

referrals that takes into account the “volume or value” of any referrals or business generated.

See 42 C.F.R. § 1001.952(f)(2). Such remuneration amounts to a kickback and can increase the

expenditures paid by government-funded health benefit programs by leading to over-utilization

of prescription drugs and/or inducing medically unnecessary and excessive reimbursements.

Kickbacks also effectively reduce patients’ healthcare choices, because unscrupulous (or

unknowing) physicians steer their patients to various products based on the physician’s own

interests rather than the patients’ medical needs.


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      70.     The Medicare and Medicaid Patient and Program Protection Act of 1987

authorizes the exclusion of an individual or entity from participation in the Medicare and

Medicaid programs if it is determined that the party has violated the Anti-Kickback Statute. In

addition, the Balanced Budget Act of 1997 amended that Act to impose an administrative civil

monetary penalty for Anti-Kickback Statute violations: $50,000 for each act and an assessment

of not more than three times the amount of remuneration offered, paid, solicited or received,

without regard to whether a portion of such remuneration was offered, paid, solicited or

received for a lawful purpose. See 42 U.S.C. § 1320a-7a(a)(7).

      71.     Paying kickbacks taints an entire prescription, regardless of the medical propriety

of its use. The kickback inherently interferes with the doctor-patient relationship and creates a

conflict of interest, potentially putting the patient’s health at risk. Any defendant convicted

under the statute is automatically barred from participating in federal and federally-funded

healthcare programs.

                       ii.    OIG, PhRMA, AMA and ACCME's Guidelines on the
                              Manufacturer- Doctor Relationship and Behaviors that Violate
                              the Anti-Kickback Statute

      72.     Recognizing that the Anti-Kickback Statute has been applied broadly, the OIG

has acknowledged that liability under the statute will ultimately turn on intent. See Department

of Health and Human Services, Office of Inspector General (“OIG”) Compliance Program

Guidance for Pharmaceutical Manufacturers, 68 Fed. Reg. 23731 (May 5, 2003). In order to

assist pharmaceutical manufacturers, the OIG issued a guidance in May 2003 that not only

stated its interpretation of the Anti-Kickback statute, but also highlighted activities that may

give rise to liability under the statute. See id. The OIG Guidance also directed drug

manufacturers to review the Pharmaceutical Research and Manufacturers of America

(“PhRMA”) Code, the Accreditation Council for Continuing Medical Education (“ACCME”)


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    standards relating to CMEs, and an ethical opinion issued in June 1992 and amended in April

    2001 by the American Medical Association (“AMA”) stating its guidelines to govern doctors’

    acceptance of gifts from pharmaceutical manufacturers. See AMA Opinion 8.061 (1992,

    amended 2001); PhRMA Code (2003); ACCME Standards (2004). All of these industry

    guidelines draw plain lines of demarcation for acceptable and unacceptable behavior under the

    Anti-Kickback statute.

           73.    The OIG's Guidance addressed specific practices commonly arising in the

    relationship between a drug manufacturer and physicians that present problems. Id. at 23738.

    Of particular concern to the OIG were “preceptorships,” educational and research funding,

    CMEs, consulting and advisory arrangements, and gifts of more than trivial value to physicians

    such as entertainment, recreation, travel, and meals. Id. The OIG was also concerned about

    payments to physicians to: 1) listen to sales representatives market their drugs, 2) access

    marketing web sites, or 3) perform “research” for drug manufacturers. Id.

           74.    The AMA, PhRMA and ACCME guidelines have suggested similar limits on

    pharmaceutical activities. Where the three guidelines share the same perspectives on improper

    activities, one can presume these activities are likely to violate the federal Anti-Kickback

    statute.7

           75.    The issuance of these guidelines by the OIG, AMA, PhRMA and ACCME, in

    addition to the enactment of the Anti-Kickback Statute itself, demonstrates that federal and state

    health care programs consider compliance with the Anti-Kickback Statute a prerequisite to

    receiving or retaining reimbursement payments from Medicaid, Medicare Part B, Medicare Part

    D, and other federal health care programs.
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 The three guidelines all address several pharmaceutical activities, such as gifts, entertainment, conferences, CMEs,
and consultants. The ACCME standards address only CME activities.




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       76.    AMA policy states that “[t]o avoid the acceptance of inappropriate gifts,

physicians should observe the following guidelines:

       (1) Any gifts accepted by physicians individually should primarily entail a
       benefit to patients and should not be of substantial value. . . . Cash payments
       should not be accepted.

       (2) Individual gifts of minimal value are permissible as long as the gifts are
       related to the physician’s work (e.g., pens and notepads).

                                            ***

       (7) No gifts should be accepted if there are strings attached. For example,
       physicians should not accept gifts if they are given in relation to the
       physician’s prescribing practices. In addition, when companies underwrite
       medical conferences or lectures other than their own, responsibility for and
       control over the selection of content, faculty, educational methods, and
       materials should belong to the organizers of the conferences or lectures.

American Medical Association, Council on Ethical and Judicial Affairs, “Gifts to

Physicians from Industry,” AMA Ethical Opinion 8.061.

       77.    AMA policy also prohibits physicians from accepting “any kind of payment or

compensation from a drug company . . . for prescribing its products.” See AMA Ethical

Opinions 6.04 (Fee Splitting); see also AMA Ethical Opinion 6.02 (Fee Splitting).

       78.    The American College of Physicians’ Ethics Manual (“Ethics Manual”)

recognizes “drug industry gifts” as having potentially negative influence on clinical judgment

and notes that it is “unethical for a physician to receive a commission or a kickback from

anyone, including a company that manufactures or sells . . . medications that are used in the care

of the physician’s patients.” See Ethics Manual, Financial Conflicts of Interest.   Free or

discounted equipment or services to physicians are “suspect” under the CMPL, 42 U.S.C. §

1320a; Office of Inspector General Guidance, COMPLIANCE PROGRAM GUIDANCE FOR

PHARMACEUTICAL MANUFACTURERS, 68 Fed. Reg. 86 at 23731 (hereinafter, “OIG Guidance.”).




                                               28
       79.     Free or discounted equipment or services, such as computers, faxes or business

management consulting services to physicians are “suspect” under the Anti-Kickback Statute,

42 U.S.C. §1320(a), et seq., as are educational grants and payments to physicians for consulting

services. See Office of Inspector General Guidance, Compliance Program Guidance for

Pharmaceutical Manufacturers, 68 Fed. Reg. 86 at 23731) (hereinafter, “OIG Guidance.”).

       80.     Research contracts that originate through the sales and marketing functions—or

that are offered to doctors in connection with sales contacts—are particularly suspect under the

Anti-Kickback Statute. See OIG Guidance, 68 Fed. Reg. at 23738. Most dubious in this regard

is research that is initiated or directed by the sales or marketing agents that is not transmitted to

the manufacturer’s science division. Id.

       VI.     HORIZON’S SCHEME TO SELL KRYSTEXXA THROUGH OFF-LABEL
               MARKETING AND ILLEGAL KICKBACKS

               A.      Relator’s Background & Summary

       81.     In her professional capacity, Relator directly witnessed Horizon, after the FDA

refused to let Horizon alter its safety warning label, engage in misbranding and off-label

promotion, which included, but was not limited to, the use of false and misleading promotional

materials using off-label data to deceptively downplay the risks of Krystexxa and engaging in

kickbacks to the highest prescribers of Krystexxa to maintain and drive sales.

       82.     Since at least 2016 and continuing to the present, Defendant Horizon has engaged

in a systematic practice to boost sales of Krystexxa illegally. Horizon’s illegal activity includes

manipulating the clinical trial data and fraudulently downplaying the risks of Krystexxa in

promotional material to increase sales; deploying its marketing team to ghostwrite the content of

a “scientific” article about Krystexxa in order to mislead prescribers and increase sales; using

sham advisory “safety boards” to meet with doctors and communicate misleading off-label data



                                                 29
to them; and paying kickbacks to the highest prescribers to ensure unusually high sales of the

drug.

        83.    As part of their fraudulent scheme, Defendants knowingly provided false

information regarding the efficacy and risk of Krystexxa which caused physicians and

pharmacists to either expressly or impliedly make false certifications about Krystexxa’s

appropriateness or necessity for patients’ treatment. Defendants’ intent was to give prescribing

physicians a false sense of security to tip the balance between safety risks and benefits in favor

of the treatment, and therefore increase sales of the drug. As a result of their fraudulent scheme,

Defendants have caused the submission of false claims for Krystexxa prescriptions that were

paid for by Medicare, Medicaid, TRICARE and CHAMPVA, and private insurers, as medically

necessary, and these programs and payors have spent millions on fraudulent claims for

Krystexxa prescriptions – generating more prescriptions and more profits for Defendants.

               B.      Chronic Gout & Krystexxa Overview

                       i.     Chronic Gout Refractory to Conventional Therapy

        84.    Krystexxa, the drug at issue in this case, is indicated for use by patients who have

chronic gout and are unable to control their disease with conventional therapy (commonly

prescribed oral medications). Chronic gout is a disease characterized by high levels of uric acid

in the body. Increased uric acid can accumulate and result in debilitating deposits anywhere in

the body including the bones, joints, and tendons. The condition can result in debilitating joint

inflammation and severe pain.

        85.    Gout can result in gout attacks or flares. According to the Johns Hopkins

Arthritis Center, “[a] typical gout attack is characterized by the sudden onset of severe pain,

swelling, warmth, and redness of a joint. . . the joint most commonly involved in gout is the first




                                                 30
    metatarsophalangeal joint (the big toe), and is called podagra. Any joint may be involved in a

    gout attack (and it may be more than one) with the most frequent sites being in the feet, ankles,

    knees, and elbows. An acute gout attack will generally reach its peak 12-24 hours after onset,

    and then will slowly begin to resolve even without treatment. Full recovery from a gout attack

    (without treatment) takes approximately 7-14 days. . . For some patients, gout can result in

    recurrent attacks. In more severe cases, there can be short intervals between attacks, or

    incomplete resolution of inflammation between attacks. This form of severe, uncontrolled gout,

    can cause significant joint destruction and deformity and may be confused with other forms of

    chronic inflammatory arthritis such as rheumatoid arthritis.”8

           86.      Additionally, gout can result in tophi. “Tophi are chunks of uric acid

    (monosodium urate) crystals that accumulate in and around joints and other parts of the body as

    the result of advanced gout. A tophus around a joint can cause it to become swollen and

    misshapen and the skin that covers it to become stretched and taut, sometimes to the point of

    ulceration. Tophi can erode bone and destroy cartilage, leading to chronic inflammation that

    can be painful and debilitating. A tophus typically is easy to identify with a visual exam, but

    sometimes imaging or aspiration may be necessary to confirm a diagnosis. Depending on the

    size and location of a tophus, it can be dissolved/diminished with medication that lowers the

    levels of uric acid in the blood, like oral urate lower therapies that are the first line of treatment,

    or Krystexxa. In the instance of very large tophi, surgical removal is sometimes undertaken.

    Tophi affect 12% to 35% of people with gout.”9




8
    See https://www.hopkinsarthritis.org/arthritis-info/gout/clinical-presentation-of-gout/
9
    See https://www.verywellhealth.com/gout-tophi-tophus-what-is-it-189830




                                                            31
           87.     According to WebMD, gout affects 8.4 million people in the U.S. or roughly 4%

 of the population.10 It is estimated that refractory gout affects about 1% of the overall gout

 patients in the United States – approximately, 84,000 people nationwide. Horizon estimates that

 greater than 100,000 patients have uncontrolled gout, or less than 0.0003% of the population.

           88.     According to the Centers for Disease Control and Prevention (“CDC”), “Gout is

 caused by a condition known as hyperuricemia, where there is too much uric acid in the body.

 The body makes uric acid when it breaks down purines, which are found in the body and in the

 foods we eat. When there is too much uric acid in the body, uric acid crystals (monosodium

 urate) can build up in joints, fluids, and tissues within the body. Hyperuricemia does not always

 cause gout, and hyperuricemia without gout symptoms does not need to be treated.” See

 https://www.cdc.gov/arthritis/basics/gout.html

           89.     The CDC states that “Gout can be effectively treated and managed with medical

 treatment and self-management strategies.” Health care providers may recommend a medical

 treatment plan to (a) Manage the pain of a flare (treatment for flares consists of nonsteroidal

 anti-inflammatory drugs (NSAIDs) like ibuprofen, steroids, and the anti-inflammatory drug

 colchicine; (b) Prevent future flares (by making changes to diet and lifestyle, such as losing

 weight, limiting alcohol, eating less purine-rich food (like red meat or organ meat), may help

 prevent future attacks; changing or stopping medications associated with hyperuricemia (like

 diuretics) may also help); (c) Prevent tophi and kidney stones from forming as a result of

 chronic high levels of uric acid. Tophi are hard, uric acid deposits under the skin. For people

 with frequent acute flares or tophi, doctors may recommend preventive therapy to lower uric

 acid levels in the blood using drugs like allopurinol, febuxostat, and, when oral therapies have

10
     See https://www.webmd.com/arthritis/news/20110728/gout-becoming-more-common-in-us .




                                                      32
 failed or are contraindicated, pegloticase (Krystexxa). In addition to medical treatment, gout

 can be treated with self-management strategies, day to day strategies to manage the condition

 and stay healthy, like making healthy lifestyle choices, physical exercise, and losing weight.

           90.     According to Horizon, “Uncontrolled gout occurs in patients who have failed to

 normalize serum uric acid, or sUA, and whose signs and symptoms are inadequately controlled

 with conventional therapies, such as xanthine oxidase inhibitors, or XOIs, at the maximum

 medically appropriate dose, or for whom these drugs are contraindicated.”11

                            ii.     Krystexxa

           91.     Krystexxa (scientific name pegloticase), manufactured and marketed by Horizon,

is an “orphan” drug originally developed by Savient Pharmaceuticals and approved for use in the

United States by the FDA in 2010. Savient was unable to launch the medication successfully

and struggled with slow sales growth, which eventually led Savient to bankruptcy. Savient sold

its assets to Crealta Pharmaceuticals in a bankruptcy fire sale in 2013. In 2016, Horizon acquired

Crealta Pharmaceuticals and all of its assets, including Krystexxa.12 During its first year on the

market, the company which developed the drug, Savient Pharmaceuticals, priced Krystexxa at

about $2,300 per dose, with a bi-weekly 6-month treatment costing an estimated $27,000, or

$54,000 per year. Horizon charges approximately $250,000 a year for treatment with Krystexxa,

or approximately $125,000 for a bi-weekly, 6-month regimen – a 600% increase above Savient’s

initial price. According to CMS’s Medicare Drug Spending Dashboard, in 2018, Medicare’s Part

B average spending per beneficiary for Krystexxa was $116,588.00; and Medicare Part B spent a


11
     See 2019 Horizon Form 10-K at p. 5.
12
  See 2018 Horizon Form 10-K at p. 3 (“On January 13, 2016, we completed our acquisition of Crealta Holdings,
LLC, or Crealta, which added the rare disease medicine KRYSTEXXA…to our medicine portfolio, or the Crealta
acquisition.”).




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total of $72,284,678.00 on Krystexxa; similarly, in 2018, Medicare’s Part D average spending

per beneficiary for Krystexxa was $164,969.00; and Medicare Part D spent a total of

$24,250,415.00 on Krystexxa. Medicare alone spent approximately a total of $96.5 million on

Krystexxa for Medicare beneficiaries in 2018. According to CMS’s Medicare Drug Spending

Dashboard, in 2018, Medicaid paid $9,102,868 for Krystexxa.

           92.     Krystexxa is Defendant Horizon’s flagship pharmaceutical. According to

Horizon’s annual reports, Horizon doubled sales for Krystexxa in 2017 to $156.5 million, and

quadrupled them by 2018, to $258.9 million. According to Horizon’s investor prospectus, in

2018, Horizon projected greater than 20% growth in 2019. Last year Horizon was aiming for

target sales of greater than $750 million annually, but this year adjusted those projections up to

$1 billion annually. According to Horizon’s most recent SEC filing, Horizon reported $342.4

million net sales of Krystexxa in 2019.13 Upon information and belief, Drs. Botson and Peterson

account for approximately 20-25% of all sales of Krystexxa in the United States.

           93.     Krystexxa poses significant risks and treatment issues, however. First, the

 treatment is very expensive, as it costs approximately $250,000 per regimen; treatment can

 continue for months or years, with the optimal duration of treatment unknown. Second, the

 treatment poses serious health risks that may outweigh the benefits for many patients. Since

 Krystexxa is a foreign protein infused into the human body, it activates an immune system

 response that generates anti-drug antibodies; the immune system response results in a loss of

 efficacy (because the immune system clears the drug from the body, as the antibodies neutralize

 the effect of the drug); it also leads to side effects when the drug is infused or shortly thereafter



13
     See 2019 Horizon Form 10-K at 4.




                                                   34
(referred to as infusion reactions) such as skin rashes, hives, chest pain, difficulty in breathing,

and life-threatening anaphylaxis.

       94.     According to Krystexxa’s black box warning on the FDA approved label, there is

a significant risk of anaphylaxis, which at its worst can lead to death, seen in 6.5% of patients,

while infusion reactions generally occur in 26% of patients.

       95.     The high risk associated with Krystexxa and the need to administer it by

intravenous infusion with continuous monitoring in an office equipped to deal with life-

threatening anaphylaxis prevents many doctors from prescribing this drug. For this reason,

Horizon has spent a great deal of time and energy to fraudulently downplay and minimize the

risks of Krystexxa in communications with prescribers and is paying kickbacks to the highest

prescribers of the drug to maintain and increase current sales levels.

       96.     Horizon previously sought a request to change the FDA-approved safety

information on the label, which would have effectively downplayed the safety risks, but the

FDA rejected that request.

                              a.       Indication

       97.     According to the current label, Krystexxa, is a “PEGylated uric acid specific

enzyme indicated for the treatment of chronic gout in adult patients refractory to conventional

therapy.” In other words, the FDA limited Krystexxa’s approval to use in patients who have not

responded to conventional therapies.

       98.     Allopurinol is the gold-standard treatment for gout and works by blocking the

production of uric acid, reducing overall body levels. Krystexxa’s label reflects Krystexxa’s

approval for use when the first-line choices like allopurinol, given at the maximally tolerated

dose, fail. In instances in which allopurinol does not achieve the desired effect, another oral




                                                 35
agent that works in a similar way, febuxostat, should also be tried. Most patients will tolerate

and respond to these conventional therapies.

       99.     Thus, Krystexxa is considered a drug of “last-resort” for otherwise untreatable

gout. It is given intravenously and works differently from oral agents by directly breaking down

uric acid and lowering high levels of uric acid in the body quickly; increased uric acid in the

body causes gout and can result in debilitating deposits anywhere in the body including the

bones, and joints. The condition can result in debilitating joint inflammation and severe pain.

                              b.      Means of Administration and Dosage

       100.    Krystexxa is administered in 8 mg doses by intravenous infusion over no less than

120 minutes via gravity feed, syringe-type pump, or infusion pump, every 2 weeks. The optimal

duration of treatment is unknown, but it is generally given over approximately 3 to 6-month

intervals, with treatment extending up to a year or beyond based on patient response to therapy

and physician discretion. Krystexxa is diluted prior to use, using 1 mL of Krystexxa into a 250

mL bag of 0.9% Sodium Chloride Injection, USP or 0.45% Sodium Chloride Injection, USP for

intravenous infusion at room temperature.

       101.    Patients are required to discontinue oral urate-lowering agents before starting

Krystexxa, so as not to mask loss of efficacy that is commonly seen with Krystexxa over time,

attributed to production of antibodies against the drug. Doctors are supposed to monitor serum

uric acid levels before each infusion and patients should be pre-medicated with antihistamines

and corticosteroids to reduce the risk of allergic reactions, including anaphylaxis. Risks are so

great that the label requires Krystexxa to be administered “in a healthcare setting by healthcare

providers prepared to manage anaphylaxis.”




                                                 36
                               c.      Pharmacology

       102.    According to its label, “Krystexxa is a uric acid specific enzyme which is a

recombinant uricase and achieves its therapeutic effect by catalyzing the oxidation of uric acid to

allantoin, thereby lowering serum uric acid. Allantoin is an inert and water-soluble purine

metabolite; it is readily eliminated, primarily by renal excretion.”

       103.    The label states, “approximately 24 hours following the first dose of Krystexxa,

mean plasma uric acid levels for subjects in the Krystexxa groups were 0.7 mg/dL for the

Krystexxa 8 mg every 2 weeks group. In comparison, the mean plasma uric acid level for the

placebo group was 8.2 mg/dL.”

       104.    The label further states that “[i]n a single-dose, dose-ranging trial, following 1-

hour intravenous infusions of 0.5, 1, 2, 4, 8 or 12 mg of pegloticase in 24 patients with

symptomatic gout (n=4 subjects/dose group), plasma uric acid decreased with increasing

pegloticase dose or concentrations. The duration of suppression of plasma uric acid appeared to

be positively associated with pegloticase dose. Sustained decrease in plasma uric acid below the

solubility concentration of 6 mg/dL for more than 300 hours was observed with doses of 8 mg

and 12 mg.”

                               d.      Efficacy

       105.    According to its label, “the efficacy of Krystexxa was studied in adult patients

with chronic gout refractory to conventional therapy in two replicate, multicenter, randomized,

double-blind, placebo-controlled studies of six months duration: Trial 1 and Trial 2.”

       106.    “Patients were randomized to receive Krystexxa 8 mg every 2 weeks or every 4

weeks or placebo in a 2:2:1 ratio. Studies were stratified for the presence of tophi. Seventy-one

percent (71%) of the patients had baseline tophi.”




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        107.     “To assess the efficacy of Krystexxa in lowering uric acid, the primary endpoint

in both trials was the proportion of patients who achieved plasma uric acid (“PUA”) less than 6

mg/dL for at least 80% of the time during Month 3 and Month 6.”

        108.     During the clinical trials, “a greater proportion of patients treated with Krystexxa

every 2 weeks achieved urate lowering to below 6 mg/dL than patients receiving placebo.”

Notably, “[a]lthough the 4 week regimen also demonstrate efficacy . . . this regimen was

associated with increased frequency of anaphylaxis and infusion reactions and less efficacy with

respect to [reducing] tophi.”

        109.     According to the clinical trial data, after six months, “the percentage of patients

who achieved a complete response (defined as 100% resolution of at least one target tophus, no

new tophi appear and no single tophus showing progression) was 45%, 26%, and 8%, with

Krystexxa 8 mg every 2 weeks, Krystexxa 8 mg every 4 weeks, and placebo, respectively. The

difference between Krystexxa and placebo was statistically significant for the every 2 week

dosing regimen, but not for the every 4 week dosing regimen.” The clinical trial did not reach

conclusions about patients who did not achieve a complete response.

                                   e.       Safety Concerns

        110.     Krystexxa is not a risk-free medication and may cause several serious health risks.

The Krystexxa label has a black box warning entitled, “WARNING: ANAPHYLAXIS and

INFUSION REACTIONS.”14

                      WARNING: ANAPHYLAXIS and INFUSION
                      REACTIONS



14
  The “black box” warning on a drug’s label is the FDA’s strongest warning. Such a warning, which is named a
“black box” warning for the black border that surrounds the text of the warning on the prescribing information,
indicates that a serious, adverse event, including death, is associated with that particular drug.




                                                        38
                      Anaphylaxis and infusion reactions have been reported to
                       occur during and after administration of KRYSTEXXA.
                       (5.1, 5.2)

                      Anaphylaxis may occur with any infusion, including a first
                       infusion, and generally manifests within 2 hours of the
                       infusion. However, delayed-type hypersensitivity reactions
                       have also been reported. (5.1)

                      KRYSTEXXA should be administered in healthcare
                       settings and by healthcare providers prepared to manage
                       anaphylaxis and infusion reactions. (5.1, 5.2)

                      Patients should be premedicated with antihistamines and
                       corticosteroids. (5.1, 5.2)

                      Patients should be closely monitored for an appropriate
                       period of time for anaphylaxis after administration of
                       KRYSTEXXA. (5.1)

                      Monitor serum uric acid levels prior to infusions and
                       consider discontinuing treatment if levels increase to above
                       6 mg/dL, particularly when 2 consecutive levels above 6
                       mg/dL are observed. (5.2)

                                           1. Anaphylaxis

       111.    Studies have shown that Krystexxa causes anaphylaxis, a severe potentially life-

threatening allergic reaction. According to its label, “[d]uring pre-marketing controlled clinical

trials, anaphylaxis was reported with a frequency of 6.5% of patients treated with Krystexxa

every 2 weeks, compared to none with placebo. Manifestations include wheezing, peri-oral or

lingual edema, or hemodynamic instability, with or without rash or urticaria.” “The diagnostic

criteria of anaphylaxis were skin or mucosal tissue involvement, and, either airway compromise,

and/or reduced blood pressure with or without associated symptoms, and a temporal relationship

to Krystexxa. Using these clinical criteria, anaphylaxis was identified in 5.1% of patients studied

in the clinical trial: the frequency was 6.5% for the every 2-week dosing regimen, and 4.8% for

the 4-week dosing regimen; and anaphylaxis generally occurred within 2 hours after treatment.




                                                39
       112.    “Cases of anaphylaxis occurred in patients being pre-treated with one or more

doses of an oral antihistamine, and intravenous corticosteroid and/or acetaminophen.” As a

result, “the pre-treatment may have blunted or obscured symptoms or signs of anaphylaxis and

therefore the reported frequency may be an underestimate.” The label also warns that “delayed-

type hypersensitivity reactions have also been reported.” The danger of anaphylaxis is

heightened by the fact that “[a]naphylaxis may occur with any infusion, including the first

infusion, and generally manifests within 2 hours of the infusion.”

       113.    “The risk of anaphylaxis is higher in patients whose uric acid level increases to

above 6 mg/dL, particularly when 2 consecutive levels above 6 mg/dL are observed.”

       114.    For these reasons, the label recommends that Krystexxa be “administered in

healthcare settings and by healthcare providers prepared to manage anaphylaxis” and that

patients “should be closely monitored for an appropriate period of time for anaphylaxis after

administration of Krystexxa.” Moreover, “[p]atients should be informed of the symptoms and

signs of anaphylaxis and instructed to seek immediate medical care should anaphylaxis occur

after discharge from the healthcare setting.”

                                        2. Infusion Reactions

       115.    Studies have also shown that Krystexxa causes infusion reactions. “During pre-

marketing controlled clinical trials, infusion reactions were reported in 26% of patients treated

with Krystexxa 8 mg every 2 weeks, and 41% of patients treated with Krystexxa 8 mg every 4

weeks, compared to 5% of patients treated with placebo.” “Manifestations of these [infusion]

reactions included urticaria (frequency of 10.6%), dyspnea (frequency of 7.1%), chest discomfort

(frequency of 9.5%), chest pain (frequency of 9.5%), erythema (frequency of 9.5%), and pruritus

(frequency of 9.5%).” Moreover, “[t]hese manifestations overlap with the symptoms of




                                                40
anaphylaxis, but in a given patient did not occur together to satisfy the clinical criteria for

diagnosing anaphylaxis. Infusion reactions are thought to result from release of various

mediators, such as cytokines.”

       116.    Since these reactions occurred in patients being pre-treated with an oral

antihistamine, intravenous corticosteroid and/or acetaminophen, this pre-treatment may have

blunted or obscured symptoms or signs of infusion reactions and therefore the reported

frequency may be an underestimate. For these reasons, “Krystexxa should be infused slowly

over no less than 120 minutes. In the event of an infusion reaction, the infusion should be

slowed, or stopped and restarted at a slower rate.”

       117.    As with anaphylaxis, “the risk of infusion reactions is higher in patients whose

uric acid level increases to above 6 mg/dL, particularly when 2 consecutive levels above 6

mg/dL are observed.” Moreover, infusion reactions “occurred at any time during a course of

treatment with approximately 3% occurring with the first infusion, and approximately 91%

occurred during the time of infusion.” The label also notes that the “risk of an infusion reaction

is higher in patients who have lost therapeutic response.”

                                             3. Gout Flares

       118.    Studies have also shown that Krystexxa may cause gout flares. “During the

controlled treatment period with Krystexxa or placebo, the frequencies of gout flares were high

in all treatment groups, but more so with Krystexxa treatment during the first 3 months of

treatment, which seemed to decrease in the subsequent 3 months of treatment.” The reported

frequency was 65% with Krystexxa 8 mg every 2 weeks.




                                                  41
                                         4. Congestive Heart Failure

           119.    According to the label, “[t]wo cases of congestive heart failure exacerbation

occurred during the trials in patients receiving treatment with Krystexxa 8 mg every 2 weeks”

and “[f]our subjects had exacerbations of pre-existing congestive heart failure while receiving

Krystexxa 8 mg every 2 weeks during the open-label extension study.”

                                         5. Other Adverse Reactions

           120.    Aside from anaphylaxis, infusion reactions, gout flares and congestive heart

failure exacerbation, the most commonly reported adverse reactions that occurred in greater than

or equal to 5% of patients treated with Krystexxa 8 mg every 2 weeks were nausea (frequency of

12%), contusion or ecchymosis (frequency of 11%), nasopharyngitis (frequency of 7%),

constipation (frequency of 6%), chest pain (frequency of 6%), and vomiting (frequency of 5%).

                   C.      Horizon’s Off-Label Marketing Strategies and False Claims

           121.    Because Krystexxa is a “foreign protein” being infused into the human body, the

drug tends to activate the human immune system. The vast majority of patients (over 90%)

generate antibodies against the drug (anti-drug antibodies), and in nearly half of the patients the

levels of anti-drug antibodies become quite elevated.15 Anti-drug antibodies are thought to

produce two main effects: (1) they reduce the effectiveness of the drug, because the antibodies

neutralize its effect, resulting in a loss of efficacy; and (2) they produce side effects when the

drug is infused in the presence of these anti-drug antibodies (“infusion reactions”).

           122.    According to the prescribing information, Krystexxa is at most only effective in

45% of patients, and can cause life-threatening anaphylaxis in up to 6.5% of patients, with

infusion reactions overall seen in 26% to 41% of patients receiving it. Although no fatalities

15
     See Lipsky et al. ARTHRITIS RESEARCH & THERAPY 2014, 16:R60.




                                                      42
were considered caused by the study drug during the clinical trials, the effects observed lead to

considerable concern from the FDA, which required warnings about anaphylaxis and infusion

reactions to be included in a “Black Box Warning” in the product’s label (a black box warning is

the strictest warning that can be put in the label of a prescription drug by the FDA).16

           123.    According to Relator, physicians have expressed concern about the safety profile

of Krystexxa, and hesitated to use the drug, for these reasons. Not surprisingly, Horizon

admitted that its “ability to generate revenues” from its medications “is subject to attaining

significant market acceptance among physicians, patients and healthcare payers.”17

           124.    Horizon doubled its Krystexxa commercial team in 2018 and increased

“promotional efforts to further penetrate rheumatology and initiate marketing to nephrology”

while “growing [its] customer base from both new and existing prescribers.”18

           125.    Horizon stated publicly,

                         With respect to Krystexxa, our ability to grow sales will be
                         affected by the success of our sales, marketing and clinical
                         strategies, which could expand the patient population and
                         usage of Krystexxa.19

           126.    Horizon has told shareholders, “[i]f we are unable to effectively train and equip

our sales force, our ability to successfully commercialize our medicines will be harmed.”20 To

that end, Horizon committed to “expend significant time and resources to train [its] sales force to




16
     Recently, at least one death of a patient using KRYSTEXXA was reported.
17
     See 2018 Horizon Form 10-K at 34.
18
     See 2019 Horizon Form 10-K at 6.
19
     See 2018 Horizon Form 10-K at 35.
20
     See 2018 Horizon Form 10-K at 37.




                                                        43
be credible and persuasive in convincing physicians to prescribe and pharmacists to dispense

[its] medicines.”21

           127.    As Relator recounts, this was ultimately achieved by ghostwriting a “scientific”

paper and arming the sales force with misleading promotional material and funding sham “safety

boards” that used off-label misrepresentations to misbrand Krystexxa and deceive physicians

about the safety and effectiveness of Krystexxa – to convince them to prescribe Krystexxa more

often, when it was neither safe nor medically necessary to do so. Convincing physicians to

determine that a patient had “failed” oral therapy sooner/more quickly was an objective of the

sales team. Reassuring physicians about the false safety of Krystexxa was part of the scheme to

encourage them to conclude that oral medications had failed and that a patient should move more

quickly to Krystexxa.

                          i. Horizon Fails to Persuade FDA to Change Labeling for Krystexxa

           128.    Horizon sought but failed to obtain FDA approval to change the label for

Krystexxa to reflect diminished safety risks, which would have encouraged more doctors to use

the drug and increase its sales.

           129.    Data from the initial clinical studies used to approve Krystexxa were further

reviewed for a connection between the increased risk of infusion reactions and the development

of anti-drug antibodies. Monitoring a patient’s uric acid levels in the blood, and detecting when

those levels rose, indicated a loss of efficacy due to anti-drug antibodies, and a warning sign that

the patient was at higher risk for an infusion reaction.




21
     See 2018 Horizon Form 10-K at 37.




                                                   44
        130.    This observation was not possible during the original clinical studies because the

investigators and sponsor of the studies were blinded to the serum uric acid levels, and thus the

drug was continued with no knowledge or consideration of uric acid levels.

        131.    Monitoring blood uric acid levels could provide information on the risk of

infusion reactions. As the anti-drug antibodies are thought to increase risk of infusion reactions,

the uric acid level can indicate whether these anti-drug antibodies have formed. Various re-

analyses of the clinical study data were undertaken after the study ended to explore this

hypothesis. In a post-hoc analysis of the data from the studies leading to the drug’s approval it

was appreciated that, if the drug had been stopped at the time that the uric acid increased to

above a certain threshold (6 mg/dL), it appeared that many infusion reactions could have been

avoided.

        132.    Although this observation was based on a second, post-hoc analysis, the overall

finding that uric acid levels may generally guide physicians on pegloticase safety was deemed

important for product labeling; according to the FDA approved U.S. Prescribing Information

(“US PI”) when uric acid rises to above 6 mg/dL physicians should consider stopping the

infusion, particularly when two consecutive levels above 6 mg/dL are observed. However, there

have been no prospective studies completed to date to assess the actual incidence of infusion

reactions with the use of serum uric acid (sUA) monitoring and stopping rules, nor to establish

the optimal stopping rules to be used when administering the drug. As a result, the infusion

reaction rates that may be expected in clinical practice are unknown, and the FDA-approved

label reports only the data directly observed in the clinical trials.

        133.    Nevertheless, the prospect of increasing medical community awareness of the

concept of “uric acid monitoring” and uric acid “stopping rules” became of great interest to




                                                  45
Horizon because Horizon believed that greater comfort with the safety profile of the drug would

lead to greater use of the drug by physicians and increased sales of Krystexxa, despite lack of

definitive data on the risks with the drug. And, while the current label provides general guidance

and warnings about discontinuation when a patient’s uric acid level rises, the lack of more

detailed information in the labeling, on this topic, was a source of frustration for Horizon

because the black box warning in the US PI contained dire warnings about the possibility of

anaphylaxis – a serious life-threatening allergic reaction – requiring close monitoring during

treatment with the drug.

       134.    The black box warning warns physicians that the blood (serum) uric acid levels

should be monitored and that physicians should consider discontinuation of treatment if the

levels rise to above 6 mg/dL, because this reflects a higher risk of infusion reactions. In the more

detailed sections addressing safety in the prescribing information, it is noted that infusion

reactions occurred at a frequency of 26% in patients treated with 8 mg Krystexxa every 2 weeks.

       135.    However, the label does not express any “adjusted” infusion reaction rates if uric

acid monitoring and stopping rules are implemented. The greatest detail offered on this subject

in the prescribing information appears in a footnote to the efficacy results presented in Section

14, titled “Clinical Studies” of the US PI, where it is noted that infusion reactions would have

been reduced by approximately 67% if the drug had been stopped when a patient’s uric acid level

rose to greater than 6 mg/dL on a single occasion, and would have been “about half” if the drug

had been stopped after 2 consecutive uric acid levels greater than 6 mg/dL, without any further

detail. The FDA declined to allow inclusion of any lower rates of infusion reactions with the use

of uric acid monitoring in the US PI because it was based on post-hoc data of a later study that

was not designed to determine these rates with confidence.




                                                 46
       136.    Horizon had a strong commercial interest in communicating lower risks of

infusion reactions to doctors, whether they were valid or not, because lower risks of infusion

reactions would persuade doctors to use the drug more often and increase its sales. Horizon

requested a label update from the FDA to include additional data on infusion reactions in the US

PI. The key data the Company sought to include was another post-hoc analysis on infusion

reaction rates with the use of serum uric acid stopping rules, undertaken by the Company, and

different from the original post-hoc analysis that led to product labeling, with even more

favorable infusion reaction rates than in the post-hoc analysis that informed labeling. The

Horizon post-hoc analysis attempted to simulate what would have happened if serum uric acid

stopping rules were followed using serum acid levels drawn immediately before each infusion

(rather than based on uric acid levels from the prior clinic visit, two weeks before the infusion, as

in the first post-hoc analysis), with patients taken off the drug if their serum uric acid rose to

above 6 mg/dL on one or two consecutive occasions.

       137.    The post-hoc analysis suggests that, in the trials that led to approval, if patients

had been taken off the drug when they had one uric acid level greater than 6 mg/dL checked in

the morning prior to the infusion of the drug, there would have been infusion reactions seen in

2% of patients. If a patient was discontinued after two uric acid levels > 6 mg/dL checked in the

morning prior to the infusion of the drug, there would have been infusion reactions seen in 8% of

patients. While this data was scientifically interesting, it was generated in a post-hoc fashion and

based on a study that was not prospectively designed to answer the question of how best to

perform uric acid monitoring, to identify what stopping rules should be used, and to ascertain the

expected rates of infusion reactions with the implementation of that monitoring. According to

Relator, it was common knowledge on the Horizon extended team consisting of Clinical




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Development, Medical Affairs, and Marketing that these data had been specifically presented to

the FDA with a request for inclusion in labeling and that this request was rejected by the FDA, in

part because the methodology of the study was not acceptable to the FDA. Notably, the FDA

approved label reports that 3% of infusion reactions occurred at the first infusion, when stopping

rules do not apply. Thus, the assertion that stopping rules will lead to infusion reactions in only

2% of patients is particularly misleading, as this is below the frequency of infusion reactions

expected with the very first infusion of the drug.

        138.    Dr. Paul Peloso (Vice President of Clinical Development, in the Therapeutic Area

and Head for Rheumatology), was familiar with these discussions and stated that the decision

was made by the FDA that this post-hoc analysis data did not meet the standard for labeling. As

a result, Horizon then sought other ways to communicate the off-label data in promotional

settings, despite specific feedback from the FDA that this data did not meet the required standard

for labeling, and despite the fact that it would give doctors a false sense of security and put

patients’ health at risk.

                        ii.    Horizon’s Duplicitous Medical Journal Publication

        139.    After the FDA denied approval to alter the label prescribing information, Horizon

decided to disregard the FDA’s ruling and increase sales by misrepresenting the efficacy of

Krystexxa and downplaying its safety risks. Horizon commenced its fraudulent scheme by

ghostwriting the content of a scientific article to be published in a medical journal with the

primary intent of using the article for direct promotion to healthcare providers by sales

representatives, and for citing it in Krystexxa promotional material that would be shown to

doctors to convince them that Krystexxa was safer than it was. The purpose of the article was to

give the false impression that the claims in the marketing material were supported by

independent science and research. The Krystexxa marketing team directed the writing and


                                                 48
content of the article. External authors of the article may not have been aware of the role of the

marketing team in shaping the content.

        140.     The “scientific” article, Use of Infusion Serum Uric Acid Levels as a Biomarker

for Infusion Reaction Risk in Patients on Pegloticase, published in early 2019 in the journal

Rheumatology and Therapy, was authored by Horizon’s Director of Medical Affairs, Dr. Brian

LaMoreaux, who owns stock in the company, and two external authors.

        141.     The article reads like promotional material rather than a medical journal article; it

contains post-hac data analyses showing a lower incidence of dangerous side effects, the same

information which was specifically rejected by the FDA for labeling. Through conversations

with Dr. LaMoreaux, Relator learned that the marketing team at Horizon ghostwrote the article

by controlling its scope and content, and they edited the language painstakingly. Equally

important, Relator learned the article was intended to serve as a promotional tool by sales

representatives when selling to prescribing physicians in the field and to be printed out and left

behind in physicians’ offices, lending credibility to the false claims Horizon was planning to

circulate in deceptive promotional material.

        142.     The misleading messaging of the ghostwritten article begins with the abstract. In

the abstract, which intends to provide the most important results and conclusions to the reader

(and is understood potentially to be the only content a busy physician reads), the authors write:

“if pegloticase therapy was stopped after a single pre-infusion sUA above 6 mg/dL, only two

patients (2%) would have experienced IRs during the clinical studies”.22 This is plainly false

because the data in the prescribing label clearly indicates that, in the clinical studies, “infusion

reactions occurred at any time during a course of treatment with approximately 3% occurring
22
  LaMoreaux et al. Use of Infusion Serum Uric Acid Levels as a Biomarker for Infusion Reaction Risk in Patients
on Pegloticase, RHEUMATOLOGY AND THERAPY (2019) 6:299-304, at p. 299.




                                                       49
with the first infusion.”23 Contradicting the risk established by the label and approved by the

FDA, the ghostwritten article in effect promises a lower rate of infusion reactions over the course

of treatment than was observed with the first infusion, per the label.

           143.     The abstract also misleads the reader about the risks of infusion reactions in the

less conservative approach of waiting for two uric acid levels to be elevated prior to

discontinuing therapy, stating “Of the 22 patients (26%) who experienced an IR [infusion

reaction] on pegloticase therapy without uric acid stopping rules, only seven (8%) would have

had IRs [infusion reactions] if pegloticase therapy had been discontinued after two consecutive

pre-infusion sUA levels above 6 mg/dL.”24 Of note, this is far below the infusion reaction rate

that can be inferred from the label with this approach to uric acid monitoring. The label indicates

that the “incidence of infusion reactions would have been half” of the 26% of patients with

infusion reactions under this scenario, i.e. approximately more than 13% - not 8% as the article

misrepresents.

           144.     The statement in the abstract, while arguably an accurate description of the post-

hoc analysis that Horizon undertook, presents a much lower infusion reaction rate than in the

label, with no explanation offered as to why the numbers are different. This data point in the

abstract also does not account for the risk of infusion reactions with the very first infusion, rather

implying that the totality of the infusion reaction risk is far lower than the label conveys, which

is misleading.

           145.     The liberties taken in the abstract may be seen as a convenient way to summarize

the data concisely, as required for publication. However, as a promotional tool, which was how

23
     USPI, Section 5.2, Infusion Reactions, p.4.
24
  LaMoreaux et al. Use of Infusion Serum Uric Acid Levels as a Biomarker for Infusion Reaction Risk in Patients
on Pegloticase, RHEUMATOLOGY AND THERAPY (2019) 6:299-304, at p. 299.




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this article was intended to be used by Horizon, the abstract contains claims that are false and/or

misleading.

       146.    It should be acknowledged that the analysis that was undertaken in the

ghostwritten article was not itself invalid. In the original post-hoc analysis undertaken by

Savient that led to the current labeling, Savient analyzed a scenario in which uric acid levels

drawn before an infusion would have been used for monitoring and decision making with the

next infusion two weeks later. There is a practical rationale for this, as uric acid testing requires

drawing blood and sending it to the laboratory, so results are unlikely to be available for several

hours, or perhaps not until the next day, depending on where the laboratory is and how quickly

the laboratory can process the samples and report the results. Thus, it is not unreasonable to

imagine using the results obtained before one infusion to inform decision making on the next

infusion.

       147.    At the same time, it would be reasonable to also consider the impact of uric acid

stopping rules using a level drawn closer to the next infusion, which is what Horizon’s new post-

hoc analysis attempted to address. The only way to undertake this analysis with the clinical

study data that were available was by looking at uric acid levels drawn on the same day that a

subject came in for an infusion, which is how the study was conducted, and simulating the

infusion reaction rate if a uric acid level drawn the day of an infusion was used for decision

making on whether to give the infusion on that same day. This was the approach taken in

Horizon’s post-hoc analysis.

       148.    Horizon revisited the clinical study data to “simulate” the effects of using uric

acid levels drawn the day of an infusion to inform whether the infusion that day should be given

or not. This would be expected to be more informative regarding the risk of infusion reaction




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than a level drawn two weeks prior, as immunity (and loss of effect leading to high uric acid)

may have developed since the prior infusion.

        149.     Indeed, the incidence of infusion reactions appeared to be lower than with the

Savient approach, and lower than what is stated in the label. However, the downside to

measuring the uric acid the same day as an infusion is an important practical issue. As noted

above, the results may take several hours to come back, or may not be available until the next

day, causing long delays for the patient, as well as the physician and his/her staff, prior to the

infusion.

        150.     Horizon sought to make this approach seem more manageable in the article, and

subsequently in its promotional material that followed, by suggesting the re-analysis could tell

physicians what the infusion reaction risk would be if the uric acid level was drawn 1-2 days

before the infusion.

        151.     The introduction section of the article reads: “The purpose of this analysis was to

quantify the reduction in IRs [infusion reactions] if pre-treatment sUA levels were checked 1-2

days before pegloticase infusions subsequent to the initial infusion.”25 This is not possible, and

thus is misleading, because the analysis was unable to quantify the reduction in infusion

reactions in this scenario – that is not how the study was designed or conducted. As a scientific

article, one could forgive this claim as simply sloppy or imprecise language. However, as a

promotional tool being ghostwritten by the marketing team of Horizon that is responsible for

increasing drug revenues, this is clearly an attempt to make data sound more definitive,

informative, and actionable than it really is.



25
  LaMoreaux et al. Use of Infusion Serum Uric Acid Levels as a Biomarker for Infusion Reaction Risk in Patients
on Pegloticase, RHEUMATOLOGY AND THERAPY (2019) 6:299-304, at p. 301.




                                                       52
            152.   This theme is subsequently repeated in Horizon’s promotional material – the Core

Visual Aid (CVA), discussed infra – which reads, “Close monitoring of sUA within 48 hours

prior to the infusion can significantly reduce infusion reactions,” and gives specific instructions

to “Draw sUA level ~48 hours prior to infusion and use results to inform Monitoring Protocol”

in order to achieve the 2% infusion reaction rate. Horizon’s subsequent promotional material,

the CVA, referenced the ghostwritten LaMoreaux article for validation of this misleading claim.

            153.   The article briefly attempts to address the inherent limitation that the conclusions

drawn are based on sUA levels checked the day of the infusion, not “48 hours prior” to the

infusion. It notes that “a limitation to this evaluation is that all sUA values in the study were

drawn during the pegloticase infusions, yet in this analysis it was extrapolated that they were

drawn 1-2 days before each infusion.”26 This is misleading also.

            154.   There was no extrapolation in the analysis. Rather, the article makes the

unfounded assertion that data exists to give physicians clear guidance on what percentage of

patients will have infusion reactions if sUAs are checked within 1-2 days prior to an infusion and

stopping rules are applied. But no such data exists.

            155.   Again, this may be accepted as imprecise language in an ordinary scientific

article, but since this particular article was ghostwritten by Horizon, and Horizon intended the

article to pose as “independent” research, and intended to cite it in subsequent commercial

promotional literature and in communications with physicians to provide directive instructions to

physicians and assuage their concerns with Krystexxa with a false assertion of lowered risk of

infusion reactions, it is clear that the article was a tool for off-label promotion, and Horizon

drafted and manipulated it to knowingly mislead physicians by falsely downplaying risks to

26
     Id. at 303.




                                                    53
boost sales of the drug. As a result of the misrepresentations in this article, Defendants caused

physicians to file millions of false claims for Krystexxa when they otherwise would not.

            156.   Of note, the ghostwritten article uses other language on the important role of uric

acid monitoring that is echoed in the promotional materials that followed. The abstract of the

article notes that uric acid functions as a “highly accurate biomarker,” and closes by describing

uric acid monitoring as a “powerful tool” to inform physicians27 – these descriptions are echoed

in the title of Horizon’s subsequent CVA, as discussed infra, where Horizon claims that uric acid

is a “powerful biomarker” to inform clinical practice.

            157.   The overlapping messaging between the ghostwritten article and Horizon’s CVA

was not a coincidence and reflected the direct involvement of the marketing team in the content

of the “scientific” article, to facilitate off-label promotion with false and misleading claims about

the risks of Krystexxa.

                          iii.    Deceptive Promotional Materials (Misbranding and Off-Label
                                  Marketing in Horizon’s Core Visual Aid Marketing Pamphlet)

            158.   After the ghostwritten article was published, Horizon turned to developing

promotional material to be used by sales representatives in their deceptive communications with

doctors. Horizon prepared a Core Visual Aid Pamphlet (“CVA”) – a promotional document –

which contains material that is misleading to physicians and inconsistent with product labeling:

(a) it contains false safety data that the FDA rejected after deeming it improper to include with

product labeling; (b) it contains misleading directives to prescribers to use serum uric acid

monitoring in clinical care whose effectiveness has not been tested; (c) it falsely communicates a

lower incidence of infusion reactions than the approved US PI will permit; (d) it includes


27
     Id. at 299.




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misleading information about the efficacy of the drug and downplays risks of infusion reaction

risks to drive increased prescriptions, sales and profits; (e) and it cites primarily to the

ghostwritten article.

        159.    Specifically, the CVA contains numerous misrepresentations or conceals data that

is inconsistent with labeling and deemed inappropriate by FDA.

        160.    The deception starts with the misleading Title of the CVA. It reads, “Serum Uric

Acid (sUA): A Powerful Biomarker that Informs the Safety and Efficacy of KRYSTEXXA in

Clinical Practice”. The title implies that directive instruction (commonly found on a label

approved by the FDA) will be provided to inform clinical use of the drug, while it conceals the

fact that the data shown in the CVA is inconsistent with labeling and was deemed inappropriate

for labeling by the FDA.

        161.    The Figure (on page 3 of the CVA) titled, “Incidence of Infusion Reactions Based

on sUA Levels (Per 100 Infusions)” further misleads the reader. This Figure is misleading

because this is the first time in the CVA that rates of infusion reactions are depicted, yet the

primary (on-label) data that 26% of patients had infusion reactions is omitted. Instead, this

Figure displays a post-hoc analysis showing the rate of infusion reactions per 100 infusions

administered, broken down by the uric acid level prior to the infusion. This figure is also

misleading because:

                    It provides infusion reaction rates that are dramatically lower
                     than in product labeling (<1% or 5% in the per infusion
                     analysis vs 26% in the subject incidence data included in the
                     US PI), which misrepresents a lower risk of infusion reactions
                     to prescribing physicians.

                    It pools data from different treatment groups in the pivotal
                     studies without making clear where the data is coming from.




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                   It does not acknowledge the post-hoc nature of the analysis; it
                    does not state that these conclusions were not reached with a
                    clinical study designed to make them.

                   It does not acknowledge the inherent limitations of a per-100
                    infusion analysis (such as the bias towards a lower rate of
                    adverse reactions in patients who tolerate the drug better and
                    thus stay on the drug longer and receive more infusions).

       162.    The claim (on pages 4 and 5 of the CVA) which reads: “Close monitoring of sUA

within 48 hours prior to the infusion can significantly reduce infusion reactions,” is a known

misrepresentation. This claim again relies on the article ghostwritten by Horizon’s marketing

department and containing data that the FDA had indicated was inappropriate for product

labeling. It also provides an improper directive instruction to physicians that is based on a post-

hoc analysis rather than prospective data; moreover, in the analysis this statement is based on,

uric acid levels drawn the same day as the infusions, not “within 48 hours” of the next infusion.

The statement implies far greater certainty than has been established in clinical studies to

convince doctors to prescribe Krystexxa and thus puts patient safety at risk.

       163.    The Figure (on page 5 of the CVA) supporting this claim contains specific data

that falsely reassures physicians about expected infusion reaction incidence when using a uric

acid monitoring protocol, showing dramatically lower infusion reaction rates than in the FDA-

approved product labeling. Based on a post-hoc analysis, Horizon claims these rates would have

been observed in the pivotal studies if the drug had been stopped once loss of efficacy occurred.

There is no way to know that is true. The Figure claims rates of infusion reactions in 2% or 8%

of subjects (depending on which “stopping rules” were used), which is substantially lower than

the 26% reported in the product’s prescribing information. This is data the FDA specifically

indicated was inappropriate for labeling and rejected in prior correspondence with Horizon. This

Figure also never explicitly states that the 26% in the Figure refers to the percent of patients



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having infusion reactions in the clinical studies, thus obscuring the important information from

the US PI. Moreover, senior management made the decision to include the 8% and 2% data

(from the ghostwritten paper) in the CVA. Relator discussed this decision with John Paul

Marcus and Brian LaMoreaux. Mr. Marcus indicated that the meeting was attended by very

senior leadership at Horizon for commercial, medical affairs, and compliance. The matter of

including reference to these figures was clearly a known compliance risk, but as Marcus put it,

“they have a lot more to gain” than he did, so Horizon was willing to take the risk.

       164.    The Table (on page 6 of the CVA): “Severity of Infusion Reactions in the Pivotal

Clinical Trials” is also misleading. This Table reports the rates of mild, moderate, or severe

infusion reactions in the pivotal clinical studies and, in smaller text below the main table, notes

the “4 cases of severe infusion reactions identified by investigators were retrospectively

reclassified as anaphylaxis by the FDA.” This language diminishes the importance of these

findings by implying that it was in some way questionable whether the infusion reactions

classified as anaphylaxis by the FDA met a clear clinical standard of anaphylaxis. There is no

basis for making that suggestion. Rather, this statement is made to be consistent with a key

internal Horizon talking point by the Marketing and Medical Affairs teams to diminish the

perceived relevance of the anaphylaxis cases occurring in the clinical studies. Horizon worked

to create the false impression that Krystexxa did not really pose the risk of life-threatening

anaphylaxis when it did.

       165.    The Figure (on page 3 of the CVA) which reads, “sUA Levels Throughout the 6-

Month Pivotal Clinical Trials” further misleads the reader. This Figure describes the group of

subjects in the pivotal studies who did not meet the primary endpoint as “incomplete

responders.” The US PI refers only to subjects who met response criteria versus those who did




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not. The term “incomplete responders” overstates the efficacy, as these are subjects who did not

meet the criteria defining response, and which is also inconsistent with FDA approved labeling.

       166.    Overall, the claims, figures and tables in the CVA omit primary on-label data that

26% of patients who used Krystexxa suffered infusion reactions among other concerns; they

suggest that an untested monitoring method can reduce the risks of Krystexxa to 8% or even 2%,

a completely unverified false and fraudulent claim, which also disregards that infusion reactions,

including anaphylaxis, can occur with the very first infusion of the drug, as was seen in 3% of

patients in the clinical studies leading to approval (and reflected as such in product labeling);

they imply that “anaphylaxis” reactions, the most dangerous life-threatening reactions associated

with Krystexxa, were overstated or misclassified and should not be taken seriously. The uric

acid stopping rules cannot prevent infusion reactions or anaphylaxis with the first infusion. The

rate Horizon reports of 2% incidence of infusion reactions with the stopping rules ignores the

risk of reactions with the first infusion, where stopping rules don't apply, further showing the 2%

figure is misleading. In sum, the figures and tables in the CVA convey false or misleading

information, downplay the risks, propose untested protocols and overstate the efficacy of

Krystexxa, and should never have been included in the CVA. As a result of the

misrepresentations in the CVA, Defendants caused physicians to file millions in false claims for

Krystexxa when they otherwise would not.

                       iv.     Sham Safety Boards to Boost Sales

       167.    To further increase sales and deceptively downplay the risks of Krystexxa,

Horizon funded 12-15 commercial advisory “safety board” meetings in one year to communicate

the same off-label data to doctors and prescribers. These “safety boards” were gatherings of

physicians – prescribers or potential prescribers of Krystexxa – invited to meet Horizon




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marketing staff. The “safety boards” would include a presentation of data by Horizon’s Director

of Medical Affairs Brian LaMoreaux, another Horizon medical team member (e.g. a field-based

medical “liaison”), or an external physician (such as Drs. Botson or Peterson), along with

participation of marketing staff. These advisory boards were ostensibly conducted to seek

“feedback” about Krystexxa from the invited participants. However, these meetings were not

legitimately conducted to obtain feedback or disseminate clinical information or new research.

Rather, these “safety boards” were intended to market and promote Krystexxa by downplaying

the risks of Krystexxa in order to drive up sales. These so-called “safety boards” presented

Horizon’s post-hoc data analyses to attendees; rather than discussing safety issues, they served as

a platform for disseminating over and over again the data rejected by the FDA for labeling (off-

label misinformation) in order to boost sales; and they were used to improperly reassure

prescribers of a safety profile that contradicted FDA guidance. The data included in the CVA

and the ghostwritten article played center stage at these “safety board” meetings to mislead

doctors about Krystexxa. Since the same information was presented at these meetings, they

lacked educational value and Horizon received little, if any, feedback from the attendees.

       168.    Participants at these meetings, including Drs. Botson and Peterson, were paid for

their participation in addition to having travel and meal expenses covered or reimbursed. It is

common for drug companies to set up advisory boards on a limited basis, for commercial or

medical/research staff to get feedback from physicians or other healthcare providers on select

topics. However, as a general rule, in planning these events, it is required that the feedback be

truly needed, not obtainable via other mechanisms, and not already obtained via prior meetings;

if the objective of these boards is data or messaging communication from the drug company to

physicians – which is precisely what Horizon intended – it is unacceptable and is off-label




                                                59
promotion. The safety boards for Krystexxa had a clear objective: to communicate off-label

“safety” data – not receive feedback. They were intended to be and actually served as a

marketing tool that presented misleading information to persuade prescribers to use Krystexxa

more often and drive sales of the drug. As a result of these meetings, Defendants caused

physicians to file millions in false claims when they otherwise would not and thus increased the

sales of Krystexxa.

       169.       These were commercial advisory boards during which medical staff would

participate to present the data. Medical staff were present and accompanied by Horizon sales

and marketing staff. Having a limited number of these events (e.g. one per year on a single

topic) to get feedback on data communication would be reasonable. Having repeated advisory

boards – 12 to 15 – with similar types of physicians (i.e. community practice rheumatologists)

addressing the same topics was clearly intended to disseminate information, not to receive

feedback from advisors. In this case, these sham safety boards were actually commercial

advisory boards, disseminating off-label information, misleading physicians and successfully

boosting sales.

                         v.      Kickback Payments to the Top Prescribers of Krystexxa

       170.       Last, but not least, Relator witnessed Horizon pay kickbacks to high prescribers of

Krystexxa, namely, Drs. John Botson of OPA and Jeff Peterson of WWM, who are responsible

for approximately 20-25% of Krystexxa sales nationwide, according to Michael Nagro,

Horizon’s Senior Director of Marketing. These two doctors had access to Horizon’s top

leadership, including Chief Commercial Officer Vikram Karnani, who told Horizon employees

“keep them happy,” and “make them feel important,” according to Horizon’s Vice President of

the Therapeutic Area and Head of Rheumatology – Clinical Development, Dr. Paul Peloso.

Karnani was directly involved with marketing and Drs. Botson and Peterson would complain to


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him directly about anything they were not happy with. Staying in their good graces incentivized

Drs. Botson and Peterson to continue prescribing Krystexxa at unusually high rates. But for the

prescriptions these doctors wrote for Krystexxa, Horizon would not have paid or compensated

them with amounts exceeding fair market value for their levels of experience.

       171.    Despite Drs. Botson and Peterson lacking the required experience and credentials

– they were not researchers, had no FDA experience, lacked any understanding of FDA

procedures or protocols – Horizon paid them exorbitant fees (above fair market value) for

consulting, honoraria, research and regulatory advice, and hired them for speaking events for the

marketing team. Horizon paid these doctors exorbitant consulting fees at the same time that they

tried to prevent them from speaking directly with FDA or meeting with FDA officials because

they lacked the required experience and expertise to do so.

       172.    For example, Drs. Botson and Peterson were both involved in giving Horizon

feedback on the clinical study (MIRROR randomized trial) on which Horizon was seeking FDA

feedback, and Dr. Botson was invited to live planning meetings with Horizon’s Shao-Lee Lin

(Executive Vice President, Research and Development, and Chief Scientific Officer), Jeff Kent

(Executive Vice President, Medical Affairs, and Outcomes Research), Paul Peloso (Vice

President of Clinical Development), and even the CEO Tim Walbert, as Dr. Botson had been

invited to attend a face-to-face meeting with FDA.

       173.    Relator knew of the study and knew email exchanges and phone calls with Dr.

Botson and Peterson to address their comments on the study plan.

       174.    They were both quite opinionated and at times inflammatory during

correspondence and conversations with them, arguing that Horizon should not need a

randomized, controlled study because the FDA should “just believe us” that we could improve




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response rates to Krystexxa with the addition of an immunomodulator (methotrexate) to the

treatment regimen; they also argued that physicians could start using methotrexate along with

Krystexxa without a label change, and that the “word would get out” that response rates were

better when methotrexate was added.

       175.      The need to confirm the safety and efficacy of this approach, and the FDA

requirement for rigorous data for a label update, were lost on them.

       176.      But because Horizon had to “keep them happy,” Relator knew of the lengthy and

repetitive correspondence and meetings with them to convince them that a robust study was

required to enable an update to the label, and to confirm their anecdotal observations from their

own practices.

       177.      Shortly before the FDA meeting, Relator was told that Dr. Botson had been

inflammatory in a meeting with Shao-Lee Lin, Jeff Kent, and Tim Walbert and that Mr. Walbert

told Mr. Peloso to “get Botson in line.” Based on that same meeting, Shao-Lee Lin told Paul

Peloso that it would be best if Dr. Botson did not speak at the FDA meeting. Dr. Botson still was

paid for and made the trip to Washington for the FDA face-to-face meeting, where ultimately he

did not speak. Horizon clearly knew Drs. Botson and Dr. Peterson did not justify the lucrative

payments they were receiving.

       178.      Drs. Botson and Peterson were given lucrative compensation as promotional

speakers and consultants; they were allowed to give input on clinical study design despite

lacking the required experience and expertise; they were tasked to assist with preparing briefing

documents and even a slide deck to present to the FDA on a MIRROR Randomized-Controlled

Trial for Krystexxa and even attend an FDA meeting (even though they lacked knowledge and

experience dealing with FDA); they were enlisted to participate in preparing promotional




                                                62
materials; and they received the highest rate for consulting ($500/hour) even though they lacked

any prior consulting expertise.

          179.   Horizon’s Paul Peloso, Vice President of Clinical Development, in the

Therapeutic Area and Head for Rheumatology, even approved funding for a research coordinator

for Dr. Botson so he could participate in the MIRROR study, above and beyond the routine

payment for study activities (study visits, completion of study assessments, etc.) that were

normally reimbursed as part of study conduct.

          180.   According to data generated by the requirements of the Federal Physician

Sunshine Act, 42 U.S.C. § 1320a-7h, Drs. Botson and Peterson have been paid over $171,000

and $145,000, respectively, by Horizon, for consulting fees, honoraria and travel and lodging,

since 2016; these amounts are exclusive of “research payments” which are not available on-

line.28

          181.   Horizon payments to Drs. Botson and Peterson have increased steadily throughout

their association. Prior to Horizon acquiring the rights to Krystexxa, Horizon did not pay Drs.

Botson or Peterson any fees whatsoever. In 2016, the first year that Horizon owned the rights to

Krystexxa, Horizon paid Drs. Botson and Peterson $23,860 and $20,515, respectively.

          182.   The next year, Horizon more than doubled these amounts: in 2017, Horizon paid

Drs. Botson and Peterson $51,197 and $50,292, respectively. The next year Horizon doubled its

payments to Dr. Botson and increased payments to Dr. Peterson by 50%: in 2018, Horizon paid

Drs. Botson and Peterson $96,294 and $74,383, respectively.

          183.   As of 2018, Horizon paid Drs. Botson and Peterson more than all other companies

making payments to them, combined. In 2018, out of the 15,507 doctors that Horizon makes
28
  See https://openpaymentsdata.cms.gov/physician/84880/general-payments; and
https://openpaymentsdata.cms.gov/physician/338227/summary




                                                     63
payments to, Drs. Botson and Peterson rank as the 12th and 16th highest paid by Horizon. Again,

these amounts are for general payments only; they do not include amounts paid to Drs. Botson

and Peterson for research or associated research funding, amounts which are not publicly

available on the CMS website. No general payment data is available for 2019 and 2020 yet, but

upon information and belief, Relator believes that these payments from Horizon to Drs. Botson

and Peterson have increased steadily since 2018. Moreover, according to CMS’s Open

Payments Data, all of these payments are made by Horizon Therapeutics PLC (formerly known

as Horizon Pharma PLC).

       184.    Such remunerations are kickbacks when paid to induce or reward physicians for

writing prescriptions. Kickbacks increase Government-funded health benefit program expenses

by inducing medically unnecessary overutilization of prescription drugs and excessive

reimbursements. Kickbacks also reduce a patient’s healthcare choices, as physicians may

prescribe drug products based on the physician’s own financial interests rather than according to

the patient’s medical needs.

       185.    Payments to Drs. Botson and Peterson were made to influence their prescriptions

of Krystexxa – either to maintain or increase their use of the drug and influence others to do so.

Horizon achieved millions in Krystexxa sales as a result of payments and remuneration paid to

Drs. Botson and Peterson in connection with their consulting arrangements. Thus, every single

claim submitted by Drs. Botson and Peterson during the Covered Period was rendered false. As

a result of these kickbacks, Drs. Botson and Peterson filed increasing numbers of false claims for

Krystexxa when they otherwise would not. But for these kickbacks, Drs. Botson and Peterson

would not have prescribed Krystexxa at the unusually high rates they did.




                                                64
        186.    To further entangle Drs. Botson and Peterson, Horizon even used their practice

offices as clinical study recruiting sites and gave them high levels of support for the study despite

a lack of infrastructure or expertise in such studies. This was intended to reward them for the

roles as prescribers and speakers on behalf of Horizon, and to bolster their research credentials to

make them more credible as speakers. Even though their offices were located in Alaska and

Eastern Washington state, Horizon used them as sites to recruit subjects for a MIRROR Open-

label study and a MIRROR Randomized-Controlled Trial despite the logistical difficulties of

using patients from such remote distances. These studies involved more than 100 patients.

        187.    Horizon established plans to pay for subjects in Alaska to be flown to Dr.

Botson's site in order to allow his office’s participation as a study site. Paul Peloso also

approved a request for Horizon to pay for a study coordinator to support Dr. Botson’s office as a

study site, an unusual arrangement as this was support beyond the routine payments for research

participation that sites would receive. Horizon was prepared to incur exorbitant costs for

transportation, food and overnight lodging – expenses usually avoided in clinical trials. Also,

because the use of Krystexxa involved blood draws the day prior to dosing and in between

dosing for efficacy assessments at some study time points, patients would need frequent flights

to the study site including overnight stays to accommodate the required study visits. Horizon

agreed to pay, and paid, for all of this.

        188.    Drs. Botson and Peterson were even given controlling roles in a three person

“scientific advisory group” along with Horizon’s Vice President, Dr. Peloso, for purposes of

consulting on one of the Krystexxa clinical studies (the MIRROR Open-Label Study;

NCT03635957). Mid-way through the study, these doctors ordered a change in protocol when

the desired results were not being achieved, and recommended that Horizon triple the steroid




                                                 65
dose used with the drug to reduce the risk of infusion reactions and attempt to increase the

response rate with Krystexxa. The high doses of steroids they recommended can put patients at

risk when used over an extended period, such as over the one-year duration of study that was

planned.

        189.    In addition, a change of protocol in the middle of a study can invalidate the

results, thus undermining the study as a whole. Evidently, these doctors were so economically

invested in the success of these clinical trials that they were willing to risk the safety of the

participants in order to achieve the desired results.

        190.    Relator further observed that Drs. Botson’s and Dr. Peterson’s judgment was

being influenced by the kickbacks they received from Horizon. For example, in the first, small

open-label MIRROR study, there was a participant who had a loss of efficacy (sUA elevated x2)

and thus needed to stop receiving the drug per the study protocol. However, Dr. Peterson wanted

to continue to treat the patient with commercial product, despite sUA elevation. He had the

patient return and receive an infusion, resulting in a severe infusion reaction (diffuse hives,

nausea, etc.). He declined to describe the reaction as anaphylaxis, although the criteria seemed

to have been met.

        191.    This did not get reported as a adverse event in the study, but Relator asked the

study team to report this through the post-marketing safety reporting mechanism in place at

Horizon, which they did. The matter was documented as part of the bi-weekly meetings Horizon

held with Drs. Botson and Peterson to discuss the ongoing clinical trials but the experience

reveals how much Drs. Botson and Peterson were influenced by the kickbacks and achieving

favorable results at the risk of patient safety.




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           192.    Ultimately, Dr. Botson’s institutional review board concluded that he was too

“conflicted” to participate in any review of raw data for these clinical trials due to his significant

level of compensation from Horizon and ordered he be removed from data review. Horizon

anticipated that Dr. Peterson would be assessed as having a similar level of conflict of interest.

           193.    Relator was terminated when this issue came to light, following repeated

warnings and concerns about such conflicts.

           194.    If Drs. Botson and Peterson are presumed to be responsible for approximately

20% of Krystexxa sales nationwide, then their prescriptions alone accounted for $50-62.5 million

of Horizon’s revenue in 2018 (via 200 to 250 patients). Since these doctors were paid hundreds

of thousands of dollars in kickbacks, all of the claims submitted by them and their practices for

Krystexxa are tainted and subject to forfeiture pursuant to the federal healthcare Anti-Kickback

Statute (“AKS”), 42 U.S.C. § 1320a-7b(b). Knowingly paying kickbacks to physicians to induce

them to prescribe a prescription drug on-label or off-label (or to influence physician

prescriptions) for individuals who seek reimbursement for the drug from a government

healthcare program or causing others to do so, while certifying compliance with the federal

healthcare AKS (or while causing another to so certify), or billing the Government as if in

compliance with these laws, violates the FCA and similar state False Claims Acts.

           195.    Horizon is intimately aware of the prohibition on “the payment or receipt of

kickbacks, bribes, or other remuneration to induce the purchase or recommendation of healthcare

products or services or reward past purchases or recommendations.”29 Not surprisingly, Horizon




29
     See 2018 Horizon Form 10-K at 27.




                                                   67
has warned its shareholders that some of “its business activities may be subject to challenge

under one or more laws.”30

                           vi.      Compensation for Off-Label Marketing

         196.     Horizon rewards its sales representatives in the form of bonuses based on the

volume of sales they attain, regardless of whether the sales were ill-gotten with off-label or

misleading communications. Because off-label or misleading communications have the potential

to increase the size of the target patient base and thus sales volume, Horizon is knowingly

incentivizing off-label marketing.


         VII.     ACTIONABLE CONDUCT BY HORIZON UNDER THE FALSE CLAIMS
                  ACT

                  A.       Applicable Law

                           i.       The False Claims Act

         197.     This is an action to recover damages and civil penalties on behalf of the United

States and Relator arising from the false or fraudulent statements, claims and acts by Horizon

made in violation of the False Claims Act, 31 U.S.C. §§ 3729-3732.

         198.     The FCA provides that any person who:

                   a. knowingly presents, or causes to be presented a false or fraudulent claim for
                      payment or approval;

                   b. knowingly makes, uses, or causes to be made or used, a false record or
                      statement material to a false or fraudulent claim;

                   c. conspires to defraud the Government by committing a violation of the FCA;



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   See 2018 Horizon Form 10-K at 30 (“Because of the breadth of these laws and the narrowness of available
statutory and regulatory exemptions, it is possible that some of our business activities in the United States could be
subject to challenge under one or more of such laws.”). “In November 2015, [Horizon] received a subpoena from
the U.S. Attorney’s Office for the Southern District of New York requesting documents and information related to
[its] patient access programs and other aspects of [its] marketing and commercialization activities.” Id. at 39.




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                d. knowingly makes, uses, or causes to be made or used, a false record or
                   statement to conceal material to an obligation to pay or transmit money or
                   property to the Government

is liable to the Government for a civil penalty of not less than $11,181 and up to $22,363 for each

such claim, plus three times the amount of damages sustained by the Government because of the

false or fraudulent claim.

       199.    The FCA allows any persons having knowledge of a false or fraudulent claim

against the Government to bring an action in federal district court for themselves and for the

United States Government and to share in any recovery as authorized by 31 U.S.C. §3730.

       200.    Based on these provisions, Relator, on behalf of the United States Government

and the States of California, Colorado, Connecticut, Delaware, District of Columbia, Florida,

Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, the Commonwealth of

Massachusetts, Michigan, Minnesota, Montana, Nevada, New Hampshire, New Jersey, New

Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Vermont, the

Commonwealth of Virginia, Washington and the Commonwealth of Puerto Rico (collectively the

“States”) seeks through this action to recover damages and civil penalties arising from Horizon's

causation of the submission of false claims to the federal and state governments. In this case,

such claims were submitted to the federal and state governments for payment for Horizon’s drug,

Krystexxa. Relator alleges that the United States and the states have suffered significant

damages as a result of false claims for payment for Krystexxa.

       201.    There are no bars to recovery under 31 U.S.C. §3730(e), and, or in the alternative,

Relator is an original source as defined therein. Relator has direct and independent knowledge of

the information on which the allegations are based. As required pursuant to 31 U.S.C. §3730(b)

and (e), Relator has voluntarily provided information, oral and/or written, and has sent disclosure

statement(s) of all material evidence, information and documents related to this Complaint, both


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before and contemporaneously with filing, to the Attorney General of the United States, the

United States Attorney for the Southern District of New York, and the Attorneys General of the

various states, commonwealths, and the District of Columbia.

               B.      Defendants’ Violations of the FCA

                       i.      Horizon’s Off-Label Marketing Schemes Violated the FCA

       202.    Because of the illegal acts described above, Horizon has caused and will cause

millions of false claims to be filed for Krystexxa to Medicaid, Medicare,

CHAMPUS/TRICARE, CHAMPVA, FEHBP, and other federal healthcare program patients.

Moreover, Horizon violated the FDCA by distributing Krystexxa as a misbranded drug. Horizon

illegally misbranded Krystexxa because the drug labeling and promotional material were false or

misleading, its labeling did not bear adequate directions for use, and/or its labeling did not bear

adequate warnings against unsafe dosage or methods of administration or application in

accordance with the FDA approved US PI. Horizon’s conduct also violated federal laws

prohibiting a manufacturer from promoting its drugs with misleading off-label false statements.

These claims were not eligible for payment by Medicaid, Medicare Part B, or Medicare Part D,

CHAMPUS/TRICARE, CHAMPVA, FEHBP, or other federal healthcare programs because

these off-label promotions resulted in prescriptions that were neither “reasonable and necessary,”

nor “medically accepted.”

       203.    Horizon violated the Anti-Kickback Statute by providing the kickbacks to doctors

in the form of consulting fees at amounts that were greater than fair market value, in addition to

paid commercial speaker fees and payment for participation in clinical trial research. The sheer

amount paid to the highest prescribers of Krystexxa and the admission of Horizon’s officers to

keep such prescribers “happy,” point to the conclusion that these payments were mere incentives

or rewards for prescribing Krystexxa. Drs. Botson and Peterson wrote millions of dollars of


                                                 70
Krystexxa prescriptions as a result of the kickbacks they received and funneled payment through

their practices at OPA and WWM.

       204.    Horizon knew that its false marketing materials, false and misleading off-label

representations and kickbacks would induce doctors, especially Drs. Botson and Peterson, to

write prescriptions that were not “reasonable and necessary,” or “medically accepted,” or

prescriptions tainted by kickbacks. Horizon also knew that its false marketing, fraudulent

misrepresentations and kickbacks would cause physicians to submit claims for fraudulent

reimbursement by federal and state healthcare programs under these circumstances. Drs. Botson

and Peterson submitted such claims and continue to do so.

       205.    Horizon's fraudulent scheme to aggressively and illegally market its drugs and

misbrand Krystexxa and to integrate various forms of illegal kickbacks into its off-label sales

campaigns led to increased prescriptions for its drugs and false claims to be filed. Prescriptions

for Krystexxa for which Medicaid, Medicare Part B, Medicare Part D, CHAMPUS/TRICARE,

CHAMPVA, FEHBP, and other federal healthcare programs paid were a direct result of these

illegal sales campaigns. Thus, these Medicaid, Medicare Part B, Medicare Part D,

CHAMPUS/TRICARE, CHAMPVA, FEHBP, and other federal healthcare program claims for

off-label prescriptions are tainted by the associated illegal kickbacks, as well as by Horizon's off-

label marketing statements for Krystexxa. Horizon's scheme violated the Anti-Kickback Statute

and the FDA's prohibitions on off-label promotion, and therefore caused false claims to be

submitted by physicians in violation of the FCA. By orchestrating and taking part in this

fraudulent scheme, Horizon, Drs. Botson and Peterson, and their practices, OP and WWM,

repeatedly and with continued knowledge violated the False Claims Act, 31 U.S.C. § 3729(a).




                                                 71
       206.    The ultimate submission by doctors of false pharmaceutical claims to Medicare,

the state Medicaid programs, CHAMPUS/TRICARE, CHAMPVA, and FEHBP was a

foreseeable factor in the Government's loss, and a consequence of the scheme. Given the

structure of the health care systems, Horizon's false statements, representations, and records

made, used, or caused to be made or used had the potential to influence the Government's

payment decision. Consequently, the States and the United States Government have suffered

substantial damages.

       207.    Because of the illegal acts described above, Horizon has made or will make

millions of dollars in sales of Krystexxa to patients it would not otherwise achieve; and Drs.

Botson and Peterson, and OPA and WWM will earn hundreds of thousands of dollars in rewards

for writing prescriptions that were neither “reasonable and necessary,” nor “medically accepted.”

The ultimate submission by physicians and pharmacists of false claims to the state Medicaid

programs, Medicare, CHAMPUS/TRICARE, CHAMPVA, FEHBP, and other federal healthcare

programs was a foreseeable factor in the government's loss, and a consequence of the scheme.

Consequently, the States and the United States Government have suffered substantial damages.

                       ii.    Horizon Conspired with Physicians to Defraud the
                              Government in Violation of the FCA

       208.    Horizon conspired with physicians such as Drs. Botson and Peterson to promote

Krystexxa with misleading off-label statements in violation of the FCA and to pay kickbacks to

physicians in violation of the Anti-Kickback Statute in order to induce physicians to prescribe

high volumes of Krystexxa. As Horizon knew would be the case, Horizon's actions resulted in

the submission to state Medicaid programs, Medicare, CHAMPUS/TRICARE, CHAMPVA,

FEHBP, and other federal healthcare programs of false and/or fraudulent claims for

reimbursement for Krystexxa, violating the FCA, 31 U.S.C. § 3729(a).



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       209.    Given the structure of the health care systems, false statements, representations,

and records made, used, or caused to made or used, by Horizon had the potential to influence the

government's payment decision.

       210.    Because of the illegal acts described above, Horizon has made or will make

millions of dollars in sales of Krystexxa to patients it would not otherwise achieve. The ultimate

submission by physicians and pharmacists of false claims to the state Medicaid programs,

Medicare, CHAMPUS/TRICARE, CHAMPVA, FEHBP, and other federal healthcare programs

was a foreseeable factor in the government's loss, and a consequence of the scheme.

Consequently, the States and the United States Government have suffered substantial damages.



                      iii.    Damages

       211.    Krystexxa prescriptions that resulted from false certification would not have been

reimbursed by Medicare Part B, Medicare Part D, the state Medicaid programs,

CHAMPUS/TRICARE, CHAMPVA, FEHBP, ADIS Drug Assistance Programs ("ADAPs"),

and other federal healthcare programs, had the U.S. Government or the States known the

circumstances under which the requests for reimbursement were submitted and the laws violated

by Horizon in order to increase sales and claim reimbursements. Consequently, the States and

the United States Government have suffered substantial damages.

       212.    Generally, customers are willing to pay higher prices for high-quality drugs

versus lower-quality drugs. Because Horizon touted Krystexxa as a drug with fewer health risks,

representations which were off-label, the price of Krystexxa was inflated. By making the drug

seem less dangerous and more efficacious, more physicians would move to use it sooner, rather

than waiting longer for oral drugs to work. Had Horizon marketed Krystexxa only according to




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the label approved by the FDA, Krystexxa would have fetched a lower price on the market and

achieved lower annual sales.

       VIII. CAUSES OF ACTION

                                            Count 1
                                         False Claims
                                   (31 U.S.C. § 3729(a)(1)(A)

       213.    Relator realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       214.    By virtue of the acts alleged herein, Defendants have knowingly presented or

caused to be presented false or fraudulent claims for payment or approval in violation of 31

U.S.C. § 3729(a)(1)(A).

       215.    As a result of Horizon’s off-label marketing scheme and kickbacks to physicians

to induce them to prescribe Krystexxa, all of the claims that Horizon caused physicians and

third-party payers to submit to the state Medicaid programs, Medicare, CHAMPUS/TRICARE,

CHAMPVA, FEHBP and other federal healthcare programs are false or fraudulent. Horizon

knowingly caused such false or fraudulent claims to be presented for payment or approval, in

violation of 31 U.S.C. § 3729(a)(l).

       216.    The United States Government paid the false and/or fraudulent claims.

       217.    By virtue of the false or fraudulent claims that Horizon knowingly caused to be

presented, the United States Government has suffered substantial monetary damages.

       218.    As a result of Defendants’ acts, the United States has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the United States

is entitled to penalties of at least $11,181 and up to $22,363 for each and every violation of 31

U.S.C. § 3729(a) arising from Defendants’ unlawful conduct as described herein.




                                                74
                                             Count 2
                                   False Records or Statements
                                    (31 U.S.C. § 3729(a)(1)(B))

       219.    Relator realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       220.    By virtue of the acts alleged herein, Defendants knowingly made, used, or caused

to be made or used, false records or statements – i.e., the false certifications and representations

made or caused to be made by Defendants – material to false or fraudulent claims in violation of

31 U.S.C. § 3729(a)(1)(B).

       221.    By submitting claims for payment and retaining improperly obtained payments,

Defendants expressly and impliedly, if falsely, certified to their compliance with the relevant

Government and CMS regulations authorizing such payments.

       222.    Horizon knowingly made or used, or caused to be made or used, false records or

statements, and omitted material facts (a) to get false or fraudulent claims paid or approved by

the Government, or (b) that were material to false or fraudulent claims, in violation of 31 U.S.C.

§ 3729(a). The false records or statements included, but were not limited to, the false or

misleading materials and other statements provided to physicians, and the federal and state

governments to induce physicians to prescribe high volumes of Krystexxa, and the physicians’

and third-party payers’ false certifications and representation of full compliance with all federal

and state laws and regulations prohibiting fraudulent acts and false reporting, including but not

limited to the Anti-Kickback Statute. By submitting claims for payment and retaining

improperly obtained payments, Defendants expressly and impliedly, if falsely, certified their

compliance with the relevant Government and CMS regulations authorizing such payments.

Each prescription that was written as a result of the Defendants’ illegal marketing practices




                                                 75
and/or illegal inducements represents a false or fraudulent record or statement. And each claim

for reimbursement for such prescriptions submitted to a federal health insurance program

represents a false and/or fraudulent claim for payment.

       223.    By virtue of the false records or statements that Horizon made or used, the United

States Government has suffered substantial monetary damages.

       224.    As a result of Defendants’ acts, the United States has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the United States

is entitled to at least $11,181 and up to $22,363 for each and every violation of 31 U.S.C. § 3729

arising from Defendants’ unlawful conduct as described herein.

                                           Count 3
                                   False Claims Conspiracy
                                  (31 U.S.C. § 3729(a)(1)(C))

       225.    Relator realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       226.    Defendants conspired to promote Krystexxa with misleading off-label statements

in violation of the FCA and to pay kickbacks to physicians in violation of the Anti-Kickback

Statute to induce physicians to prescribe high volumes of Krystexxa, thereby causing all of the

physicians’ and third-party payers’ claims to the state Medicaid programs, Medicare,

CHAMPUS/TRICARE, CHAMPVA, FEHBP, and other federal healthcare programs to be false

or fraudulent. Accordingly, Horizon conspired to defraud the Government by (a) getting false or

fraudulent claims allowed or paid, or (b) committing a violation of the FCA, in violation of 31

U.S.C. § 3729(a). By virtue of the false or fraudulent claims submitted, paid, or approved as a

result of Defendant's conspiracy to defraud the Government, the United States has suffered

substantial monetary damages.




                                                76
                                            Count 4
                                      Reverse False Claims
                                   (31 U.S.C. § 3729(a)(1)(G))

       227.    Relator realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       228.    By virtue of the acts alleged herein, Defendants knowingly made, used, or caused

to be made or used, false records or false statements that are material to an obligation to pay,

transmit, or return money to the Government.

       229.    As a result of Defendants’ acts, the United States has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the United States

is entitled to at least $11,181 and up to $22,363 for each and every violation of 31 U.S.C.

§3729(a) arising from Defendants’ unlawful conduct as described herein.

                                            Count 5
                            Violations of the Anti-Kickback Statute
                                 (42 U.S.C. § 1320a-7b, et seq.)

       230.    Relator realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       231.    As more particularly set forth in the foregoing paragraphs, Defendant Drs.

Botson, Peterson, OPA and WWM, and their professional employees solicited and accepted

kickbacks from Horizon. These kickbacks took the form of lavish consulting fees, advisory

board meals, research payments, travel expenses, and events offered to and accepted by

Defendants. For example, Horizon paid for Drs. Botson and/or Peterson to fly to Madrid, Spain

to present Krystexxa data at the Annual European Conference of Rheumatology (EULAR) and

paid for fancy dinners at that conference.




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       232.      As a result of these unlawful kickbacks, Relator directly observed Defendants

elect to use Krystexxa, despite the existence of other, less expensive, viable alternatives. Relator

also observed these kickbacks result in conflicts of interest concerning ongoing clinical studies

that placed the health and safety of the participants at risk.

       233.      This behavior caused the Government to pay more for services rendered than was

medically necessary, in violation of the Anti-Kickback Statute.

       234.      The Anti-Kickback Statute contains statutory exceptions and regulatory “safe

harbors” excluding certain types of conduct from liability. See 42 U.S.C. § 1320a-7(b)(3) and

42 C.F.R. § 1001.952. None of these statutory exceptions or regulatory safe harbors apply to in

this matter.

                                              Count 6
                                    California False Claims Act
                                  (Cal. Gov’t Code § 12650, et seq.)

       235.      Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       236.      This is a qui tam action brought by Relator and the State of California to recover

treble damages and civil penalties under the California False Claims Act, Cal. Gov't. Code §

l2650, et seq.

       237.      Cal. Gov't Code§ 12651(a) provides liability for any person who-

                 (a)    knowingly presents, or causes to be presented, to an officer or
                        employee of the state or of any political division thereof, a
                        false claim for payment or approval;

                 (b)    knowingly makes, uses, or causes to be made or used a false
                        record or statement to get a false claim paid or approved by
                        the state or by any political subdivision;

                 (c)    conspires to defraud the state or any political subdivision by
                        getting a false claim allowed or paid by the state or by any
                        political subdivision;


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                 (d)    knowingly makes, uses, or causes to made or used a false
                        record or statement to conceal, avoid, or decrease an
                        obligation to pay or transmit money or property to the state or
                        to any political subdivision;

                 (e)    is a beneficiary of an inadvertent submission of a false claim
                        to the state or a political subdivision, subsequently discovers
                        the falsity of the claim, and fails to disclose the false claim to
                        the state or the political subdivision within a reasonable time
                        after discovery of the false claim.

          238.   In addition, the payment or receipt of bribes or kickbacks is prohibited under Cal.

Bus. & Prof. Code §§ 650 and 650.1, and is also specifically prohibited in treatment of Medi-Cal

patients pursuant to Cal. Welf. & Inst. Code §14107.2.

          239.   Defendants knowingly violated Cal. Gov't Code § 12651(a) and knowingly

caused hundreds of thousands of false claims to be made, used and presented to the State of

California from at least January 2010 to the present by violating Cal. Bus. & Prof. Code§§ 650-

650.1 and Cal. Welf, & Inst. Code §14107.2 and the Federal Anti-Kickback Act, as described

herein.

          240.   As a result of Horizon’s off-label marketing and kickback schemes, all of the

claims that Horizon knowingly caused physicians and pharmacists to knowingly submit to the

California Medicaid program are false or fraudulent. Further, Horizon knowingly caused

physicians and pharmacists to falsely certify, expressly and/or impliedly, and represent full

compliance with all federal and state laws and regulations prohibiting fraudulent acts and false

reporting, including but not limited to the Anti-Kickback Statute and the California Anti-

Kickback Statutes (Cal. Bus. & Prof. Code§§ 650-650.1 and Cal. Welf. & Inst. Code §14107.2).

Compliance with federal and state laws and regulations was a condition of payment.

          241.   The State of California, by and through the California Medicaid program and

other state health care programs, paid the false and/or fraudulent claims.



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       242.    Given the structure of the health care systems, the false statements,

representations, and records made by Horizon had the potential to influence the State of

California's payment decision.

       243.    The ultimate submission by physicians, pharmacists, and third-party payers of

false and/or fraudulent claims to the state Medicaid program was a foreseeable factor in the State

of California's loss, and a consequence of the scheme.

       244.    As a result of Defendants’ violations of Cal. Gov't Code §12651(a), the State of

California has been damaged.

       245.    There are no bars to recovery under Cal. Gov't Code § 12652(d)(3), and, or in the

alternative, Relator is an original source as defined therein. Relator is a private person with

direct and independent knowledge of the allegations of this Complaint, who has brought this

action pursuant to Cal. Gov't Code § 12652(c) on behalf of herself and the State of California.

       246.    This Court is requested to accept pendent jurisdiction over this related state claim

as it is predicated upon the same exact facts as the federal claim, and merely asserts separate

damages to the State of California in the operation of its Medicaid program.

       247.    WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

               To the STATE OF CALIFORNIA:

                   (1) Three times the amount of actual damages that the State of California has
                       sustained as a result of Defendants’ fraudulent and illegal practices;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim that Defendants presented or caused to be presented to
                       the State of California;

                   (3) Prejudgment interest; and

                   (4) All costs incurred in bringing this action.



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                To RELATOR:

                    (1) The maximum amount allowed pursuant to Cal. Gov't Code § 12652
                        and/or any other applicable provision of law;

                    (2) Reimbursement for reasonable expenses that Relator incurred in
                        connection with this action;

                    (3) An award of reasonable attorneys’ fees and costs; and

                    (4) Such further relief as this Court deems equitable and just.

                                             Count 7
                            California Insurance Fraud Prevention Act
                                 (Cal Ins. Code §§ 1871.1, et seq.)

       248.     Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       249.     This is a claim for treble damages and penalties under the CIFPA.

       250.     Pursuant to Cal. Ins. Code § 1871.4(a), it is unlawful to:

              (1) Make or cause to be made a knowingly false or fraudulent material statement or
              material representation for the purpose of obtaining or denying any compensation, as
              defined in Section 3207 of the Labor Code.

              (2) Present or cause to be presented a knowingly false or fraudulent written or oral
              material statement in support of, or in opposition to, a claim for compensation for the
              purpose of obtaining or denying any compensation, as defined in Section 3207 of the
              Labor Code.

              (3) Knowingly assist, abet, conspire with, or solicit a person in an unlawful act under
              this section.

              (4) Make or cause to be made a knowingly false or fraudulent statement with regard
              to entitlement to benefits with the intent to discourage an injured worker from
              claiming benefits or pursuing a claim. For the purposes of this subdivision,
              “statement” includes, but is not limited to, a notice, proof of injury, bill for services,
              payment for services, hospital or doctor records, X–ray, test results, medical–legal
              expense as defined in Section 4620 of the Labor Code, other evidence of loss, injury,
              or expense, or payment.

              (5) Make or cause to be made a knowingly false or fraudulent material statement or
              material representation for the purpose of obtaining or denying any of the benefits or
              reimbursement provided in the Return–to–Work Program established under Section
              139.48 of the Labor Code.


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              (6) Make or cause to be made a knowingly false or fraudulent material statement or
              material representation for the purpose of discouraging an employer from claiming
              any of the benefits or reimbursement provided in the Return–to–Work Program
              established under Section 139.48 of the Labor Code.

       251.     By virtue of the acts described above, Defendants knowingly utilized a scheme by

which it presented, or caused to be presented, false or fraudulent claims to private insurers in

California, or for patients in California that those insurers covered (i.e., patients who hold private

insurance contracts and against whom Horizon could file claims for payment or approval) in

violation of each patient’s private health insurance contract.

       252.     By virtue of the acts described above, Defendants knowingly made, used or

caused to be made or used false records and statements and omitted material facts to induce the

private insurers in California, or for patients in California covered by those insurers, to approve

or pay such false and fraudulent claims.

       253.     By virtue of the acts described above, Defendants conspired to violate the CIFPA

and each patient’s private health insurance contract.

       254.     The private insurers in California, or those insurers that covered patients in

California, unaware of the falsity of the records, statements and claims made, used, presented or

caused to be presented by Horizon, paid and continue to pay the claims that are non-payable as a

result of Horizon’s illegal conduct.

       255.     Defendant knowingly submitted and/or caused to be made or used false records or

false statements in order to avoid or decrease its obligation to return overpayments to these

private insurance companies.

       256.     By reason of Defendants’ acts, these private insurance companies have been

damaged, and continue to be damaged, in a substantial amount to be determined at trial.




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       257.    Each claim for reimbursement that was a result of Horizon’s scheme represents a

false or fraudulent record or statement and a false or fraudulent claim for payment.

       258.    The State of California is entitled to the maximum penalty of $150,000 per

violation, plus an assessment of three times the amount of each false or fraudulent claim for

compensation made, used, presented or caused to be made, used, or presented by Defendants.

                                              Count 8
                                Colorado Medicaid False Claims Act
                                   (C.R.S.A. § 25.5-4-304, et seq.)

       259.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       260.    This is a qui tam action brought by Relator on behalf of the State of Colorado to

recover treble damages and civil penalties under the Colorado Medicaid False Claims Act,

C.R.S.A. § 25.5-4-304, et seq.

       261.    Colorado’s Medicaid False Claims Act, C.R.S.A. § 25.5-4-305, provides for

liability for any person who:

               (a) Knowingly presents, or causes to be presented, a false or fraudulent claim for
               payment or approval;

               (b) Knowingly makes, uses, or causes to be made or used a false record or
               statement material to a false or fraudulent claim;

               (c) Has possession, custody, or control of property or money used, or to be used,
               by the state in connection with the “Colorado Medical Assistance Act” and
               knowingly delivers, or causes to be delivered, less than all of the money or
               property;

               (d) Authorizes the making or delivery of a document certifying receipt of property
               used, or to be used, by the state in connection with the "Colorado Medical
               Assistance Act" and, intending to defraud the state, makes or delivers the receipt
               without completely knowing that the information on the receipt is true;

               (e) Knowingly buys, or receives as a pledge of an obligation or debt, public
               property from an officer or employee of the state in connection with the



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               “Colorado Medical Assistance Act” who lawfully may not sell or pledge the
               property;

               (f) Knowingly makes, uses, or causes to be made or used, a false record or
               statement material to an obligation to pay or transmit money or property to the
               state in connection with the “Colorado Medical Assistance Act”, or knowingly
               conceals or knowingly and improperly avoids or decreases an obligation to pay or
               transmit money or property to the state in connection with the “Colorado Medical
               Assistance Act”;

               (g) Conspires to commit a violation of paragraphs (a) to (f) of this subsection (1).

       262.    Defendants violated the Colorado Medicaid False Claims Act and knowingly

caused false claims to be made, used and presented to the State of Colorado by its deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       263.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Colorado

in connection with Defendants’ conduct. Compliance with applicable Colorado statutes was also

a condition of payment of claims submitted to the State of Colorado.

       264.    Had the State of Colorado known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       265.     As a result of Defendants’ violations of the Colorado Medicaid False Claims Act,

the State of Colorado has been damaged in an amount far in excess of millions of dollars

exclusive of interest.




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       266.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Colorado Medicaid

False Claims Act on behalf of himself and the State of Colorado.

       267.     This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Colorado in the operation of its Medicaid program.

       268.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendant:

               To the STATE OF COLORADO:

                   (1) Three times the amount of actual damages which the State of Colorado has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Colorado, except that this upper limit on liability is subject to an automatic
                       adjustment in accordance with the federal Civil Penalties Inflation
                       Adjustment Act of 1990 (“CPIAA”);

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Colorado Medicaid False
                       Claims Act and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                          Count 9
                               Connecticut False Claims Act
                           (Conn. Gen. Stat. § 4-274, et seq. (2014))

       269.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       270.    This is a qui tam action brought by Relator on behalf of the State of Connecticut

to recover treble damages and civil penalties under the Connecticut False Claims Act, Conn.

Gen. Stat. § 17b-301a, et seq.

       271.    Conn. Gen. Stat. § 4-275 imposes liability as follows:

               (a) No person shall:

                      (1) Knowingly present, or cause to be presented, a false or
                          fraudulent claim for payment or approval under a state-
                          administered health or human services program;

                      (2) Knowingly make, use or cause to be made or used, a false
                          record or statement material to a false or fraudulent claim
                          under a state-administered health or human services program;

                      (3) Conspire to commit a violation of this section;

                      (4) Having possession, custody or control of property or money
                          used, or to be used, by the state relative to a state-administered
                          health or human services program, knowingly deliver, or
                          cause to be delivered, less property than the amount for which
                          the person receives a certificate or receipt;

                      (5) Being authorized to make or deliver a document certifying
                          receipt of property used, or to be used, by the state relative to
                          a state-administered health or human services program and
                          intending to defraud the state, make or deliver such document
                          without completely knowing that the information on the
                          document is true;

                      (6) Knowingly buy, or receive as a pledge of an obligation or
                          debt, public property from an officer or employee of the state
                          relative to a state-administered health or human services
                          program, who lawfully may not sell or pledge the property;

                      (7) Knowingly make, use or cause to be made or used, a false


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                            record or statement material to an obligation to pay or transmit
                            money or property to the state under a state-administered
                            health or human services program; or

                       (8) Knowingly conceal or knowingly and improperly avoid or
                           decrease an obligation to pay or transmit money or property to
                           the state under a state-administered health or human services
                           program.

       272.    Defendants violated the Connecticut False Claims Act and knowingly caused

false claims to be made, used and presented to the State of Connecticut by its deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       273.    The State of Connecticut, by and through the Connecticut Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third-party payers in connection therewith.

       274.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of

Connecticut in connection with Defendants’ conduct. Compliance with applicable Connecticut

statutes was also a condition of payment of claims submitted to the State of Connecticut.

       275.    Had the State of Connecticut known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendant’s

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.




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       276.    As a result of Defendants’ violations of the Connecticut False Claims Act, the

State of Connecticut has been damaged in an amount far in excess of millions of dollars

exclusive of interest.

       277.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Connecticut False

Claims Act on behalf of himself and the State of Connecticut.

       278.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Connecticut in the operation of its Medicaid program.

       279.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF CONNECTICUT:

                   (1) Three times the amount of actual damages which the State of Connecticut
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Connecticut, except that this upper limit on liability is subject to an
                       automatic adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Connecticut False Claims Act,
                       Conn. Gen. Stat. § 4-275 et seq. and/or any other applicable provision of
                       law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and



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                   (4) Such further relief as this Court deems equitable and just.

                                           Count 10
                           Delaware False Claims and Reporting Act
                                   (6 Del. C. §1201, et seq.)

       280.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       281.    This is a qui tam action brought by Relator on behalf of the State of Delaware to

recover treble damages and civil penalties under the Delaware False Claims and Reporting Act, 6

Del. C. Ann. tit. 6 § 1201, et seq.

       282.    6 Del. C. § 1201(a) in pertinent part provides for liability for any person who:

                       (1) Knowingly presents, or causes to be presented, a false or
                           fraudulent claim for payment or approval;

                       (2) Knowingly makes, uses, or causes to be made or used, a
                           false record or statement material to a false or fraudulent
                           claim;

                       (3) Conspires to commit a violation of paragraph (a)(1), (2), . .
                           . or (7) of this section; or

                                                     ***

                       (7) Knowingly makes, uses, or causes to be made or used a
                           false record or statement material to an obligation to pay or
                           transmit money or property to the Government, or
                           knowingly conceals or knowingly and improperly avoids or
                           decreases an obligation to pay or transmit money or
                           property to the Government.

       283.    Defendants violated the Delaware False Claims and Reporting Act, 6 Del. C. Ann.

tit. 6 § 1201 et seq., and knowingly caused false claims to be made, used and presented to the

State of Delaware by their deliberate and systematic violation of federal and state laws and by

virtue of the fact that none of the claims submitted in connection with its conduct were even

eligible for reimbursement by the government-funded healthcare programs.


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       284.    The State of Delaware, by and through the Delaware Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.

       285.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the State of Delaware in connection with Defendants’ conduct. Compliance with

applicable Delaware statutes and regulations was also an express condition of payment of claims

submitted to the State of Delaware.

       286.    Had the State of Delaware known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       287.    As a result of Defendants’ violations of the Delaware False Claims and Reporting

Act, 6 Del. C. Ann. tit. 6 § 1201, et seq., the State of Delaware has been damaged in an amount

far in excess of millions of dollars exclusive of interest.

       288.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Delaware False Claims

and Reporting Act, 6 Del. C. Ann. tit. 6 § 1201, et seq., on behalf of himself and the State of

Delaware.

       289.    This Court is requested to accept pendant jurisdiction of this related state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the State of Delaware in the operation of its Medicaid program.




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       290.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF DELAWARE:

                  (1) Three times the amount of actual damages which the State of Delaware
                      has sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $10,951 and not more than $21,916 for
                      each false claim which Defendants caused to be presented to the State of
                      Delaware;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

               To RELATOR:

                  (1) The maximum amount allowed pursuant to Delaware False Claims and
                      Reporting Act, 6 Del. C. Ann. tit. 6 § 1201, and/or any other applicable
                      provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                            Count 11
                            District of Columbia False Claims Law
                             (D.C. Code § 2-381.01, et seq. (2014)

       291.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       292.    By virtue of the acts described above, Defendants knowingly presented or caused

to be presented, false or fraudulent claims to the District of Columbia Government for payment

or approval.




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       293.    By virtue of the acts described above, Defendants knowingly made, used, or

caused to be made or used false records and statements, and omitted material facts, to induce the

District of Columbia Government to approve and pay such false and fraudulent claims.

       294.    By virtue of the acts described above, Defendants conspired to violate the District

of Columbia False Claims Act.

       295.    The District of Columbia Government, unaware of the falsity of the records,

statements and claims made, used, presented or caused to be made, used or presented by

Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or

conduct of Defendants as alleged herein.

       296.    Defendants knowingly submitted and/or caused to be made or used false records

or false statements in order to avoid or decrease their obligations to return overpayments of local

and federal funds to the District of Columbia.

       297.    By reason of the Defendants’ acts, the District of Columbia has been damaged,

and continues to be damaged, in substantial amount to be determined at trial.

       298.    Pursuant to D.C. Code Ann. § 2-308.02, the District of Columbia is entitled to

three times the amount of actual damages plus a penalty of not less than $11,463 and not more

than $23,331, as adjusted pursuant to D.C. Code Ann. § 2-308.10, for each and every false or

fraudulent claim, record or statement made, used, presented or caused to be made, used or

presented by Defendants.

                                            Count 12
                                    Florida False Claims Act
                        (Fla, Stat. Ann. §68.081 and §68.082(2)(a)-(b))

       299.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.




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       300.       This is a qui tam action brought by Relator on behalf of the State of Florida to

recover treble damages and civil penalties under the Florida False Claims Act, Fla. Stat. §

68.081, et seq.

       301.       Fla. Stat. § 68.082(2) provides liability for any person who:

                  (a)    Knowingly presents or causes to be presented a false or fraudulent claim
                         for payment or approval;

                  (b)    Knowingly makes, uses, or causes to be made or used a false record or
                         statement material to a false or fraudulent claim; or

                  (c)    Conspires to commit a violation of this subsection.

       302.       Defendants further violated Fla. Stat. § 68.082(2) and knowingly caused false

claims to be made, used and presented to the State of Florida by engaging in the conduct alleged

herein and by virtue of the fact that none of the claims submitted in connection with its conduct

were even eligible for reimbursement by the government-funded healthcare programs.

       303.       The State of Florida, by and through the Florida Medicaid program and other state

healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.

       304.       Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Florida in

connection with Defendants’ conduct. Compliance with applicable Florida statutes was also a

condition of payment of claims submitted to the State of Florida.

       305.       Had the State of Florida known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.


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       306.    As a result of Defendants’ violations of Fla. Stat. § 68.082(2), the State of Florida

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       307.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Fla. Stat. § 68.083(2) on

behalf of himself and the State of Florida.

       308.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Florida in the operation of its Medicaid program.

       309.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF FLORIDA:

                   (1) Three times the amount of actual damages which the State of Florida has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $5,500 and not more than $11,000 for each
                       false claim which Defendants caused to be presented to the State of
                       Florida;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Fla. Stat. § 68.085 and/or any
                       other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                       Count 13
                           Georgia False Medical Claims Act
                 & Georgia Taxpayer Protection Against False Claims Act
                           Ga. Code Ann. 49-4-168, et seq. &
                            Ga. Code Ann. 23-3-120, et seq.

       310.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       311.   This is a qui tam action brought by Relator on behalf of the State of Georgia to

recover treble damages and civil penalties under the Georgia False Medicaid Claims Act, Ga.

Code Ann., § 49-4-168, et seq.

       312.   The Georgia False Medicaid Claims Act, Ga. Code Ann., § 49-4-168-1, imposes

liability on any person who:

              (1) Knowingly presents or causes to be presented to the Georgia Medicaid
                  program a false or fraudulent claim for payment or approval;

              (2) Knowingly makes, uses, or causes to be made or used a false record or
                  statement material to a false or fraudulent claim;

              (3) Conspires to commit a violation of paragraph (1), (2), (4), (5), (6), or
                  (7) of this subsection;

              (4) Has possession, custody, or control of property or money used or to be
                  used by the Georgia Medicaid program and knowingly delivers, or
                  causes to be delivered, less than all of such property or money;

              (5) Is authorized to make or deliver a document certifying receipt of
                  property used, or to be used, by the Georgia Medicaid program and,
                  intending to defraud the Georgia Medicaid program, makes or delivers
                  the receipt without completely knowing that the information on the
                  receipt is true;

              (6) Knowingly buys, or receives as a pledge of an obligation or debt,
                  public property from an officer or employee of the Georgia Medicaid
                  program who lawfully may not sell or pledge the property; or

              (7) Knowingly makes, uses, or causes to be made or used a false record or
                  statement material to an obligation to pay or transmit property or
                  money to the Georgia Medicaid program, or knowingly conceals or



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                    knowingly and improperly avoids or decreases an obligation to pay or
                    transmit property or money to the Georgia Medicaid program.


       313.    Defendants violated the Georgia False Medicaid Claims Act and knowingly

caused false claims to be made, used and presented to the State of Georgia by its deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       314.    The State of Georgia, by and through the Georgia Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

       315.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Georgia in

connection with Defendants’ conduct. Compliance with applicable Georgia statutes was also a

condition of payment of claims submitted to the State of Georgia.

       316.    Had the State of Georgia known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       317.    As a result of Defendants’ violations of the Georgia False Medicaid Claims Act,

the State of Georgia has been damaged in an amount far in excess of millions of dollars

exclusive of interest.




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       318.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Georgia False

Medicaid Claims Act on behalf of himself and the State of Georgia.

       319.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Georgia in the operation of its Medicaid program.

       320.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF GEORGIA:

                   (1) Three times the amount of actual damages which the State of Georgia has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Georgia;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Georgia False Medicaid
                       Claims Act, Ga. Code Ann., § 49-4-168, and/or any other applicable
                       provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                             Count 14
                                     Hawaii False Claims Act
                                  (Haw. Rev. Stat. § 661-21, et seq.)

       321.       Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       322.       This is a qui tam action brought by Relator on behalf of the State of Hawaii to

recover treble damages and civil penalties under the Hawaii False Claims Act, Haw. Rev. Stat. §

661-21, et seq.

       323.       Section 661-21(a) provides liability for any person who:

                  (1) Knowingly presents, or causes to be presented, a false or fraudulent
                      claim for payment or approval;

                  (2) Knowingly makes, uses, or causes to be made or used, a false record
                      or statement material to a false or fraudulent claim;

                                                       ***

                  (6) Knowingly makes, uses, or causes to be made or used, a false record
                      or statement material to an obligation to pay or transmit money or
                      property to the State, or knowingly conceals, or knowingly and
                      improperly avoids or decreases an obligation to pay or transmit
                      money or property to the State; or

                                                       ***

                  (8) Conspires to commit any of the conduct described in this subsection.

       324.       Defendants violated Haw. Rev. Stat. § 661-21(a) and knowingly caused false

claims to be made, used and presented to the State of Hawaii by the conduct alleged herein and

by virtue of the fact that none of the claims submitted in connection with its conduct were even

eligible for reimbursement by the government-funded healthcare programs.

       325.       The State of Hawaii, by and through the Hawaii Medicaid program and other state

healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.


                                                  98
       326.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Hawaii in

connection with Defendants’ conduct. Compliance with applicable Hawaii statutes was also a

condition of payment of claims submitted to the State of Hawaii.

       327.    Had the State of Hawaii known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       328.    As a result of Defendants’ violations of Haw. Rev. Stat. § 661-21, the State of

Hawaii has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       329.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Haw. Rev. Stat. § 661-21

on behalf of himself and the State of Hawaii.

       330.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Hawaii in the operation of its Medicaid program.

       331.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF HAWAII:

                   (1) Three times the amount of actual damages which the State of Hawaii has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Hawaii;



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                    (3) Pre- and post-judgment interest; and

                    (4) All costs incurred in bringing this action.

              To RELATOR:

                    (1) The maximum amount allowed pursuant to Haw. Rev. Stat. § 661-21
                        and/or any other applicable provision of law;

                    (2) Reimbursement for reasonable expenses which Relator incurred in
                        connection with this action;

                    (3) An award of reasonable attorneys’ fees and costs; and

                    (4) Such further relief as this Court deems equitable and just.

                                             Count 15
                        Illinois Whistleblower Reward and Protection Act
                                      (740 ILCS 175, et seq.)

       332.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       333.   This is a qui tam action brought by Relator and the State of Illinois to recover

treble damages and civil penalties under the Illinois Whistleblower Reward and Protection Act,

740 ILCS 175, et seq.

       334.   740 ILCS l75/3(a) provides liability for any person who

              (a)       knowingly presents, or causes to be presented, to an officer or employee of
                        the State of a member of the Guard a false or fraudulent claim for payment
                        or approval;

              (b)       knowingly makes, uses, or causes to be made or used, a false record or
                        statement to get a false or fraudulent claim paid or approved by the State;

              (c)       conspires to defraud the State by getting a false or fraudulent claim
                        allowed or paid;

              (d)       knowingly makes, uses, or causes to be made or used a false record or
                        statement to conceal, avoid, or decrease an obligation to pay or transmit
                        money or property to the state or to any political subdivision.




                                                 100
        335.    In addition, 305 ILCS 5/8A-3(b) of the Illinois Public Aid Code (Vendor Fraud

and Kickbacks) prohibits the solicitation or receipt of any remuneration, including any kickback,

bribe or rebate, directly or indirectly, overtly or covertly, in cash or in kind in return for

furnishing any item or service for which payment may be made in whole or in part under the

Illinois Medicaid program.

        336.    Defendants knowingly violated 740 ILCS l75/3(a) and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Illinois from

at least January 2010 to the present by violating the Illinois Anti-Kickback Statute 305 ILCS

5/8A-3(b) and the Federal Anti-Kickback Act, as described herein.

        337.    As a result of Defendants’ off-label marketing and kickback schemes, all of the

claims that Horizon knowingly caused physicians and pharmacists to knowingly submit to the

Illinois Medicaid program are false or fraudulent. Further, Horizon knowingly caused physicians

and pharmacists to falsely certify, expressly and/or impliedly, and represent full compliance with

all federal and state laws and regulations prohibiting fraudulent acts and false reporting,

including but not limited to the Anti-Kickback Statute and the Illinois Anti- Kickback Statute

(305 ILCS 5/8A-3(b)). Compliance with federal and state laws and regulations was a condition

of payment.

        338.    The State of Illinois, by and through the Illinois Medicaid program and other state

health care programs, paid the false and/or fraudulent claims.

        339.    Given the structure of the health care systems, the false statements,

representations, and records made by Horizon had the potential to influence the State of Illinois's

payment decision.




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       340.    The ultimate submission by physicians, pharmacies, and third-party payers of

false and/or fraudulent claims to the state Medicaid program was a foreseeable factor in the State

of Illinois's loss, and a consequence of the scheme.

       341.    As a result of Defendants’ violations of 740 ILCS 175/3(a), the State of Illinois

has been damaged.

       342.    There are no bars to recovery under 740 ILCS 175/4(e)(4), and, or in the

alternative, Relator is an original source as defined therein. Relator is a private person with

direct and independent knowledge of the allegations of this Complaint, who has brought this

action pursuant to 740 ILCS 175/4(b) on behalf of herself and the State of Illinois.

       343.    This Court is requested to accept pendent jurisdiction of this related state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the State of Illinois in the operation of its Medicaid program.

       344.    WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

               To the STATE OF ILLINOIS:

                   (1) Three times the amount of actual damages that the State of Illinois has
                       sustained as a result of Defendants’ fraudulent and illegal practices;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim that Defendants caused to be presented to the State of
                       Illinois;

                   (3) Prejudgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to 740 ILCS 175/4(d) and/or any
                       other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in



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                     connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                          Count 16
                      Illinois Insurance Claims Fraud Prevention Act
                              740 Ill. Comp. Stat. § 92/1, et seq.)

       345.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       346.   This is a claim for treble damages and penalties under the IICFPA.

       347.   Pursuant to 740 Ill. Comp. Stat. § 92/5(a):

              A person who violates any provision of this Act, . . . or Section 17-10.5 of the
              Criminal Code . . . shall be subject, in addition to any other penalties that may be
              prescribed by law, to a civil penalty of not less than $5,000 nor more than
              $10,000, plus an assessment of not more than 3 times the amount of each claim
              for compensation under a contract of insurance

       348.   740 Ill. Comp. Stat. § 5/17-10.5 provides, in pertinent part:

              (a) Insurance fraud.

                     (1) A person commits insurance fraud when he or she knowingly obtains,
                         attempts to obtain, or causes to be obtained, by deception, control
                         over the property of an insurance company or self-insured entity by
                         the making of a false claim or by causing a false claim to be made on
                         any policy of insurance issued by an insurance company or by the
                         making of a false claim or by causing a false claim to be made to a
                         self-insured entity, intending to deprive an insurance company or self-
                         insured entity permanently of the use and benefit of that property.

                     (2) A person commits health care benefits fraud against a provider, other
                         than a governmental unit or agency, when he or she knowingly
                         obtains or attempts to obtain, by deception, health care benefits and
                         that obtaining or attempt to obtain health care benefits does not
                         involve control over property of the provider.

                                                      ***
              (c) Conspiracy to commit insurance fraud. . . .




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        349.    By virtue of the acts described above, Defendants knowingly presented or caused

to be presented false or fraudulent claims to the private insurers in Illinois, or for patients in

Illinois that those insurers covered, for payment or approval in violation of each patient’s private

health insurance contract.

        350.    By virtue of the acts described above, Defendants knowingly made, used, or

caused to be made or used false records and statements and omitted material facts to induce the

private insurers in Illinois, or for patients in Illinois covered by those insurers, to approve or pay

such false and fraudulent claims.

        351.    Defendants knowingly presented or caused to be presented false or fraudulent

claims to the private insurers in Illinois, or for patients in Illinois those insurers covered, for

payment or approval in violation of each patient’s private health insurance contract.

        352.    By virtue of the acts described above, Defendants knowingly utilized a scheme by

which it presented, or caused to be presented, false or fraudulent claims to private insurers in

Illinois, or for patients in Illinois that those insurers covered (i.e., patients who hold private

insurance contracts and against whom Defendants could file claims for payment or approval) in

violation of each patient’s private health insurance contract.

        353.    By virtue of the acts described above, Defendants conspired to violate the IICFPA

and each patient’s private health insurance contract.

        354.    The private insurers in Illinois, or those insurers that covered patients in Illinois,

unaware of the falsity of the records, statements and claims made, used, presented, or caused to

be presented by Defendants, paid and continue to pay the claims that are non-payable as a result

of Defendants’ illegal conduct.




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       355.    Defendants knowingly submitted and/or caused to be made or used false records

or false statements in order to avoid or decrease its obligations to return overpayments to these

private insurance companies.

       356.    By reason of Defendants’ acts, these private insurance companies have been

damaged, and continue to be damaged, in a substantial amount to be determined at trial.

       357.    Each claim for reimbursement that was a result of Defendants’ scheme represents

a false or fraudulent record or statement and a false or fraudulent claim for payment.

       358.    State of Illinois is entitled to the maximum penalty of $10,000 per violation, plus

an assessment of three times the amount of each false or fraudulent claim for compensation

made, used, presented, or caused to be made, used, or presented by Defendants.

                                         Count 17
                   Indiana False Claims and Whistleblower Protection Act
                                (Ind. Code § 5-11-5.5, et seq.)

       359.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       360.    This is a qui tam action brought by Relator on behalf of the State of Indiana to

recover treble damages and civil penalties under the Indiana False Claims and Whistleblower

Protection Act, Ind. Code 5-11-5.5-2, which imposes liability on:

               A person who knowingly or intentionally:

                   (1) presents a false claim to the state for payment or approval;

                   (2) makes or uses a false record or statement to obtain payment or
                       approval of a false claim from the state;

                   (3) with intent to defraud the state, delivers less money or property to
                       the state than the amount recorded on the certificate or receipt the
                       person receives from the state;

                   (4) with intent to defraud the state, authorizes issuance of a receipt
                       without knowing that the information on the receipt is true;


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                   (5) receives public property as a pledge of an obligation on a debt from
                       an employee who is not lawfully authorized to sell or pledge the
                       property;

                   (6) makes or uses a false record or statement to avoid an obligation to
                       pay or transmit property to the state;

                   (7) conspires with another person to perform an act described in
                       subdivisions (1) through (6); or

                   (8) causes or induces another person to perform an act described in
                       subdivisions (1) through (6) . . . .

       361.    Defendants violated the Indiana False Claims Act and knowingly caused false

claims to be made, used and presented to the State of Indiana by its deliberate and systematic

violation of federal and state laws and by virtue of the fact that none of the claims submitted in

connection with its conduct were even eligible for reimbursement by the government-funded

healthcare programs.

       362.    The State of Indiana, by and through the Indiana Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

       363.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Indiana in

connection with Defendants’ conduct. Compliance with applicable Indiana statutes was also a

condition of payment of claims submitted to the State of Indiana.

       364.    Had the State of Indiana known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.



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       365.    As a result of Defendants’ violations of Indiana’s False Claims Act, the State of

Indiana has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       366.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Ind. Code § 5-11-5.5, et

seq. on behalf of himself and the State of Indiana.

       367.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Indiana in the operation of its Medicaid program.

       368.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF INDIANA:

                   (1) Three times the amount of actual damages which the State of Indiana has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Indiana, except that this upper limit on liability is subject to an automatic
                       adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Ind. Code § 5-11-5.5 et seq.
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                             Count 18
                                     Iowa False Claims Law
                                      (I.C.A. § 685.1, et seq.)

       369.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       370.    This is a qui tam action brought by Relator on behalf of the State of Iowa to

recover treble damages and civil penalties under the Iowa False Claims Law, I.C.A. § 685.1, et

seq.

       371.    Iowa False Claims Law, I.C.A. § 685.2, in pertinent part provides for liability for

any person who:

                   (a) Knowingly presents, or causes to be presented, a false or
                       fraudulent claim for payment or approval.

                   (b) Knowingly makes, uses, or causes to be made or used, a false
                       record or statement material to a false or fraudulent claim.

                   (c) Conspires to commit a violation of paragraph “a”, “b” . . . .

       372.    Defendants violated the Iowa False Claims Law, I.C.A. § 685.1, et seq. and

knowingly caused false claims to be made, used and presented to the State of Iowa by its

deliberate and systematic violation of federal and state laws and by virtue of the fact that none of

the claims submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       373.    The State of Iowa, by and through the Iowa Medicaid program and other state

healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.

       374.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Iowa in




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connection with Defendants’ conduct. Compliance with applicable Iowa statutes was also a

condition of payment of claims submitted to the State of Iowa.

       375.    Had the State of Iowa known that Defendants were violating the federal and state

laws cited herein and/or that the claims submitted in connection with Defendants’ conduct failed

to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       376.    As a result of Defendants’ violations of the Iowa False Claims Law, I.C.A. §

685.1, et seq., the State of Iowa has been damaged in an amount far in excess of millions of

dollars exclusive of interest.

       377.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Iowa False Claims Law,

I.C.A. § 685.1, et seq., on behalf of himself and the State of Iowa.

       378.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Iowa in the operation of its Medicaid program.

       379.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF IOWA:

                   (1) Three times the amount of actual damages which the State of Iowa has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Iowa, except that this upper limit on liability is subject to an automatic
                       adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and


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                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Iowa False Claims Law, I.C.A.
                       § 685.1 et seq. and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                          Count 19
                    Louisiana Medical Assistance Programs Integrity Law
                           (La. Rev. Stat. Ann. § 46:437.1, et seq.)

       380.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       381.    This is a qui tam action brought by Relator on behalf of the State of Louisiana to

recover treble damages and civil penalties under the Louisiana Medical Assistance Programs

Integrity Law, La. Rev. Stat. Ann. § 437.1, et seq.

       382.    La. Rev. Stat. Ann. § 46:438.3 provides:

               (A) No person shall knowingly present or cause to be presented a false or
                   fraudulent claim.

               (B) No person shall knowingly engage in misrepresentation or make, use,
                   or cause to be made or used, a false record or statement material to a
                   false or fraudulent claim.

               (C) No person shall knowingly make, use, or cause to be made or used, a
                   false record or statement material to an obligation to pay or transmit
                   money or property to the medical assistance programs, or to
                   knowingly conceal, avoid, or decrease an obligation to pay or
                   transmit money or property to the medical assistance programs.

               (D) No person shall conspire to defraud, or attempt to defraud, the
                   medical assistance programs through misrepresentation or by
                   obtaining, or attempting to obtain, payment for a false or fraudulent
                   claim.



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        383.   Defendants further violated La. Rev. Stat. Ann. § 46:438.3 and knowingly caused

false claims to be made, used and presented to the State of Louisiana by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

        384.   The State of Louisiana, by and through the Louisiana Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

        385.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the State of Louisiana in connection with Defendants’ conduct. Compliance with

applicable Louisiana statutes, regulations and Pharmacy Manuals was also an express condition

of payment of claims submitted to the State of Louisiana.

        386.   Had the State of Louisiana known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

        387.   As a result of Defendants’ violations of La. Rev. Stat. Ann. § 46:438.3, the State

of Louisiana has been damaged in an amount far in excess of millions of dollars exclusive of

interest.




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       388.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to La. Rev. Stat. Ann. §

46:439.1(A) on behalf of himself and the State of Louisiana.

       389.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Louisiana in the operation of its Medicaid program.

       390.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF LOUISIANA:

                   (1) Three times the amount of actual damages which the State of Louisiana
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Louisiana, except that this upper limit on liability is subject to an
                       automatic adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to La. Rev. Stat. § 439.4(A)
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                        Count 20
                                Maryland False Claims Act
                        (Md. Code Ann. Health - Gen., § 2-601 et seq.)

       391.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       392.    This is a qui tam action brought by Relator on behalf of the State of Maryland to

recover treble damages and civil penalties under the Maryland False Claims Act, Md. Code Ann.

Health - Gen., § 2-601, et seq.

       393.    Section 2-602 of Maryland’s False Claims Act imposes liability as follows

               (a) A person may not:

                    (1) Knowingly present or cause to be presented a false or fraudulent
                        claim for payment or approval;

                    (2) Knowingly make, use, or cause to be made or used a false record
                        or statement material to a false or fraudulent claim;

                    (3) Conspire to commit a violation under this subtitle;

                    (4) Have possession, custody, or control of money or other property
                        used by or on behalf of the State under a State health plan or a
                        State health program and knowingly deliver or cause to be
                        delivered to the State less than all of that money or other property;

                    (5) (i) Be authorized to make or deliver a receipt or other document
                        certifying receipt of money or other property used or to be used
                        by the State under a State health plan or a State health program;
                        and (ii) Intending to defraud the State or the Department, make or
                        deliver a receipt or document knowing that the information
                        contained in the receipt or document is not true;

                    (6) Knowingly buy or receive as a pledge of an obligation or debt
                        publicly owned property from an officer, employee, or agent of a
                        State health plan or a State health program who lawfully may not
                        sell or pledge the property;

                    (7) Knowingly make, use, or cause to be made or used, a false record
                        or statement material to an obligation to pay or transmit money or
                        other property to the State;




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                    (8) Knowingly conceal, or knowingly and improperly avoid or
                        decrease, an obligation to pay or transmit money or other property
                        to the State; or

                    (9) Knowingly make any other false or fraudulent claim against a
                        State health plan or a State health program.

       394.    Defendants violated the Maryland False Claims Act, and knowingly caused false

claims to be made, used and presented to the State of Maryland by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       395.    The State of Maryland, by and through the Maryland Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.

       396.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and an express condition of payment of claims submitted

to the State of Maryland in connection with Defendants’ conduct. Compliance with applicable

Maryland statutes, regulations and Pharmacy Manuals was also an express condition of payment

of claims submitted to the State of Maryland.

       397.    Had the State of Maryland known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.




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        398.   As a result of Defendants’ violations of the Maryland False Claims Act, the State

of Maryland has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

        399.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Maryland False Claims

Act on behalf of himself and the State of Maryland.

        400.   This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Maryland in the operation of its Medicaid program.

        401.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF MARYLAND:

                   (1) Three times the amount of actual damages which the State of Maryland
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not more than $10,000 for each false claim which
                       Defendants caused to be presented to the State of Maryland;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Maryland False Claims Act
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                        Count 21
                              Massachusetts False Claims Act
                        (Mass. Gen. Laws Ann. Ch. 12 § 5(A), et seq.)

       402.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       403.    This is a qui tam action brought by Relator on behalf of the Commonwealth of

Massachusetts for treble damages and penalties under Massachusetts False Claims Act, Mass.

Gen. Laws Ann. Ch. 12 § 5(A), et seq.

       404.    Mass. Gen. Laws Ann. Ch. 12 § 5B(a) provides liability for any person who:

               (1) knowingly presents, or causes to be presented, a false or fraudulent
                   claim for payment or approval;

               (2) knowingly makes, uses, or causes to be made or used a false record or
                   statement material to a false or fraudulent claim; or

               (3) conspires to commit a violation of this subsection; or
                                                * * *
               (10) is a beneficiary of an inadvertent submission of a false claim to the
                    common wealth or political subdivision thereof, or is a beneficiary of
                    an overpayment from the commonwealth or a political subdivision
                    thereof, and who subsequently discovers the falsity of the claim or the
                    receipt of overpayment, and fails to disclose the false claim or receipt
                    of overpayment to the commonwealth or a political subdivision by the
                    later of:

                    (i) the date which is 60 days after the date on which the false claim
                        or receipt of overpayment was identified; or

                    (ii) the date any corresponding cost report is due . . . .

       405.    Defendants violated Mass. Gen. Laws Ann. Ch. 12 § 5B and knowingly caused

false claims to be made, used and presented to the Commonwealth of Massachusetts by the

conduct alleged herein and by virtue of the fact that none of the claims submitted in connection

with their conduct were even eligible for reimbursement by the government-funded healthcare

programs.


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       406.    The Commonwealth of Massachusetts, by and through the Massachusetts

Medicaid program and other state healthcare programs, and unaware of Defendants’ conduct,

paid the claims submitted by healthcare providers and third party payers in connection therewith.

       407.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the Commonwealth of

Massachusetts in connection with Defendants’ conduct. Compliance with applicable

Massachusetts statutes was also a condition of payment of claims submitted to the

Commonwealth of Massachusetts.

       408.    Had the Commonwealth of Massachusetts known that Defendants were violating

the federal and state laws cited herein and/or that the claims submitted in connection with

Defendants’ conduct failed to meet the reimbursement criteria of the government-funded

healthcare programs or were premised on false and/or misleading information, it would not have

paid the claims submitted by healthcare providers and third party payers in connection with that

conduct.

       409.    As a result of Defendants’ violations of Mass. Gen. Laws Ann. Ch. 12 § 5B, the

Commonwealth of Massachusetts has been damaged in an amount far in excess of millions of

dollars exclusive of interest.

       410.    Relator is a private person with direct and independent knowledge of the

allegations in this Complaint, who has brought this action pursuant to Mass. Gen. Laws Ann. Ch.

12 § 5(c)(2) on behalf of himself and the Commonwealth of Massachusetts.

       411.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts




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separate damage to the Commonwealth of Massachusetts in the operation of its Medicaid

program.

       412.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

              To the Commonwealth OF MASSACHUSETTS:

                  (1) Three times the amount of actual damages which the Commonwealth of
                      Massachusetts has sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                      each false claim which Defendants caused to be presented to the
                      Commonwealth of Massachusetts, except that this upper limit on liability
                      is subject to an automatic adjustment in accordance with the CPIAA;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

              To RELATOR:

                  (1) The maximum amount allowed pursuant to Mass. Gen. Laws Ann. Ch. 12,
                      § 5F and/or any other applicable provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                         Count 22
                            Michigan Medicaid False Claims Act
                            (Mich. Comp. Laws § 400.601, et seq.)

       413.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       414.   This is a qui tam action brought by Relator on behalf of the State of Michigan to

recover treble damages and civil penalties under Michigan Medicaid False Claims Act, Mich.

Comp. Laws § 400.603, which provides in pertinent part:



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               (1) A person shall not knowingly make or cause to be made a false
               statement or false representation of a material fact in an application for
               Medicaid benefits.

               (2) A person shall not knowingly make or cause to be made a false
               statement or false representation of a material fact for use in determining
               rights to a Medicaid benefit. . . .

        415.   Defendants violated Michigan law and knowingly caused false claims to be made,

used and presented to the State of Michigan by their deliberate and systematic violation of

federal and state laws and by virtue of the fact that none of the claims submitted in connection

with its conduct were even eligible for reimbursement by the government-funded healthcare

programs.

        416.   The State of Michigan, by and through the Michigan Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third party payers in connection therewith.

        417.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Michigan

in connection with Defendants’ conduct. Compliance with applicable Michigan statutes was also

a condition of payment of claims submitted to the State of Michigan.

        418.   Had the State of Michigan known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendant’s conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

        419.   As a result of Defendants’ violations of the Medicaid False Claims Act, the State

of Michigan has been damaged in an amount far in excess of millions of dollars exclusive of

interest.


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       420.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Medicaid False Claims

Act on behalf of himself and the State of Michigan.

       421.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Michigan in the operation of its Medicaid program.

       422.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF MICHIGAN:

                   (1) Three times the amount of actual damages which the State of Michigan
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $5,000 and not more than $10,000 for each
                       false claim which Defendants caused to be presented to the State of
                       Michigan;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to the Medicaid False Claims Act
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                          Count 23
                                  Minnesota False Claims Act
                                   (M.S.A. § 15C.01, et seq.)

       423.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.


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       424.       This is a qui tam action brought by Relator on behalf of the State of Minnesota to

recover treble damages and civil penalties under the Minnesota False Claims Act, M.S.A. §

15C.01, et seq.

       425.       Minnesota False Claims Act, M.S.A. § 15C.02, provides for liability for any

person who:

                  (1) knowingly presents, or causes to be presented, a false or fraudulent
                      claim for payment or approval;

                  (2) knowingly makes or uses, or causes to be made or used, a false record
                      or statement material to a false or fraudulent claim;

                  (3) knowingly conspires to commit a violation of clause (1), (2), (4), (5),
                      (6), or (7);

                  (4) has possession, custody, or control of property or money used, or to
                      be used, by the state or a political subdivision and knowingly delivers
                      or causes to be delivered less than all of that money or property;

                  (5) is authorized to make or deliver a document certifying receipt for
                      money or property used, or to be used, by the state or a political
                      subdivision and, intending to defraud the state or a political
                      subdivision, makes or delivers the receipt without completely
                      knowing that the information on the receipt is true;

                  (6) knowingly buys, or receives as a pledge of an obligation or debt,
                      public property from an officer or employee of the state or a political
                      subdivision who lawfully may not sell or pledge the property; or

                  (7) knowingly makes or uses, or causes to be made or used, a false record
                      or statement material to an obligation to pay or transmit money or
                      property to the state or a political subdivision, or knowingly conceals
                      or knowingly and improperly avoids or decreases an obligation to pay
                      or transmit money or property to the state or a political subdivision.

       426.       Defendants violated the Minnesota False Claims Act and knowingly caused false

claims to be made, used and presented to the State of Minnesota by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims




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submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

        427.   The State of Minnesota, by and through the Minnesota Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third-party payers in connection therewith.

        428.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Minnesota

in connection with Defendants’ conduct. Compliance with applicable Minnesota statutes was

also a condition of payment of claims submitted to the State of Minnesota.

        429.   Had the State of Minnesota known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

        430.   As a result of Defendants’ violations of the Minnesota False Claims Act, the State

of Minnesota has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

        431.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Minnesota False

Claims Act on behalf of himself and the State of Minnesota.

        432.   This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Minnesota in the operation of its Medicaid program.




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       433.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF MINNESOTA:

                  (1) Three times the amount of actual damages which the State of Minnesota
                      has sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                      each false claim which Defendants caused to be presented to the State of
                      Minnesota;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Minnesota False Claims Act
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                         Count 24
                                  Montana False Claims Act
                                  (MCA § 17-8-401, et seq.)

       434.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       435.    This is a qui tam action brought by Relator on behalf of the State of Montana to

recover treble damages and civil penalties under the Montana False Claims Act, MCA § 17-8-

401, et seq.

       436.    Montana’s False Claims Act, MCA § 17-8-403, provides for liability for any

person who:

               (a) knowingly presents or causes to be presented a false or fraudulent


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                   claim for payment or approval;

               (b) knowingly makes, uses, or causes to be made or used a false record or
                   statement material to a false or fraudulent claim;

               (c) conspires to commit a violation of this subsection (1);

               (d) has possession, custody, or control of public property or money used
                   or to be used by the governmental entity and knowingly delivers or
                   causes to be delivered less than all of the property or money;

               (e) is authorized to make or deliver a document certifying receipt of
                   property used or to be used by the governmental entity and, with the
                   intent to defraud the governmental entity or to willfully conceal the
                   property, makes or delivers a receipt without completely knowing that
                   the information on the receipt is true;

               (f) knowingly buys or receives as a pledge of an obligation or debt public
                   property of the governmental entity from any person who may not
                   lawfully sell or pledge the property;

               (g) knowingly makes, uses, or causes to be made or used a false record or
                   statement material to an obligation to pay or transmit money or
                   property to a governmental entity or knowingly conceals or knowingly
                   and improperly avoids or decreases an obligation to pay or transmit
                   money or property to a governmental entity; or

               (h) as a beneficiary of an inadvertent submission of a false or fraudulent
                   claim to the governmental entity, subsequently discovers the falsity of
                   the claim or that the claim is fraudulent and fails to disclose the false
                   or fraudulent claim to the governmental entity within a reasonable time
                   after discovery of the false or fraudulent claim.

       437.    Defendants violated the Montana False Claims Act and knowingly caused false

claims to be made, used and presented to the State of Montana by their deliberate and systematic

violation of federal and state laws and by virtue of the fact that none of the claims submitted in

connection with its conduct were even eligible for reimbursement by the government-funded

healthcare programs.




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        438.   The State of Montana, by and through the Montana Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

        439.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Montana in

connection with Defendants’ conduct. Compliance with applicable Montana statutes was also a

condition of payment of claims submitted to the State of Montana.

        440.   Had the State of Montana known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

        441.   As a result of Defendants’ violations of the Montana False Claims Act, the State

of Montana has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

        442.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Montana False Claims

Act on behalf of himself and the State of Montana.

        443.   This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Montana in the operation of its Medicaid program.

        444.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:




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              To the STATE OF MONTANA:

                  (1) Three times the amount of actual damages which the State of Montana has
                      sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $5,500 and not more than $11,000 for each
                      false claim which Defendants caused to be presented to the State of
                      Montana;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

              To RELATOR:

                  (1) The maximum amount allowed pursuant to Montana False Claims Act
                      and/or any other applicable provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                          Count 25
                                  Nevada False Claims Act
                           (Nev. Rev. Stat. Ann. § 357.010, et seq.)

       445.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       446.   This is a qui tam action brought by Relator on behalf of the State of Nevada to

recover treble damages and civil penalties under the Nevada False Claims Act, Nev. Rev. Stat.

Ann. § 357.010, et seq.

       447.   N.R.S. § 357.040(1) provides liability for any person who:

              (a) Knowingly presents or causes to be presented a false or fraudulent
                  claim for payment or approval.

              (b) Knowingly makes or uses, or causes to be made or used, a false record
                  or statement that is material to a false or fraudulent claim.

              (c) Has possession, custody or control of public property or money used


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                   or to be used by the State or a political subdivision and knowingly
                   delivers or causes to be delivered to the State or a political subdivision
                   less money or property than the amount of which the person has
                   possession, custody or control.

               (d) Is authorized to prepare or deliver a document that certifies receipt of
                   money or property used or to be used by the State or a political
                   subdivision and knowingly prepares or delivers such a document
                   without knowing that the information on the document is true.

               (e) Knowingly buys, or receives as a pledge or security for an obligation
                   or debt, public property from a person who is not authorized to sell or
                   pledge the property.

               (f) Knowingly makes or uses, or causes to be made or used, a false record
                   or statement that is material to an obligation to pay or transmit money
                   or property to the State or a political subdivision.

               (g) Knowingly conceals or knowingly and improperly avoids or decreases
                   an obligation to pay or transmit money or property to the State or a
                   political subdivision.

               (h) Is a beneficiary of an inadvertent submission of a false claim and, after
                   discovering the falsity of the claim, fails to disclose the falsity to the
                   State or political subdivision within a reasonable time.

               (i) Conspires to commit any of the acts set forth in this subsection.

       448.    Defendants violated N.R.S. § 357.040(1) and knowingly caused false claims to be

made, used and presented to the State of Nevada by their deliberate and systematic violation of

federal and state laws and by virtue of the fact that none of the claims submitted in connection

with its conduct were even eligible for reimbursement by the government-funded healthcare

programs.

       449.    The State of Nevada, by and through the Nevada Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

       450.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Nevada in



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connection with Defendants’ conduct. Compliance with applicable Nevada statutes was also a

condition of payment of claims submitted to the State of Nevada.

       451.    Had the State of Nevada known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       452.    As a result of Defendants’ violations of N.R.S. § 357.040(1), the State of Nevada

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       453.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to N.R.S. § 357.080(1) on

behalf of himself and the State of Nevada.

       454.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Nevada in the operation of its Medicaid program.

       455.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF NEVADA:

                   (1) Three times the amount of actual damages which the State of Nevada has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Nevada, except that this upper limit on liability is subject to an automatic
                       adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.


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              To RELATOR:

                  (1) The maximum amount allowed pursuant to N.R.S. § 357.040 and/or any
                      other applicable provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                       Count 26
                   New Hampshire Medicaid Fraud and False Claims Act
                         (N.H. R.S.A. Title 22, Ch. 167, et seq.)

       456.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       457.   This is a qui tam action brought by Relator on behalf of the State of New

Hampshire to recover treble damages and civil penalties under the Medicaid Fraud and False

Claims Act, R.S.A. §§ 167:58, et seq.

       458.   Under R.S.A. § 167:61-b, no person shall:

              (a) Knowingly presents, or causes to be presented, to an officer or employee of
              the department, a false or fraudulent claim for payment or approval.

              (b) Knowingly makes, uses, or causes to be made or used, a false record or
              statement to get a false or fraudulent claim paid or approved by the department.

              (c) Conspires to defraud the department by getting a false or fraudulent claim
              allowed or paid.

              (d) Has possession, custody, or control of property or money used, or to be used,
              by the department and, intending to defraud the department or willfully to conceal
              the property, delivers, or causes to be delivered, less property than the amount for
              which the person receives a certificate or receipt.

              (e) Knowingly makes, uses, or causes to be made or used, a false record or
              statement to conceal, avoid, or decrease an obligation to pay or transmit money or
              property to the department.

              (f) Is a beneficiary of an inadvertent submission of a false claim to the
              department, who subsequently discovers the falsity of the claim, and fails to


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               disclose the false claim to the department within a reasonable time after discovery
               of the false claim.

        459.   Defendants violated R.S.A. § 167:61-b, and knowingly caused false claims to be

made, used and presented to the State of New Hampshire by their deliberate and systematic

violation of federal and state laws and by virtue of the fact that none of the claims submitted in

connection with its conduct were even eligible for reimbursement by the government-funded

healthcare programs.

        460.   The State of New Hampshire, by and through the New Hampshire Medicaid

program and other state healthcare programs, and unaware of Defendants’ conduct, paid the

claims submitted by healthcare providers and third-party payers in connection therewith.

        461.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of New

Hampshire in connection with Defendants’ conduct. Compliance with applicable New

Hampshire statutes was also a condition of payment of claims submitted to the State of New

Hampshire.

        462.   Had the State of New Hampshire known that Defendants were violating the

federal and state laws cited herein and/or that the claims submitted in connection with

Defendants’ conduct failed to meet the reimbursement criteria of the government-funded

healthcare programs or were premised on false and/or misleading information, it would not have

paid the claims submitted by healthcare providers and third party payers in connection with that

conduct.

        463.   As a result of Defendants’ violations of R.S.A. § 167:61-b, the State of New

Hampshire has been damaged in an amount far in excess of millions of dollars exclusive of

interest.



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       464.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to R.S.A. § 167:61-c (II), on

behalf of himself and the State of New Hampshire.

       465.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of New Hampshire in the operation of its Medicaid program.

       466.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF NEW HAMPSHIRE:

               (1) Three times the amount of actual damages which the State of New Hampshire
                   has sustained as a result of Defendants’ conduct;
               (2) A civil penalty of not less than $5,000 and not more than $10,000 for each
                   false claim which Defendants caused to be presented to the State of New
                   Hampshire;

               (3) Pre- and post-judgment interest; and

               (4) All costs incurred in bringing this action.

               To RELATOR:

               (1) The maximum amount allowed pursuant to R.S.A. § 167:61-e and/or any
                   other applicable provision of law;

               (2) Reimbursement for reasonable expenses which Relator incurred in connection
                   with this action;

               (3) An award of reasonable attorneys’ fees and costs; and

               (4) Such further relief as this Court deems equitable and just.

                                            Count 27
                                  New Jersey False Claims Act
                                  (N.J.S.A. § 2A:32C-1, et seq.)

       467.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.



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       468.    This is a qui tam action brought by Relator on behalf of the State of New Jersey to

recover treble damages and civil penalties under the New Jersey False Claims Act, N.J.S.A. §

2A:32C-1, et seq.

       469.    N.J.S.A. § 2A:32C-3, provides for liability for any person who:

               (a) Knowingly presents or causes to be presented to an employee, officer
                   or agent of the State, or to any contractor, grantee, or other recipient of
                   State funds, a false or fraudulent claim for payment or approval;

               (b) Knowingly makes, uses, or causes to be made or used a false record or
                   statement to get a false or fraudulent claim paid or approved by the
                   State;

               (c) Conspires to defraud the State by getting a false or fraudulent claim
                   allowed or paid by the State;

               (d) Has possession, custody, or control of public property or money used
                   or to be used by the State and knowingly delivers or causes to be
                   delivered less property than the amount for which the person receives
                   a certificate or receipt;

               (e) Is authorized to make or deliver a document certifying receipt of
                   property used or to be used by the State and, intending to defraud the
                   entity, makes or delivers a receipt without completely knowing that the
                   information on the receipt is true;

               (f) Knowingly buys, or receives as a pledge of an obligation or debt,
                   public property from any person who lawfully may not sell or pledge
                   the property; or

               (g) Knowingly makes, uses, or causes to be made or used a false record or
                   statement to conceal, avoid, or decrease an obligation to pay or
                   transmit money or property to the State.

       470.    Defendants violated the New Jersey False Claims Act and knowingly caused false

claims to be made, used and presented to the State of New Jersey by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.




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        471.   The State of New Jersey, by and through the New Jersey Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third-party payers in connection therewith.

        472.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of New

Jersey in connection with Defendants’ conduct. Compliance with applicable New Jersey statutes

was also a condition of payment of claims submitted to the State of New Jersey.

        473.   Had the State of New Jersey known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendants’

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.

        474.   As a result of Defendants’ violations of the New Jersey False Claims Act, the

State of New Jersey has been damaged in an amount far in excess of millions of dollars exclusive

of interest.

        475.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the New Jersey False

Claims Act on behalf of himself and the State of New Jersey.

        476.   This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of New Jersey in the operation of its Medicaid program.

        477.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:




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                To the STATE OF NEW JERSEY:

                    (1) Three times the amount of actual damages which the State of New Jersey
                        has sustained as a result of Defendants’ conduct;

                    (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                        each false claim which Defendants caused to be presented to the State of
                        New Jersey;

                    (3) Pre- and post-judgment interest; and

                    (4) All costs incurred in bringing this action.

                To RELATOR:

                    (1) The maximum amount allowed pursuant to New Jersey False Claims Act
                        and/or any other applicable provision of law;

                    (2) Reimbursement for reasonable expenses which Relator incurred in
                        connection with this action;

                    (3) An award of reasonable attorneys’ fees and costs; and

                    (4) Such further relief as this Court deems equitable and just.

                                         Count 28
                     New Jersey Medical Assistance & Health Services Act
                                 (N.J.S.A. 30:4D-1, et seq.)

        478.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

        479.    The New Jersey Medical Assistance and Health Services Act (“NJMAHS”),

N.J.S.A. 30:4D-1, et seq., is aimed at providing medical assistance to residents with limited

resources, but also provides FCA-like protections in the event of a violation.

        480.    Pursuant to N.J.S.A. 30:4D-17(b), it is illegal for any provider, or any person,

firm, partnership, or entity to:

                 (1) Knowingly and willfully make or cause to be made any false statement or
                 representation of a material fact in any cost study, claim form, or any document
                 necessary to apply for or receive any benefit or payment under P.L.1968, c.413;
                 or



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                (2) At any time knowingly and willfully make or cause to be made any false
                    statement, written or oral, of a material fact for use in determining rights to
                    such benefit or payment under P.L.1968, c.413; or

                (3) Conceal or fail to disclose the occurrence of an event which

                       (i) affects a person’s initial or continued right to any such benefit or
                            payment, or

                       (ii) affects the initial or continued right to any such benefit or payment of
                            any provider or any person, firm, partnership, corporation, or other
                            entity in whose behalf a person has applied for or is receiving such
                            benefit or payment with an intent to fraudulently secure benefits or
                            payments not authorized under P.L.1968, c.413 or in a greater amount
                            than that which is authorized under P.L.1968, c.413; or

               (4) Knowingly and willfully convert benefits or payments or any part thereof
                    received for the use and benefit of any provider or any person, firm,
                    partnership, corporation, or other entity to a use other than the use and benefit
                    of such provider or such person, firm, partnership, corporation, or entity . . . .

       481.    In addition to any other penalties provided by law, violators of the NJMAHS shall

be liable for civil penalties of: (1) payment of interest on the amount of the excess benefits or

payments at the maximum legal rate in effect on the date the payment was made; (2) payment of

an amount not to exceed three-fold the amount of such excess benefits or payments; and (3)

payment in the sum of not less than and not more than the civil penalty allowed under the federal

False Claims Act, as it may be adjusted for inflation, for each claim for assistance, benefits or

payment. N.J.S.A. 30:4D-17(e).

       482.    In this matter, Defendants submitted bills to the New Jersey State Government for

payment and retained improperly obtained payments arising from their illegal off-label

promotion and sale of Krystexxa. All such false claims were knowingly submitted to get false or

fraudulent claims paid or approved by the New Jersey State Government.

       483.    As a result of Defendants’ acts, the State of New Jersey has been damaged, and

continues to be damaged, in a substantial amount to be determined at trial, and the State of New



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Jersey is entitled to penalty of not less than $11,463 and not more than $23,331 for each false or

fraudulent claim, plus three times the amount of damages which the State sustains arising from

Defendants’ unlawful conduct as described herein.

                                        Count 29
                            New Mexico Medicaid False Claims Act
                                (N.M. Stat. Ann. § 27-14-1, et seq.)
                          New Mexico Fraud Against Taxpayers Act
                              (N.M. Stat. Ann. § 44-9-1, et seq.)

       484.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       485.    This is a qui tam action brought by Relator on behalf of the State of New Mexico

to recover treble damages and civil penalties under the New Mexico Fraud Against Taxpayers

Act, which provides in pertinent part:

               A person shall not:

               (1) knowingly present, or cause to be presented, to an employee, officer
                   or agent of the state or a political subdivision or to a contractor,
                   grantee, or other recipient of state funds or political subdivision funds
                   a false or fraudulent claim for payment or approval;

               (2) knowingly make or use, or cause to be made or used, a false,
                   misleading or fraudulent record or statement to obtain or support the
                   approval of or the payment on a false or fraudulent claim; or

               (3) conspire to defraud the state or a political subdivision by obtaining
                   approval or payment on a false or fraudulent claim . . . .

                    N.M. Stat. Ann. § 44-9-3(A)(1)-(3).

       486.    Defendants violated N.M. Stat. Ann. §§ 27-14-1, et seq. and N.M. Stat. Ann. §

44-9-1 et seq. and knowingly caused false claims to be made, used and presented to the State of

New Mexico by their deliberate and systematic violation of federal and state laws and by virtue

of the fact that none of the claims submitted in connection with their conduct were even eligible

for reimbursement by the government-funded healthcare programs.


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       487.    The State of New Mexico, by and through the New Mexico Medicaid program

and other state healthcare programs, and unaware of Defendants’ conduct, paid the claims

submitted by healthcare providers and third-party payers in connection therewith.

       488.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of New

Mexico in connection with Defendants’ conduct. Compliance with applicable New Mexico

statutes was also a condition of payment of claims submitted to the State of New Mexico.

       489.    Had the State of New Mexico known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendants’

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.

       490.    As a result of Defendants’ violations of N.M. Stat. Ann. §§ 27-14-1 et seq. and

N.M. Stat. Ann. § 44-9-1 et seq., the State of New Mexico has been damaged in an amount far in

excess of millions of dollars exclusive of interest.

       491.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to N.M. Stat. Ann. §§ 27-14-

1, et seq. and N.M. Stat. Ann. § 44-9-1, et seq. on behalf of himself and the State of New

Mexico.

       492.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of New Mexico in the operation of its Medicaid program.




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       493.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF NEW MEXICO:

                  (1) Three times the amount of actual damages which the State of New Mexico
                      has sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                      each false claim which Defendants caused to be presented to the State of
                      New Mexico;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

               To RELATOR:

                  (1) The maximum amount allowed pursuant to N.M. Stat. Ann. §§ 27-14-1 et
                      seq. and/or any other applicable provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                             Count 30
                                   New York False Claims Act
                                (N.Y. State Fin. Law § 187, et seq.)

       494.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       495.    This is a qui tam action brought by Relator and the State of New York to recover

treble damages and civil penalties under the New York False Claims Act, N.Y. State Fin. Law§

187, et seq.

       496.    N.Y. State Fin. Law§ 189 provides liability for any person who-

               a. knowingly presents, or causes to be presented, to any employee, officer or
                  agent of the state or a local government, a false or fraudulent claim for
                  payment or approval;


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                b. knowingly makes, uses, or causes to be made or used, a false record or
                   statement to get a false or fraudulent claim paid or approved by the state or a
                   local government;

                c. conspires to defraud the state or a local government by getting a false or
                   fraudulent claim allowed or paid.

       497.    Defendants knowingly violated N.Y. State Fin. Law § 189 and knowingly caused

thousands of false claims to be made, used and presented to the State of New York during the

Covered Period by violating the Federal Anti-Kickback Act, as described herein.

       498.    As a result of Defendants’’ off-label marketing and kickback schemes, all of the

claims that Defendants knowingly caused physicians and pharmacists to knowingly submit to

the New York Medicaid program are false or fraudulent. Further, Defendants knowingly caused

physicians and pharmacists to falsely certify, expressly and/or impliedly, and represent full

compliance with all federal and state laws and regulations prohibiting fraudulent acts and false

reporting, including but not limited to the Federal Anti-Kickback Statute. Compliance with

federal and state laws and regulations was a condition of payment.

       499.    The State of New York, by and through the New York Medicaid program and

other state health care programs, paid the false and/or fraudulent claims.

       500.    Given the structure of the health care systems, the false statements,

representations, and records made by Horizon had the potential to influence the State of New

York’s payment decision.

       501.    The ultimate submission by physicians, pharmacists, and third-party payers of

false and/or fraudulent claims to the state Medicaid program was a foreseeable factor in the

State of New York's loss, and a consequence of the scheme.

       502.    As a result of Defendants’ violations of N.Y. State Fin. Law§ 189, the State of

New York has been damaged.



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       503.    There are no bars to recovery under N.Y. Fin. Law § 190(9) and, or in the

alternative, Relator is an original source as defined therein. Relator is a private person with

direct and independent knowledge of the allegations of this Complaint, who has brought this

action pursuant to N.Y. State Fin. Law§ 190(2) on behalf of herself and the State of New York.

       504.    This Court is requested to accept pendent jurisdiction of this related state claim

as it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the State of New York in the operation of its Medicaid program. WHEREFORE,

Relator respectfully requests this Court to award the following damages to the following parties

and against Defendants:

               To the STATE OF NEW YORK:

                   (1) Three times the amount of actual damages which the State of New York
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       New York;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to the New York State False
                       Claims Act, and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                          Count 31
                              North Carolina False Claims Act
                             N.C. Gen. Stat. Ann. § 1-605, et seq.)

       505.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       506.    This is a qui tam action brought by Relator on behalf of the State of North

Carolina to recover treble damages and civil penalties under the North Carolina False Claims

Act, N.C. Gen. Stat. Ann. § 1-605, et seq.

       507.    North Carolina’s False Claims Act, N.C.G.S.A. § 1-607(a), provides for liability

for any person who:

               (1) Knowingly presents or causes to be presented a false or fraudulent
                   claim for payment or approval.

               (2) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to a false or fraudulent claim.

               (3) Conspires to commit a violation of subdivision (1), (2), (4), (5), (6), or
                   (7) of this section.

               (4) Has possession, custody, or control of property or money used or to be
                   used by the State and knowingly delivers or causes to be delivered less
                   than all of that money or property.

               (5) Is authorized to make or deliver a document certifying receipt of
                   property used or to be used by the State and, intending to defraud the
                   State, makes or delivers the receipt without completely knowing that
                   the information on the receipt is true.

               (6) Knowingly buys, or receives as a pledge of an obligation or debt,
                   public property from any officer or employee of the State who
                   lawfully may not sell or pledge the property.

               (7) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or
                   property to the State, or knowingly conceals or knowingly and
                   improperly avoids or decreases an obligation to pay or transmit money
                   or property to the State.




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       508.    Defendants violated the North Carolina False Claims Act, and knowingly caused

false claims to be made, used and presented to the State of North Carolina by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       509.    The State of North Carolina, by and through the North Carolina Medicaid

program and other state healthcare programs, and unaware of Defendants’ conduct, paid the

claims submitted by healthcare providers and third-party payers in connection therewith.

       510.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and an express condition of payment of claims submitted

to the State of North Carolina in connection with Defendants’ conduct. Compliance with

applicable North Carolina statutes, regulations and Pharmacy Manuals was also an express

condition of payment of claims submitted to the State of North Carolina.

       511.    Had the State of North Carolina known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendants’

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.

       512.    As a result of Defendants’ violations of the North Carolina False Claims Act, the

State of North Carolina has been damaged in an amount far in excess of millions of dollars

exclusive of interest.




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       513.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the North Carolina False

Claims Act on behalf of himself and the State of North Carolina.

       514.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of North Carolina in the operation of its Medicaid program.

       515.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF NORTH CAROLINA:

                   (1) Three times the amount of actual damages which the State of North
                       Carolina has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       North Carolina;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to North Carolina False Claims
                       Act and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                           Count 32
                             Oklahoma Medicaid False Claims Act
                             Okl. Stat. Ann. Tit. 63, § 5053, et seq.)

       516.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.


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       517.    This is a qui tam action brought by Relator on behalf of the State of Oklahoma to

recover treble damages and civil penalties under the Oklahoma Medicaid False Claims Act, 63

Okl. Stat. Ann. Tit. 63, § 5053, et seq.

       518.    Oklahoma’s Medicaid False Claims Act, 63 Okl. St. Ann. § 5053.1, provides for

liability for any person who:

               (1) Knowingly presents, or causes to be presented, a false or fraudulent
                   claim for payment or approval;

               (2) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to a false or fraudulent claim;

               (3) Conspires to commit a violation of the Oklahoma Medicaid False
                   Claims Act;

               (4) Has possession, custody, or control of property or money used, or to
                   be used, by the state knowingly delivers, or causes to be delivered, less
                   than all of such money or property;

               (5) Is authorized to make or deliver a document certifying receipt of
                   property used or to be used by the state and, intending to defraud the
                   state, makes or delivers the receipt without completely knowing that
                   the information on the receipt is true;

               (6) Knowingly buys or receives as a pledge of an obligation or debt,
                   public property from an officer or employee of the state who lawfully
                   may not sell or pledge the property; or

               (7) Knowingly makes, uses or causes to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or
                   property to the state, or knowingly conceals or knowingly and
                   improperly avoids or decreases an obligation to pay or transmit money
                   or property to the state.

       519.    Defendants violated the Oklahoma Medicaid False Claims Act and knowingly

caused false claims to be made, used and presented to the State of Oklahoma by their deliberate

and systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with their conduct were even eligible for reimbursement by the

government-funded healthcare programs.



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       520.    The State of Oklahoma, by and through the Oklahoma Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third-party payers in connection therewith.

       521.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the State of Oklahoma in connection with Defendants’ conduct. Compliance with

applicable Oklahoma statutes, regulations and Pharmacy Manuals was also an express condition

of payment of claims submitted to the State of Oklahoma.

       522.    Had the State of Oklahoma known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       523.    As a result of Defendants’ violations of the Oklahoma Medicaid False Claims

Act, the State of Oklahoma has been damaged in an amount far in excess of millions of dollars

exclusive of interest.

       524.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Oklahoma Medicaid

False Claims Act on behalf of himself and the State of Oklahoma. This Court is requested to

accept supplemental jurisdiction of this related state claim as it is predicated upon the exact same

facts as the federal claim, and merely asserts separate damage to the State of Oklahoma in the

operation of its Medicaid program.




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       525.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF OKLAHOMA:

                   (1) Three times the amount of actual damages which the State of Oklahoma
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Oklahoma;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Oklahoma Medicaid False
                       Claims Act and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                            Count 33
                                 Rhode Island False Claims Act
                                (R.I. Gen. Laws § 9-1.1-1, et seq.)

       526.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       527.    This is a qui tam action brought by Relator on behalf of the State of Rhode Island

to recover treble damages and civil penalties under the Rhode Island False Claims Act, R.I. Gen.

Laws § 9-1.1-1, et seq.

       528.    Rhode Island’s False Claims Act, Gen. Laws 1956, § 9-1.1-3, provides for

liability for any person who:

               (1) Knowingly presents, or causes to be presented a false or fraudulent


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                   claim for payment or approval;

               (2) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to a false or fraudulent claim;

               (3) Conspires to commit a violation of subdivisions 9-1.1-3(1), (2), (3),
                   (4), (5), (6) or (7);

               (4) Has possession, custody, or control of property or money used, or to
                   be used, by the state and knowingly delivers, or causes to be delivered,
                   less property than all of that money or property;

               (5) Is authorized to make or deliver a document certifying receipt of
                   property used, or to be used, by the state and, intending to defraud the
                   state, makes or delivers the receipt without completely knowing that
                   the information on the receipt is true;

               (6) Knowingly buys, or receives as a pledge of an obligation or debt,
                   public property from an officer or employee of the state, or a member
                   of the guard, who lawfully may not sell or pledge the property; or

               (7) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or
                   property to the state, or knowingly conceals or knowingly and
                   improperly avoids or decreases an obligation to pay or transmit money
                   or property to the state.

       529.    Defendants violated the Rhode Island False Claims Act and knowingly caused

false claims to be made, used and presented to the State of Rhode Island by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with their conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       530.    The State of Rhode Island, by and through the Rhode Island Medicaid program

and other state healthcare programs, and unaware of Defendants’ conduct, paid the claims

submitted by healthcare providers and third party payers in connection therewith.

       531.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims




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submitted to the State of Rhode Island in connection with Defendants’ conduct. Compliance

with applicable Rhode Island statutes, regulations and Pharmacy Manuals was also an express

condition of payment of claims submitted to the State of Rhode Island.

       532.    Had the State of Rhode Island known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendants’

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.

       533.    As a result of Defendants’ violations of the Rhode Island False Claims Act, the

State of Rhode Island has been damaged in an amount far in excess of millions of dollars

exclusive of interest.

       534.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Rhode Island False

Claims Act on behalf of himself and the State of Rhode Island.

       535.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Rhode Island in the operation of its Medicaid program.

       536.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF RHODE ISLAND:

                   (1) Three times the amount of actual damages which the State of Rhode Island
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Rhode Island;



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                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

              To RELATOR:

                  (1) The maximum amount allowed pursuant to Rhode Island False Claims Act
                      and/or any other applicable provision of law;

                  (2) Reimbursement for reasonable expenses which Relator incurred in
                      connection with this action;

                  (3) An award of reasonable attorneys’ fees and costs; and

                  (4) Such further relief as this Court deems equitable and just.

                                        Count 34
                            Tennessee Medicaid False Claims Act
                            (Tenn. Code Ann. § 71-5-181, et seq.)

       537.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       538.   This is a qui tam action brought by Relator on behalf of the State of Tennessee to

recover treble damages and civil penalties under the Tennessee Medicaid False Claims Act,

Tenn. Code Ann. § 71-5-181, et seq.

       539.   Section 71-5-182(a)(1) provides liability for any person who:

              (1) Knowingly presents, or causes to be presented, a false or fraudulent
                  claim for payment or approval under the Medicaid program;

              (2) Knowingly makes, uses, or causes to be made or used, a false record or
                  statement material to a false or fraudulent claim under the Medicaid
                  program;

              (3) Conspires to commit a violation of subdivision (a)(1)(A), (a)(1)((B), or
                  (a)(1)((D); or

              (4) Knowingly makes, uses, or causes to be made or used, a false record or
                  statement material to an obligation to pay or transmit money, or
                  property to the state, or knowingly conceals, or knowingly and
                  improperly, avoids, or decreases an obligation to pay or transmit
                  money or property to the state, relative to the Medicaid program.



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        540.   Defendants violated Tenn. Code Ann. § 71-5-1 82(a)(1) and knowingly caused

false claims to be made, used and presented to the State of Tennessee by the conduct alleged

herein and by virtue of the fact that none of the claims submitted in connection with their

conduct were even eligible for reimbursement by the government-funded healthcare programs.

        541.   The State of Tennessee, by and through the Tennessee Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third party payers in connection therewith.

        542.   Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Tennessee

in connection with Defendants’ conduct. Compliance with applicable Tennessee statutes was

also a condition of payment of claims submitted to the State of Tennessee.

        543.   Had the State of Tennessee known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

        544.   As a result of Defendants’ violations of Tenn. Code Ann. § 71-5-182(a)(1), the

State of Tennessee has been damaged in an amount far in excess of millions of dollars exclusive

of interest.

        545.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Tenn. Code Ann. § 71-5-

183(a)(1) on behalf of himself and the State of Tennessee.




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       546.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Tennessee in the operation of its Medicaid program.

       547.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF TENNESSEE:

                   (1) Three times the amount of actual damages which the State of Tennessee
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $5,000 and not more than $25,000 for each
                       false claim which Defendants caused to be presented to the State of
                       Tennessee, except that this upper limit on liability is subject to an
                       automatic adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Tenn. Code Ann. § 71-5-
                       183(c) and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                         Count 35
                                   Texas False Claims Act
                            (Tex. Hum. Res. Code § 36.001, et seq.)

       548.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       549.    This is a qui tam action brought by Relator on behalf of the State of Texas to

recover double damages and civil penalties under Tex. Hum. Res. Code § 36.001, et seq.



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550.   Tex. Hum. Res. Code § 36.002 provides liability for any person who:

       (1)    knowingly makes or causes to be made a false statement or
              misrepresentation of a material fact to permit a person to receive a
              benefit or payment under the Medicaid program that is not
              authorized or that is greater than the benefit or payment that is
              authorized;

       (2)    knowingly conceals or fails to disclose information that permits a
              person to receive a benefit or payment under the Medicaid program
              that is not authorized or that is greater than the benefit or payment
              that is authorized;

       (3)    knowingly applies for and receives a benefit or payment on behalf
              of another person under the Medicaid program and converts any
              part of the benefit or payment to a use other than for the benefit of
              the person on whose behalf it was received;

       (4)    knowingly makes, causes to be made, induces, or seeks to induce
              the making of a false statement or misrepresentation of material
              fact concerning:

              a. the conditions or operation of a facility in order that the facility
                 may qualify for certification or recertification required by the
                 Medicaid program, including certification or recertification as .
                 ...

              b. information required to be provided by a federal or state law,
                 rule, regulation, or provider agreement pertaining to the
                 Medicaid program;

       (5)    except as authorized under the Medicaid program, knowingly pays,
              charges, solicits, accepts, or receives, in addition to an amount paid
              under the Medicaid program, a gift, money, a donation, or other
              consideration as a condition to the provision of a service or product
              or the continued provision of a service or product if the cost of the
              service or product is paid for, in whole or in part, under the
              Medicaid program;

       (6)    knowingly presents or causes to be presented a claim for payment
              under the Medicaid program for a product provided or a service
              rendered by a person who:

              a. is not licensed to provide the product or render the service, if a
                 license is required; or

              b. is not licensed in the manner claimed;



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(7)    knowingly makes or causes to be made a claim under the Medicaid
       program for:

       a. a service or product that has not been approved or acquiesced
          in by a treating physician or health care practitioner;

       b. a service or product that is substantially inadequate or
          inappropriate when compared to generally recognized
          standards within the particular discipline or within the health
          care industry; or

       c. a product that has been adulterated, debased, mislabeled, or
          that is otherwise inappropriate;

(8)    makes a claim under the Medicaid program and knowingly fails to
       indicate the type of license and the identification number of the
       licensed health care provider who actually provided the service;

(9)    conspires to commit a violation of Subdivision (1), (2), (3), (4),
       (5), (6), (7), (8), (10), (11), (12), or (13);

(10)   is a managed care organization that contracts with the commission
       or other state agency to provide or arrange to provide health care
       benefits or services to individuals eligible under the Medicaid
       program and knowingly:

       a. fails to provide to an individual a health care benefit or service
          that the organization is required to provide under the contract;

       b. fails to provide to the commission or appropriate state agency
          information required to be provided by law, commission or
          agency rule, or contractual provision; or

       c. engages in a fraudulent activity in connection with the
          enrollment of an individual eligible under the Medicaid
          program in the organization’s managed care plan or in
          connection with marketing the organization’s services to an
          individual eligible under the Medicaid program;

(11)   knowingly obstructs an investigation by the attorney general of an
       alleged unlawful act under this section;

(12)   knowingly makes, uses, or causes the making or use of a false
       record or statement material to an obligation to pay or transmit
       money or property to this state under the Medicaid program, or
       knowingly conceals or knowingly and improperly avoids or
       decreases an obligation to pay or transmit money or property to
       this state under the Medicaid program; or


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               (13)    knowingly engages in conduct that constitutes a violation under
                       Section 32.039(b).

       551.    Defendants violated Tex. Hum. Res. Code § 36.002 and knowingly caused false

claims to be made, used and presented to the State of Texas by engaging in the conduct alleged

herein and by virtue of the fact that none of the claims submitted in connection with their

conduct were even eligible for reimbursement by the government-funded healthcare programs.

       552.    The State of Texas, by and through the Texas Medicaid program and other state

healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

       553.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was a condition of payment of claims submitted to the State of Texas in

connection with Defendants’ conduct. Compliance with applicable Texas statutes was also a

condition of payment of claims submitted to the State of Texas.

       554.    Had the State of Texas known that Defendants were violating the federal and state

laws cited herein and/or that the claims submitted in connection with Defendants’ conduct failed

to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       555.    As a result of Defendants’ violations of Tex. Hum. Res. Code § 36.002, the State

of Texas has been damaged in an amount far in excess of millions of dollars exclusive of interest.

       556.    Defendants did not, within 30 days after they first obtained information as to such

violations, furnish such information to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with any investigation of the violations, and




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has not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

         557.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Tex. Hum. Res. Code §

36.101 on behalf of himself and the State of Texas.

         558.   This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Texas in the operation of its Medicaid program.

         559.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

                To the STATE OF TEXAS:

                   (1) Two times the amount of actual damages which the State of Texas has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331
                       pursuant to Tex. Hum. Res. Code § 36.052 for each false claim which
                       Defendants caused to be presented to the state of Texas, except that this
                       upper limit on liability is subject to an automatic adjustment in accordance
                       with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

                To RELATOR:

                   (1) The maximum amount allowed pursuant to Tex. Hum. Res. Code §
                       36.110, and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




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                                              Count 36
                                      Vermont False Claims Act
                                 (Vt. Stat. Ann. tit. 32, § 630, et seq.)

        560.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

        561.    This is a qui tam action brought by Relator on behalf of the State of Vermont to

recover treble damages and civil penalties under the Vermont False Claims Act, Vt. Stat. Ann.

tit. 32, § 630, et seq.

        562.    Vt. Stat. Ann. tit. 32, § 631(a) in pertinent part provides for liability for any

person who:

                (1)       knowingly present, or cause to be presented, a false or
                          fraudulent claim for payment or approval;
                (2)       knowingly make, use, or cause to be made or used, a false
                          record or statement material to a false or fraudulent claim;
                (3)       knowingly present, or cause to be presented, a claim that
                          includes items or services resulting from a violation of 13
                          V.S.A. chapter 21 or section 1128B of the Social Security Act,
                          42 U.S.C. §§ 1320a-7b;
                (4)       knowingly present, or cause to be presented, a claim that
                          includes items or services for which the State could not receive
                          payment from the federal government due to the operation of
                          42 U.S.C. § 1396b(s) because the claim includes designated
                          health services (as defined in 42 U.S.C. § 1395nn(h)(6))
                          furnished to an individual on the basis of a referral that would
                          result in the denial of payment under 42 U.S.C. chapter 7,
                          subchapter XVIII (the “Medicare program”), due to a violation
                          of 42 U.S.C. § 1395nn;
                                                    ***
                (9)       knowingly make, use or cause to be made or used, a false
                          record or statement material to an obligation to pay or transmit
                          money or property to the State;
                (10)      knowingly conceal or knowingly and improperly avoid or
                          decrease an obligation to pay or transmit money or property to
                          the State; or


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                                                  ***
               (12)      conspire to commit a violation of this subsection.

       563.    Defendants violated the Vt. Stat. Ann. tit. 32, § 630, et seq., and knowingly

caused false claims to be made, used and presented to the State of Vermont by their deliberate

and systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with its conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       564.    The State of Vermont, by and through the Vermont Medicaid program and other

state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted by

healthcare providers and third-party payers in connection therewith.

       565.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the State of Vermont in connection with Defendants’ conduct. Compliance with

applicable Vermont statutes and regulations was also an express condition of payment of claims

submitted to the State of Vermont.

       566.    Had the State of Vermont known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants’ conduct

failed to meet the reimbursement criteria of the government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       567.    As a result of Defendants’ violations of the Vt. Stat. Ann. tit. 32, § 630, et seq.,

the State of Vermont has been damaged in an amount far in excess of millions of dollars

exclusive of interest.




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       568.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Vt. Stat. Ann. tit. 32, §

630, et seq., on behalf of himself and the State of Vermont.

       569.    This Court is requested to accept pendant jurisdiction of this related state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the State of Vermont in the operation of its Medicaid program.

       570.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF VERMONT:

                   (1) Three times the amount of actual damages which the State of Vermont has
                       sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Vermont, except that this upper limit on liability is subject to an automatic
                       adjustment in accordance with the CPIAA;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in investigating and bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to the Vermont False Claims Act,
                       Vt. Stat. Ann. tit. 32, § 630, et seq., and/or any other applicable provision
                       of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.




                                                158
                                          Count 37
                            Virginia Fraud Against Taxpayers Act
                             (Va. Code Ann. § 8.01-216.1, et seq.)

       571.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       572.    This is a qui tam action brought by Relator on behalf of the Commonwealth of

Virginia for treble damages and penalties under Virginia Fraud Against Taxpayers Act, Va. Code

Ann. § 8.01-216.3(A), which provides liability for any person who:

               (1) Knowingly presents, or causes to be presented, a false or fraudulent
                   claim for payment or approval;

               (2) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to a false or fraudulent claim;

               (3) Conspires to commit a violation of subdivision 1, 2, 4, 5, 6, or 7; or

                                                  * * *

               (7) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or
                   property to the Commonwealth or knowingly conceals or knowingly
                   and improperly avoids or decreases an obligation to pay or transmit
                   money or property to the Commonwealth.

       573.    Defendants furthermore violated Virginia’s Fraud Against Tax Payers Act, §

8.01-216.3(A), and knowingly caused false claims to be made, used and presented to the

Commonwealth of Virginia by their deliberate and systematic violation of federal and state laws

and by virtue of the fact that none of the claims submitted in connection with their conduct were

even eligible for reimbursement by the government-funded healthcare programs.

       574.    The Commonwealth of Virginia, by and through the Virginia Medicaid program

and other state healthcare programs, and unaware of Defendants’ conduct, paid the claims

submitted by healthcare providers and third party payers in connection therewith.




                                                159
       575.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the Commonwealth of Virginia in connection with Defendants’ conduct.

Compliance with applicable Virginia statutes, regulations and Pharmacy Manuals was also an

express condition of payment of claims submitted to the Commonwealth of Virginia.

       576.    Had the Commonwealth of Virginia known that Defendants were violating the

federal and state laws cited herein and/or that the claims submitted in connection with

Defendants’ conduct failed to meet the reimbursement criteria of the government-funded

healthcare programs or were premised on false and/or misleading information, it would not have

paid the claims submitted by healthcare providers and third party payers in connection with that

conduct.

       577.    As a result of Defendants’ violations of Virginia’s Fraud Against Tax Payers Act,

§8.01-216.3a, the Commonwealth of Virginia has been damaged in an amount far in excess of

millions of dollars exclusive of interest.

       578.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Virginia’s Fraud Against

Tax Payers Act, §8.01-216.3, on behalf of himself and the Commonwealth of Virginia.

       579.    This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the Commonwealth of Virginia in the operation of its Medicaid program.

       580.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the COMMONWEALTH OF VIRGINIA:

                   (1) Three times the amount of actual damages which the Commonwealth of


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                     Virginia has sustained as a result of Defendants’ conduct;

                  (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                      each false claim which Defendants caused to be presented to the
                      Commonwealth of Virginia;

                  (3) Pre- and post-judgment interest; and

                  (4) All costs incurred in bringing this action.

              To RELATOR:

                   (1) The maximum amount allowed pursuant to VA Code Ann. § 32.1-315
                       and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                        Count 38
                             Washington Medicaid Fraud Act
                         (Wash. Rev. Code Ann. § 74.66.005, et seq.)

       581.   Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       582.   This is a qui tam action brought by Relator on behalf of the State of Washington

to recover treble damages and civil penalties under the Washington Medicaid Fraud Act, Wash.

Rev. Code Ann. § 74.66.005, et seq.

       583.   RCWA 74.66.020(1) in pertinent part provides for liability for any person who:

              (a) Knowingly presents, or causes to be presented, a false or fraudulent
              claim for payment or approval;

              (b) Knowingly makes, uses, or causes to be made or used, a false
              record or statement material to a false or fraudulent claim; or

              (c) Conspires to commit one or more of the violations in this
              subsection (1).




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       584.    Defendants violated the Washington Medicaid Fraud Act, Wash. Rev. Code Ann.

§ 74.66.005, et seq., and knowingly caused false claims to be made, used and presented to the

State of Washington by their deliberate and systematic violation of federal and state laws and by

virtue of the fact that none of the claims submitted in connection with their conduct were even

eligible for reimbursement by the government-funded healthcare programs.

       585.    The State of Washington, by and through the Washington Medicaid program and

other state healthcare programs, and unaware of Defendants’ conduct, paid the claims submitted

by healthcare providers and third-party payers in connection therewith.

       586.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims

submitted to the State of Washington in connection with Defendants’ conduct. Compliance with

applicable Washington statutes, regulations and Pharmacy Manuals was also an express

condition of payment of claims submitted to the State of Washington.

       587.    Had the State of Washington known that Defendants were violating the federal

and state laws cited herein and/or that the claims submitted in connection with Defendants’

conduct failed to meet the reimbursement criteria of the government-funded healthcare programs

or were premised on false and/or misleading information, it would not have paid the claims

submitted by healthcare providers and third party payers in connection with that conduct.

       588.    As a result of Defendants’ violations of the Washington Medicaid Fraud Act,

Wash. Rev. Code Ann. § 74.66.005, et seq., the State of Washington has been damaged in an

amount far in excess of millions of dollars exclusive of interest.

       589.    Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the Washington Medicaid




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Fraud Act, Wash. Rev. Code Ann. § 74.66.005, et seq. on behalf of himself and the State of

Washington.

       590.    This Court is requested to accept pendant jurisdiction of this related state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the State of Washington in the operation of its Medicaid program.

       591.    WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the STATE OF WASHINGTON:

                   (1) Three times the amount of actual damages which the State of Washington
                       has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,463 and not more than $23,331 for
                       each false claim which Defendants caused to be presented to the State of
                       Washington;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to Washington Medicaid Fraud
                       Act, Wash. Rev. Code Ann. § 74.66.005, et seq. and/or any other
                       applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                      Count 39
                                     Puerto Rico
    False Claims to Government of Puerto Rico Programs, Contracts and Services Act
                             (32 L.P.R.A. § 2931, et seq.)

       592.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.


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       593.    This is a qui tam action brought by Relator on behalf of the Commonwealth of

Puerto Rico to recover treble damages and civil penalties under the False Claims to Government

of Puerto Rico Programs, Contracts and Services Act, 32 L.P.R.A § 2931, et seq.

       594.    32 L.P.R.A. § 2934 in pertinent part provides liability for any person who:

               (a) Knowingly presents, or causes to be presented, a false or fraudulent claim for
               payment or approval of benefits under any Government Program or under a
               service contract;

               (b) Knowingly makes, uses, or causes to be made or used, a false record or
               statement material to a false or fraudulent claim under any Government Program
               or under a service contract;

               (c) Conspires to commit a violation of clauses (a) and (b) of this subsection;
               and/or

               (d) Knowingly makes, uses, or causes to be made or used, a false record or
               statement material to an obligation to pay or transmit money or property to the
               Government, or knowingly conceals or knowingly and improperly avoids or
               decreases an obligation to pay or transmit money or property, relating to any
               Government Program or any service contract, as defined in this chapter. . . .

       595.    Defendants violated the False Claims to Government of Puerto Rico Programs,

Contracts and Services Act, 32 L.P.R.A § 2931, et seq., and knowingly caused false claims to be

made, used and presented to the Commonwealth of Puerto Rico by their deliberate and

systematic violation of federal and state laws and by virtue of the fact that none of the claims

submitted in connection with their conduct were even eligible for reimbursement by the

government-funded healthcare programs.

       596.    The Commonwealth of Puerto Rico, by and through the Puerto Rico Medicaid

program and other healthcare programs, and unaware of Defendants’ conduct, paid the claims

submitted by healthcare providers and third-party payers in connection therewith.

       597.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and also an express condition of payment of claims



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submitted to the Commonwealth of Puerto Rico in connection with Defendants’ conduct.

Compliance with applicable Puerto Rico statutes, regulations and Pharmacy Manuals was also an

express condition of payment of claims submitted to the Commonwealth of Puerto Rico.

        598.   Had the Commonwealth of Puerto Rico known that Defendants were violating the

federal and state laws cited herein and/or that the claims submitted in connection with

Defendants’ conduct failed to meet the reimbursement criteria of the government-funded

healthcare programs or were premised on false and/or misleading information, it would not have

paid the claims submitted by healthcare providers and third party payers in connection with that

conduct.

        599.   As a result of Defendants’ violations of the False Claims to Government of Puerto

Rico Programs, Contracts and Services Act, 32 L.P.R.A § 2931, et seq., the Commonwealth of

Puerto Rico has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

        600.   Relator is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to the False Claims to

Government of Puerto Rico Programs, Contracts and Services Act, 32 L.P.R.A § 2934a(2), on

behalf of himself and Commonwealth of Puerto Rico.

        601.   This Court is requested to accept pendant jurisdiction of this related state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts separate

damage to the Commonwealth of Puerto Rico in the operation of its Medicaid program.

        602.   WHEREFORE, Relator respectfully requests that this Court award the following

damages to the following parties and against Defendants:

               To the COMMONWEALTH OF PUERTO RICO:

                   (1) Three times the amount of actual damages which the Commonwealth of


                                                165
                       Puerto Rico has sustained as a result of Defendants’ conduct;

                   (2) A civil penalty of not less than $11,181 and not more than $22,363 for
                       each false claim which Defendants caused to be presented to the
                       Commonwealth of Puerto Rico;

                   (3) Pre- and post-judgment interest; and

                   (4) All costs incurred in bringing this action.

               To RELATOR:

                   (1) The maximum amount allowed pursuant to the False Claims to
                       Government of Puerto Rico Programs, Contracts and Services Act, 32
                       L.P.R.A § 2934b, and/or any other applicable provision of law;

                   (2) Reimbursement for reasonable expenses which Relator incurred in
                       connection with this action;

                   (3) An award of reasonable attorneys’ fees and costs; and

                   (4) Such further relief as this Court deems equitable and just.

                                             Count 40
                                              Fraud
                                          (Common Law)

       603.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       604.    Defendants misrepresented the legal, proper, and acceptable uses of Krystexxa,

promoting and selling it with off-label statements and kickbacks, with the intent that Government

Programs and private insurers rely on those misrepresentations in order to obtain payment to

which they knew they were not entitled.

       605.    Government Programs and private insurers issue payments based on voluntary

submissions by service providers; the Programs’ and private insurers’ reliance on the

representations in such submissions is not only justifiable, therefore, but also necessary for their

fundamental operation.




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       606.    As a result of Defendants’ acts, the United States, the various FCA States

discussed herein, and private insurance companies and their policyholders have been damaged,

and continue to be damaged, in an amount to be determined at trial.

                                           Count 41
                                       Unjust Enrichment
                                        (Common Law)

       607.    Relator repeats and realleges each allegation contained in the preceding

paragraphs of this Complaint.

       608.    Defendants have been unjustly enriched by collecting and keeping compensation

in cash and kind that they knew to be prohibited under the FCA, state-level FCAs, CMPL,

CIFPA, IICFPA, and regulatory guidance, and which would not have been paid to Defendants

but for their illegal submission of false claims to Government Programs and private insurers.

       609.    Defendants were not entitled to any payment for Krystexxa procured by off-label,

misleading statements or kickbacks. The Government and private insurers are entitled to, and

equity and good conscience demand, the return of such payments.

                                             RELIEF

       610.    On behalf of the United States Government, the qui tam Relator seeks to receive

monetary damages equal to three times that suffered by the United States Government. In

addition, the qui tam Relator seeks to receive all civil penalties on behalf of the United States

Government in accordance with the False Claims Act.

       611.    The qui tam Relator seeks to be awarded the maximum amount allowed pursuant

to 31 U.S.C. §3730(d) of the False Claims Act.

       612.    The qui tam Relator seeks to be awarded all costs and expenses for this action,

including attorneys' fees and court costs.




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        613.    The qui tam Relator seeks pre-judgment interest at the highest rate allowed by

law.

                                             PRAYER

        614.    WHEREFORE, Relator prays that this Court enter judgment on behalf of the

Relator and against Defendants for the following:

               Damages in the amount of three (3) time the actual damages suffered by the
                United States Government as a result of Defendants’ conduct;

               Civil penalties against Defendants between $11,463 and $23,331 for
                each violation of 31 U.S.C. §3729;

               The maximum amount allowed pursuant to 31 U.S.C. §3730(d);

               All costs and expenses of this litigation, including attorneys’ fees and
                costs of court;

               Pre-judgment interest at the highest rate allowed by law for the
                retaliatory conduct by Horizon; and

               All other relief on behalf of Relator or the United States Government
                to which they may be entitled and that the Court deems just and
                proper.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(a), Relator hereby demands a trial by jury

as to all issues so triable.




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Dated: April 22, 2020




                              NE
                          100 Connell Drive, Suite 2200
                          Berkeley Heights, NJ 07922
                          (973) 218-1111
                          rmagnanini@stonemagnalaw.com


                          Attorneys for Plaintiff-Relator




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